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                      Federal Judicial Branch Online
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   Branch             Acknowledgement of Notification
                      Generation
                                   Second District Court in Civil Matters in
          Jurisdictional Body:
                                   Mexico City
          Type of case:            Civil or administrative proceedings
          Proceeding number:       345/2017
          Folder:                  Civil or administrative
                                   Perforadora Oro Negro, Sociedad de
          Notified party:          Responsabilidad Limitada de Capital Variable
                                   [Variable Capital Limited Liability Company]
          Notification carried
          out by:
                                   In view of the commercial bankruptcy
                                   proceedings 345/2017-I, brought by
                                   Perforadora Oro Negro, Sociedad de
                                   Responsabilidad Limitada de Capital Variable,
                                   and Integradora de Servicios Petroleros Oro
                                   Negro, Sociedad Anónima Promotora de
          Summary of the
                                   Inversión de Capital Variable, to resolve the
          agreement:
                                   motion for reconsideration filed by the
                                   aforementioned companies, against the
                                   decision of October eleventh, two thousand
                                   and eighteen, in compliance with the decision
                                   of the Eighth Collegiate Court in Civil Matters
                                   of the First Circuit.
          Date of the
                                    02/22/2021
          agreement:
          Date of publication
                                    02/23/2021
          of the agreement:
          Date on which the
          notification is
                                    02/23/2021
          deemed to have
          been made:
          Time of notification: 11:06
         The notification made on 02/23/2021 at 11:06 a.m. has taken effect as the
         term provided for in section II of Article 30 of the amparo Law has elapsed.
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                                                                                                                 FORM A-55

                                                                                                                 Commercial Bankruptcy 345/2017-I

                                                                                                                                           Motion for reconsideration
                                                                         Issued in compliance with the judgment handed down in the indirect amparo proceeding No.
                                                                         270/2019 of the docket of the Eleventh District Court in Civil Matters in Mexico City, on the
                                                                         occasion of the granting of writ of amparo by the Eighth Collegiate Court in Civil Matters of the
                                                                         First Circuit, in the motion for review of Civil Liability 108/2020.
           FEDERAL JUDICIAL BRANCH




                                                                              Mexico City, February twenty-second, two thousand
                                                                         and twenty-one.



                                                                                In view of commercial bankruptcy proceedings 345/2017-
                                                                         I, brought by Perforadora Oro Negro, Sociedad de
                                                                         Responsabilidad Limitada de Capital Variable, and Integradora
                                                                         de Servicios Petroleros Oro Negro, Sociedad Anónima
                                                                         Promotora de Inversión de Capital Variable, to rule on the
                                                                         motion for reconsideration filed by the aforementioned
                                                                         companies, against the decision of October eleventh, two
                                                                         thousand and eighteen, in compliance with the decision of the
                                                                         Eighth Collegiate Court in Civil Matters of the First Circuit,
                                                                         in the motion for review of Civil Liability 108/2020; and,


                                                                                                      STATEMENT OF FACTS
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                                                                                FIRST. Filing of the appeal motion. By means of a writ
                                                                         filed on October nineteenth, two thousand and eighteen, 1
                                                                         Perforadora Oro Negro, Sociedad de Responsabilidad
                                                                         Limitada de Capital Variable, and Integradora de Servicios
                                                                         Petroleros Oro Negro, Sociedad Anónima Promotora de
                                                                         Inversión de Capital Variable, through their attorney-in-fact
                                                                         Elías Mendoza Murguía, filed a motion for reconsideration
                                                                         against the decision of October eleventh of the current year,
                                                                         with the following content:

                                                                         1
                                                                             Volume X, pages 1021 to 1074.


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                                                                                “Mexico City, October eleventh, two thousand and
                                                                         eighteen.

                                                                                The writ with registry number 18866, signed by Jesús Ángel
                                                                         Guerra Méndez, attorney-in-fact of Perforadora Oro Negro, Sociedad
                                                                         de Responsabilidad Limitada de Capital Variable, and Integradora de
                                                                         Servicios Petroleros de Oro Negro, Sociedad Anónima Promotora de
                                                                         Inversión de Capital Variable, is attached to the records.

                                                                                 By means of the aforementioned writ, the bankrupt companies
                                                                         request that since on September eleventh, two thousand and
                                                                         eighteen, the commercial bankruptcy judgment was issued, and
                                                                         that in accordance with Article 1 of the bankruptcy law, it is in the
                                                                         public interest to preserve the insolvent companies' business,
                                                                         avoiding the risk of jeopardizing their viability, based on Article 87 of
                                                                         the Commercial Bankruptcy Law, to declare null and void clause
                                                                         15. 1 (g) (i) of the bond agreement (issuance agreement) dated
                                                                         January twenty-fourth, two thousand and fourteen, amended and
                                                                         restated on April twenty-ninth, June second, September twenty-ninth
                                                                         and November ninth, all of two thousand and sixteen, executed by
                                                                         Oro Negro Drilling, Pte. Ltd. (a company incorporated under the
                                                                         laws of the Republic of Singapore), as bond issuer, and Nordic
                                                                         Trustee As, formerly Nordic Trustee ASA (a company incorporated
                                                                         under the laws of Norway), as bond trustee on behalf of the
                                                                         bondholders, as follows:
                                                                                 “15. Cases of default.
                                                                                 15.1. The bond trustee may declare the bonds to be in default
                                                                         after the occurrence of any of the following events, in each case only
                                                                         to the extent such events occur after the date hereof:
                                                                                 (…)”
                                                                                 (g) Insolvency and dissolution proceedings.
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                                                                                 If any corporate action, legal proceeding or other phase of
                                                                         proceedings is brought against any other between the issuer, the
                                                                         parent company, the charterer or any platform owner in connection
                                                                         with:
                                                                                 (i) Suspension of payments, default on any indebtedness,
                                                                         liquidation, dissolution, administration or reorganization (by voluntary
                                                                         arrangement, provisional liquidation, statutory administration,
                                                                         settlement scheme or otherwise) other than insolvency liquidation or
                                                                         reorganization;
                                                                                 (...)”
                                                                                 They argue that such clause aggravates the situation of the
                                                                         companies, since it allows Nordic Trustee As, formerly Nordic
                                                                         Trustee ASA (bond trustee and ordinary representative), with the
                                                                         mere filing of the bankruptcy petition of Perforadora Oro Negro,
                                                                         Sociedad de Responsabilidad Limitada de Capital Variable,
                                                                         (charterer), and Integradora de Servicios Petroleros de Oro
                                                                         Negro, Sociedad Anónima Promotora de Inversión de Capital
                                                                         Variable (parent company), to declare a default under the bond
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                                                                                                                         Commercial Bankruptcy 345/2017-I
                                                                                                                                                 Motion for reconsideration
                                                                         Issued in compliance with the judgment handed down in the indirect amparo proceeding 270/2019
                                                                         of the docket of the Eleventh District Court in Civil Matters in Mexico City, on the occasion of the
                                                                         granting of writ of amparo by the Eighth Collegiate Court in Civil Matters of the First Circuit, in the
                                                                         appeal for review of Civil Liability. 108/2020.
           FEDERAL JUDICIAL BRANCH



                                                                                  agreement, thereby accelerating the bonds and foreclosing the
                                                                                  guarantees granted, which in a bankruptcy proceeding affects the
                                                                                  distribution of resources under the irrevocable administration and
                                                                                  source of payment trust agreement F/1695.
                                                                                         That said effect materialized since Nordic Trustee As,
                                                                                  formerly Nordic Trustee ASA, executed the aforementioned clause,
                                                                                  generating the following acts:
                                                                                         1.        By e-mail sent on September twenty-fifth, two
                                                                                  thousand and seventeen by Olav Slasgvvold, on behalf of the trustee
                                                                                  of the bonds, he informed the attorney-in-fact of the bankrupt
                                                                                  companies and of Drilling, Pte. Ltd., Oro Negro Primus, Pte. Ltd.,
                                                                                  Oro Negro Laurus, Pte. Ltd., Oro Negro Fortius, Pte. LTD., Oro
                                                                                  Negro Decus, Pte. Ltd., and Oro Negro Impetus, Pte. Ltd., of the
                                                                                  so-called “notice of default”, on the occasion of the filing of the
                                                                                  bankruptcy petition filed by the charterer.
                                                                                         2.         He notified the default and enforcement of the “lien”
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                                                                                  on the bond agreement, whereupon he proceeded to appoint Roger
                                                                                  Alan Bartlett and Roger Arnold Hanock [sic], as the new directors of
                                                                                  Drilling, Pte. Ltd., Oro Negro Primus, Pte. Ltd., Oro Negro
                                                                                  Laurus, Pte. Ltd., Oro Negro Fortius, Pte. LTD., Oro Negro
                                                                                  Decus, Pte. Ltd., and Oro Negro Impetus, Pte. Ltd., removing from
                                                                                  the said position Alonso del Val Echeverría, Gonzalo Gil White, Anita
                                                                                  Chew Peck Hwa and Carlos Enrique Williamson Nasi.
                                                                                         3.         On October fifth, two thousand and seventeen, he
                                                                                  notified the transfer of the shares representing the share capital of
                                                                                  Drilling, Pte. Ltd., (at the signing of the bond agreement, party to
                                                                                  the companies' corporate group, since it was a company controlled
                                                                                  by Integradora), to a separate company OND, Pte.Ltd. (of
                                                                                  Singapore), derived from enforcement of the lien Drilling.
                                                                                         4.         He notified Deutsche Bank México, Sociedad
                                                                                  Anónima, Institución de Banca Múltiple, Fiduciary Division, as
                                                                                  trustee of the irrevocable administration and source of payment trust
                                                                                  agreement identified under number F/1695, that a default event had
                                                                                  arisen from the issuance agreement.
                                                                                         5.        On October ninth, two thousand and seventeen, the
                                                                                  new directors adopted, among other resolutions, a resolution to
                                                                                  revoke the powers of attorney previously granted and they appointed
                                                                                  as new representatives and attorneys-in-fact of Drilling, Pte. Ltd.,
                                                                                  Oro Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd., Oro




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                                                                         Negro Fortius, Pte. LTD., Oro Negro Decus, Pte. Ltd., and Oro
                                                                         Negro Impetus, Pte. Ltd., the following persons: Alejandro Sainz
                                                                         Orantes, Daniel Alejandro Díaz Álvarez, Manuel Ruiz De Chávez
                                                                         Gutiérrez De Velasco, Ana Gabriela Avendaño Fernández, Luis
                                                                         Antonio Estrella Saavedra, Santiago Alessio Robles Seguí, Daniel
                                                                         Pardo Fuentes and Jesús Ángel Origel Zavala.
                                                                                6.       Manuel Ruiz De Chávez Gutiérrez De Velasco, as
                                                                         attorney-in-fact of Drilling, Pte. Ltd., Oro Negro Primus, Pte. Ltd.,
                                                                         Oro Negro Laurus, Pte. Ltd., Oro Negro Fortius, Pte. LTD., Oro
                                                                         Negro Decus, Pte. Ltd., and Oro Negro Impetus, Pte. Ltd. filed the
                                                                         withdrawal of the bankruptcy petition filed in the proceeding
                                                                         395/2017-I, of the docket of this court.

                                                                                7.      On February fifth, two thousand and eighteen, for the
                                                                         second time, Roger Alan Bartlett and Roger Arnold Hanock [sic], as
                                                                         the new directors of Drilling, Pte. Ltd., Oro Negro Primus, Pte.
                                                                         Ltd., Oro Negro Laurus, Pte. Ltd., Oro Negro Fortius, Pte. LTD.,
                                                                         Oro Negro Decus, Pte. Ltd., and Oro Negro Impetus, Pte. Ltd.,
                                                                         revoked the powers of attorney of Alonso del Val Echeverría,
                                                                         Gonzalo Gil White, Jaime René Guerra González, Patricio Fabián
                                                                         Hidalgo estrada, Alfondo Peniche García, Román Salazar Castillo,
                                                                         Ernesto Luis Rodríguez León, Octavio Ochoa Huerta, Raúl García
                                                                         Herrera, Sergio Cabañas Mier, Elías Mendoza Murguia and Jesús
                                                                         Ángel Guerra Méndez.

                                                                                 According to it, the execution of the clause aggravated the
                                                                         terms of the agreement for the companies, since it resulted that,
                                                                         abroad, the bondholder enforced the guarantee of the bond contract
                                                                         over the shares of Drilling, Pte. Ltd., as prior to the bankruptcy
                                                                         petition, it was controlled by Integradora de Servicios Petroleros
                                                                         de Oro Negro, Sociedad Anónima Promotora de Inversión de
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                                                                         Capital Variable, which led to it leaving the corporate group of the
                                                                         companies, to be controlled by the Singaporean company OND, Pte.
                                                                         Ltd, and as a consequence the subsidiaries Oro Negro Primus, Pte.
                                                                         Ltd., Oro Negro Laurus, Pte. Ltd., Oro Negro Fortius, Pte. LTD.,
                                                                         Oro Negro Decus, Pte. Ltd., and Oro Negro Impetus, Pte. Ltd.,
                                                                         ceasing to be indirectly controlled by Integradora; which led to the
                                                                         destruction of the corporate and equity links that make the operations
                                                                         of the bankrupt companies viable.

                                                                                In order to have a better understanding of the legal problem
                                                                         raised, it is appropriate to reiterate that when the bond agreement
                                                                         was executed, it was recognized that the financial structure of the
                                                                         companies started with Integradora de Servicios Petroleros Oro
                                                                         Negro, Sociedad Anónima Promotora de Inversión de Capital
                                                                         Variable, as the holding company of Perforadora Oro Negro,
                                                                         Sociedad de Responsabilidad Limitada de Capital Variable, and
                                                                         of Oro Negro Drilling, Pte. Ltd.
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                                                                                                                         Commercial Bankruptcy 345/2017-I
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                                                                         of the docket of the Eleventh District Court in Civil Matters in Mexico City, on the occasion of the
                                                                         granting of writ of amparo by the Eighth Collegiate Court in Civil Matters of the First Circuit, in the
                                                                         appeal for review of Civil Liability. 108/2020.
           FEDERAL JUDICIAL BRANCH



                                                                                          That, through the bond agreement, Oro Negro Drilling Pte.
                                                                                  Ltd, obtained a loan from Nordic Trustee As, formerly Nordic Trustee
                                                                                  ASA, with which the aforementioned holding company of Oro Negro
                                                                                  Primus Pte. Ltd., Oro Negro Laurus Pte. Ltd., Oro Negro Fortius.,
                                                                                  Pte. Ltd, Oro Negro Impetus Pte. Ltd., and Oro Negro Decus Pte.
                                                                                  Ltd., acquired five platforms.

                                                                                           As a result of the foregoing, Perforadora Oro Negro,
                                                                                  Sociedad de Responsabilidad Limitada de Capital Variable, entered
                                                                                  into an agreement with Oro Negro Primus Pte. Ltd., Oro Negro
                                                                                  Laurus Pte. Ltd., Oro Negro Fortius., Pte. Ltd, Oro Negro Impetus
                                                                                  Pte. Ltd., and Oro Negro Decus Pte. Ltd., the bareboat charter
                                                                                  contracts, by which it granted the use and enjoyment of the Primus,
                                                                                  Laurus, Fortius, Decus and Impetus marine platforms, in exchange
                                                                                  for the payment of a fixed consideration.

                                                                                           After obtaining possession of the platforms, the company
                                                                                  entered into lease agreements for the platforms with Pemex
                                                                                  Perforación y Servicios, the relevance of which lies in the fixed price
                                                                                  or within a certain parameter and the determined term.
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                                                                                          Thus, Pemex Perforación y Servicios undertook to pay the
                                                                                  consideration for the lease of the platforms, through trust F/1695, in
                                                                                  which the resources are concentrated, so that the distribution could
                                                                                  subsequently be made in different items.

                                                                                           One of the items in which the trust assets are distributed is the
                                                                                  item allocated to pay for the ordinary operation of the company (crew,
                                                                                  maintenance of the platforms, administrative personnel, among others)
                                                                                  and the considerations in favor of the owners of the platforms derived
                                                                                  from the charter contracts, which is used for their ordinary operation
                                                                                  (assets of the contracts) and to transfer them to Oro Negro Drilling
                                                                                  Pte. Ltd., to repay the debt acquired through the issuance of bonds.

                                                                                         Thus, in order to be able to make a determination in relation to
                                                                                  the company’s petition, it is also considered appropriate to start from the
                                                                                  public and business interest viewpoint, as concepts contained in Article
                                                                                  1 of the Bankruptcy Law, which states the following:

                                                                                        “Article 1. This Law is in the public interest and its purpose is to
                                                                                  regulate commercial bankruptcy proceedings.

                                                                                          It is in the public interest to preserve companies and to prevent
                                                                                  the generalized default of payment obligations from jeopardizing the
                                                                                  viability of such companies and of others with which they maintain a



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                                                                   business relationship. In order to guarantee adequate protection to
                                                                   creditors against the detriment of the assets of companies in
                                                                   insolvency proceedings, the judge and the other parties involved in
                                                                   the process regulated by this Law must at all times govern their
                                                                   actions under the principles of significance, procedural economy,
                                                                   promptness, publicity and good faith.”

                                                                          In effect, such legal provision establishes that the bankruptcy
                                                                   proceeding is in the “public interest”, a concept that, although
                                                                   undetermined, has been defined as the maximum expression of the
                                                                   social interest, as a constitutionally protected good and a guarantee
                                                                   for both individuals and authorities to reasonably exercise their
                                                                   rights within the State, the purpose of which is social harmony in
                                                                   terms of the legitimate exercise of the rights, duties, freedoms and
                                                                   powers of the governed within the State.

                                                                         This is supported by thesis I.4o.A.11 K (10th.), in which the
                                                                   Fourth Collegiate Court in Administrative Matters of the First Circuit
                                                                   declared:

                                                                           “SUSPENSION. THE NOTION OF PUBLIC ORDER AND ITS
                                                                   PURPOSE. Article 124 of the Amparo Law contains the requirements
                                                                   that must be satisfied in order to decree the suspension of the
                                                                   challenged act, including the condition that there be no harm to the
                                                                   social interest or contravention of public order provisions. For its part,
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                                                                   the Mexican Supreme Court of Justice has ruled in various opinions
                                                                   that such institutions are affected when the granting of this measure
                                                                   deprives the community of a benefit conferred upon it by law or
                                                                   inflicts harm upon the said community that it would not otherwise
                                                                   suffer. From the foregoing it can be held that public order constitutes
                                                                   the highest expression of the social interest, as a constitutionally
                                                                   protected good, and a guarantee of society, so that individuals and
                                                                   authorities may reasonably exercise their rights within the State, and
                                                                   that this [public order] not only consists of upholding collective peace
                                                                   and welfare, but that this also entails social harmony as regards the
                                                                   legitimate exercise of rights, duties, freedoms and powers within the
                                                                   State; that is, the peaceful coexistence between power and freedom.
                                                                   Its main purpose is to ensure the freedom of the governed and the
                                                                   effectiveness of their rights, as this is one of the fundamental values
                                                                   protected under the Political Constitution of the United Mexican
                                                                   States and must be privileged, in the understanding that freedom
                                                                   implies coordination, responsibility, the power to act with conscience
                                                                   and in accordance with legitimate purposes, and not purposes of
                                                                   disorder or that only serve the interests of the administration,
                                                                   considered in the abstract. This objective is in accordance with the
                                                                   amendment to section X of Article 107 of the Political Constitution of
                                                                   the United Mexican States, which provides that in specific cases, the
                                                                   real impact and magnitude that affects society must be weighed
                                                                   against the actual harm suffered by private interests, especially when
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                                                                                                                         Commercial Bankruptcy 345/2017-I
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                                                                         of the granting of writ of amparo by the Eighth Collegiate Court in Civil Matters of the First Circuit,
                                                                         in the motion for review of Civil Liability


                                                                                  the legitimacy of the authority's actions or the appearance of good
                                                                                  faith is at stake; therefore, with the eventual granting of the
                                                                                  precautionary measure, respect for public order must be ensured,
                                                                                  through a reasonable exercise of the right, avoiding serious harm to
                                                                                  the plaintiff, and to the rights of other persons that, without the
                                                                                  intervention of the restriction, would be deteriorated or diminished,
                                                                                  and thus preserving the balance that must prevail between the
                                                                                  legitimate and harmonious exercise of the rights, duties, freedoms
                                                                                  and powers of the State, vis-a-vis the freedom of persons, which the
                                                                                  community has an interest in maintaining.” 2

                                                                                         Another important reference point is found in the isolated
                                                                                  thesis I.3o.C.926 C, where the Third Collegiate Court in Civil Matters
                                                                                  of the First Circuit ruled as follows:

                                                                                          "PUBLIC ORDER. ITS NOTION AND CONTENT IN CIVIL
                                                                                  MATTERS. The civil sphere, as a space in which the private activity
                                                                                  of individuals converges and is regulated, is not extraneous to that
                                                                                  notion that constitutes its limit through the rule, as the guarantee that
                                                                                  such activity, delimited by the law itself, will not be hindered. This is
                                                                                  clear from Article 6 of the Federal District Civil Code when it
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                                                                                  stipulates that the will of individuals may not exempt them from
                                                                                  compliance with the law, nor alter or modify it, in accordance with
                                                                                  which the law is recognized as the primary source of rights and as
                                                                                  the governing body of the social order, also on the basis that only
                                                                                  private rights that do not directly affect the public interest may be
                                                                                  waived, when such waiver does not prejudice the rights of a third
                                                                                  party. Furthermore, the same regulation highlights as a rule of
                                                                                  conflict resolution, Section II of Article 15 of the same regulation,
                                                                                  which indicates that foreign law may not be applied when its
                                                                                  provisions or the result of its application are contrary to fundamental
                                                                                  principles or institutions of the Mexican public order. The idea of
                                                                                  individual autonomy is determined by two dimensions; the first one
                                                                                  is based on the notion of public interest that translates into the
                                                                                  existence of mandatory laws that, by their nature, cannot be
                                                                                  derogated by individuals because they defend the interest of the
                                                                                  latter as well as the State, and the second dimension, which
                                                                                  translates into a legal mechanism of jurisdictional application that is
                                                                                  interested in safeguarding the general interest by limiting any private
                                                                                  activity that violates it. In this way a mandatory rule can be
                                                                                  differentiated from a public policy rule, since while the latter is always


                                                                         2
                                                                          Found in the Judicial Weekly Gazette of the Mexican Federation, Book XV, December 2012,
                                                                         Volume 2, Tenth Period, record: 2002421, common matter, page: 1575.

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                                                                       mandatory, not every mandatory rule is a public policy rule."3

                                                                             Accordingly, the bankruptcy proceeding seeks order in the
                                                                       restructuring process of the company, so that it can continue to
                                                                       operate and thus maintain the sources of employment and factors of
                                                                       production, thus giving rise to public order, in order to reduce the effects
                                                                       on society to the greatest extent possible.

                                                                             Thus, the bankruptcy proceeding seeks to preserve the
                                                                       company, thus affecting as little as possible the legal relationships that
                                                                       the company entered into before the default.

                                                                              Mexican bankruptcy law focuses on maintaining economic value
                                                                       and that assets are not subject to private enforcement, to the detriment
                                                                       of the orderly distribution of the company's resources, for the payment
                                                                       of obligations to creditors, according to the order of priority.

                                                                               In relation to the concept of a company, it is not defined in the
                                                                       bankruptcy law, but it can be inferred from the explanatory
                                                                       memorandum of the Commercial Bankruptcy Law published in the
                                                                       Mexican Federal Official Gazette on May 12, 2000, which considered
                                                                       the following:

                                                                              “(...)The company, considered as the organization of work,
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                                                                       tangible and intangible assets designed to produce or professionally
                                                                       offer goods and services to the market, for profit-making purposes, may
                                                                       be successful or else find itself in serious difficulties that threaten its
                                                                       survival (...)”

                                                                              The foregoing is also substantiated by the concept obtained from
                                                                       the book Gran Diccionario Jurídico de los Grandes Juristas [Great Legal
                                                                       Dictionary of the Great Jurists'] edited by Javier G. Canales Méndez
                                                                       (pages 534 and 535), in which the company is conceptualized as
                                                                       follows;

                                                                              "It is an entity of coordinated human activities, for the realization
                                                                       of an economic and social purpose, which is composed of
                                                                       entrepreneurs, who provide the capital of workers who provide their
                                                                       labor force, and which is governed by the rules applicable to its nature,
                                                                       which generally produces goods and services to satisfy, through a profit,
                                                                       the demand and need of society.”

                                                                              Similar to the legislative process from which the Commercial
                                                                       Bankruptcy Law was derived, it is evident that the legislator was not
                                                                       oblivious to the cross-border relations between entities of different
                                                                       states, since it recognized the modifications and evolution of the
                                                                       business environment and the complexity of contemporary commercial




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                                                               Visible in the Judicial Weekly of the Federation and its Gazette, record: 162333, ninth period,
                                                              book XXXIII, April 2011, civil matter, page 1350.
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                                                                                      relations and international factors that influence the national
                                                                                      economy, as it specifically noted:

                                                                                             "The social and economic conditions that prevailed in Mexico
                                                                                      in the 1940s have been radically transformed. Our population has
                                                                                      multiplied by five, the gross domestic product has grown more than
                                                                                      fifteen times, the participation of the industrial and service sectors
                                                                                      has increased significantly and that of the primary sector has been
                                                                                      reduced. The demographic growth and the migration from the
                                                                                      countryside to the city have occurred on a massive scale. Advances
                                                                                      in telecommunications and means of transportation have been made
                                                                                      in giant steps, unimaginable at that time.

                                                                                            The way of doing business is also different. In the past, most
                                                                                      business enterprises were one-person or family-owned companies
                                                                                      and relatively easy to manage. Today, commercial relations are
                                                                                      more complex and subject to a greater number of factors, some of
                                                                                      an international nature that affect the economic life of individual
                                                                                      nations – albeit in different ways and to different degrees – and
                                                                                      others that are specific to national realities, all of which have an
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                                                                                      impact on the company's performance. Product cycles have become
                                                                                      shorter, and companies are exposed to more frequent and
                                                                                      sometimes more pronounced changes in financial market
                                                                                      conditions. All of this forces companies to transform themselves
                                                                                      more rapidly.

                                                                                             The economy, which had been typically regional, gradually
                                                                                      became integrated into a national economy, until it entered a stage
                                                                                      of insertion into the world economy. At the same time, the money
                                                                                      and stock markets, which were practically nonexistent half a century
                                                                                      ago, have acquired great significance as a means of financing
                                                                                      development. Our country has become integrated into the world
                                                                                      economy in response to the benefits offered by the globalization
                                                                                      process, not only in terms of the exchange of goods and services
                                                                                      abroad, but also in terms of the growing financial and investment
                                                                                      flows.

                                                                                            Production chains are integrated vertically and horizontally,
                                                                                      nationally and internationally, technologically and by sector.
                                                                                      Increased competitiveness is forcing some companies to respond
                                                                                      quickly to new market niches and to abandon those where they no
                                                                                      longer have competitive advantages. As society modernizes, the
                                                                                      number of companies increases, as well as the factors that vary their
                                                                                      competitiveness, profitability and permanence in the market. (…)”


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                                                                         Articles 86 and 87 of the Commercial Bankruptcy Law provide
                                                                  as follows:

                                                                           “Article 86. With the exceptions set forth in this Law, the
                                                                  provisions on obligations and contracts, as well as the stipulations of
                                                                  the parties, will continue to apply.

                                                                         Article 87. Any contractual stipulation that due to the filing of
                                                                  a petition or lawsuit for bankruptcy, or declaration of bankruptcy,
                                                                  establishes modifications that aggravate the terms of the contracts
                                                                  for the Company, will be deemed invalid, except for the exceptions
                                                                  expressly established in this Law."

                                                                         From a systematic interpretation of the aforementioned
                                                                  provisions, it is clear that the provisions on obligations and contracts,
                                                                  as well as the stipulations of the parties, continue to apply as a result
                                                                  of the bankruptcy proceeding judgment, except for those that due to
                                                                  the filing of the bankruptcy petition or declaration establish
                                                                  modifications that aggravate the terms of the contract for the
                                                                  company.

                                                                           Thus, pursuant to the law, a clause that aggravates the
                                                                  situation of the company, by the mere filing of the bankruptcy petition
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                                                                  or declaration, will not produce any legal effect whatsoever, and shall
                                                                  be rendered null and void within the Mexican legal system.

                                                                           This is due to the fact that the bankruptcy law recognizes as
                                                                  a central objective of the procedure the maximization of the value of
                                                                  the company in economic and financial difficulty, the intention being
                                                                  to preserve said company, protecting jobs and reducing the negative
                                                                  effects that would be inflicted on society by the closing of a company.

                                                                           This sanction also takes into account that the contractual
                                                                  agreement in such terms becomes antagonistic to the public interest
                                                                  aspect of the bankruptcy law, consisting in the preservation of the
                                                                  company, and an attempt is made to prevent the troubled business
                                                                  from being subject to private enforcement, and it may be possible to
                                                                  carry out a judicial liquidation proceeding that allows a greater value
                                                                  in the sale, seeking a balance between the company and its creditors.

                                                                            Thus, the agreement between private parties will be deemed
                                                                  annulled, that is to say, it will not generate any legal consequence
                                                                  and if it has occurred, the situation will return to the moment when it
                                                                  is judicially declared void, thus annulling the acts in question.

                                                                         In addition to the foregoing, it is necessary to determine
                                                                  whether the execution of a clause of a contract subject to a foreign
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                                                                                    law can be declared null and void, pursuant to Article 87 of the Commercial
                                                                                   Bankruptcy Law.

                                                                                    This is because, in exercise of their free will and contractual freedom, the
                                                                                   parties that entered into the bond agreement containing the clause that the
                                                                                   bankrupt companies seek to have declared as not enforceable, in relation
                                                                                   to the applicable law and the competent court to resolve any controversy,
                                                                                   submitted [themselves] to Norwegian law and courts, as can be seen in
                                                                                   clause 19.7 entitled "Resolution of conflicts and legal jurisdiction", which
                                                                                   reads as follows:

                                                                                    “19.7 Dispute resolution and legal jurisdiction.
                                                                                    19.7.1              This Bond Agreement and all disputes arising out of or
                                                                                   in connection with this Bond Agreement between the Bond Trustee, the
                                                                                   Bondholders and any Obligor shall be governed by Norwegian law.
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                                                                                    19.7.2              All disputes arising out of or in connection with this
                                                                                   Bond Agreement between the Bond Trustee, the Bondholders and any
                                                                                   Obligor and/or the Charterer, subject to the provisions of Clause 19.7.3
                                                                                   below, shall be resolved exclusively in the courts of Norway, with the District
                                                                                   Court of Oslo as the sole legal Jurisdiction.
                                                                                    19.7.3              Clause 19.7.2 is for the benefit of the Bond Trustee
                                                                                   only. As a result, the Bond Trustee shall not be precluded from instituting
                                                                                   proceedings relating to a dispute in any other court that has jurisdiction. To
                                                                                   the extent permitted by the law, the Bond Trustee may institute concurrent
                                                                                   proceedings in any number of jurisdictions.”

                                                                                    Therefore, even though in terms of Articles 1 and 7 of the Bankruptcy Law,
                                                                                   the undersigned, as the person in charge of the proceeding, has the
                                                                                   obligation and powers to conserve the company, such action must be
                                                                                   carried out within its sphere of competence jurisdiction.

                                                                                    Therefore, in the case at hand, prior to determining whether clause 15.1
                                                                                   (g) (i) of the bond agreement (issuance agreement) dated January twenty-
                                                                                   four, two thousand fourteen, as amended and restated on April twenty-ninth,
                                                                                   June second, September twenty-ninth and November ninth, all of two
                                                                                   thousand and sixteen, entered into by Oro Negro Drilling, Pte. Ltd. (a
                                                                                   company incorporated under the laws of the Republic of Singapore), as
                                                                                   bond issuer, and Nordic Trustee As, formerly Nordic Trustee ASA (a
                                                                                   company incorporated under the laws of Norway), aggravates the situation
                                                                                   of the companies by virtue of the present proceeding and,




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                                                                       based on Mexican bankruptcy law, is declared disregarded [void and null], the undersigned
                                                                       must proceed to determine whether it has competence to do so, as it was an agreement
                                                                       between private parties that was subject to Norwegian law and the Norwegian courts.

                                                                              This is because the American Convention and the General Constitution coincide in
                                                                       establishing that the protection of a human right is subject to certain assumptions and
                                                                       requirements, which must be reasonable and justified by the needs of the administration of
                                                                       justice.

                                                                              One of these assumptions is, precisely, the competence of the jurisdictional body.

                                                                            In this sense, Article 8.1 4 of the American Convention on Human Rights expressly
                                                                       recognizes competence as a requirement for the exercise of the right of access to justice.

                                                                             In this regard, the Inter-American Court of Human Rights has declared that being
                                                                       judged by a competent judge is “a basic principle of due process”, which is why, in the
                                                                       international sphere, competence is a necessary condition for the exercise of the right in
                                                                       question, which is fully justified in the efficient development of the administration of justice.
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                                                                             Furthermore, in the context of the conventionality of the regional code of laws to be
                                                                       judged by a certain court, the Inter-American Court has recognized that the need to be tried
                                                                       by a competent judge constitutes a substantive right and that the competence of the judge
                                                                       can only derive from the law.

                                                                              In fact, it has maintained that the existence and competence of the natural Judge
                                                                       derives from the law, so that the regional code of laws does not necessarily conflict with this
                                                                       right, if it is expressly established and defined by the Legislative Power and serves a
                                                                       legitimate purpose. If, on the contrary, the law does not establish the regional code of laws
                                                                       and it is established by the Executive or by the Judicial Branch itself, thus removing the
                                                                       individual from the court that the law establishes as their natural judge, the right to be judged
                                                                       by a competent judge would be breached.

                                                                              In turn, from the pertinent part of Articles 14 and 17 of the Constitution 5, it is clear that
                                                                       the


                                                              4
                                                                “Article 8. Judicial guarantees
                                                              “1. Every person has the right to a hearing, with due guarantees and within a reasonable time
                                                              period, by a competent, independent and impartial judge or tribunal, previously established by
                                                              law, in the substantiation of any criminal accusation made against him, or for the determination
                                                              of his rights and obligations of a civil, labour, fiscal or any other nature.”
                                                              5
                                                                 “"No law shall be given retroactive effect to the detriment of any person.
                                                              "No person shall be deprived of their liberty or of their property, possessions, or rights, except
                                                              by means of a trial before the previously established courts, in which the essential formalities of the
                                                              proceeding are complied with and in accordance with the laws issued prior to the event.
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                                                                                       fundamental right to due process constitutes one of the guiding
                                                                                       principles for the protection of the governed against acts of authority. In
                                                                                       this sense, the right to due process is of the utmost importance in the
                                                                                       Mexican legal system, one of the elements of which is the competence
                                                                                       of the jurisdictional body.

                                                                                              Thus, competence constitutes a basic premise in the integration
                                                                                       of the relationship between the Judge and the parties, it constitutes
                                                                                       the objective limit to the exercise of jurisdiction, and as such,
                                                                                       competence is instituted as an element of validity of the decision issued
                                                                                       by the jurisdictional body.

                                                                                            In other words, competence implies that whoever is to be judged
                                                                                       may only be judged by the body that is empowered by law to do so.

                                                                                             This is based on the jurisprudence issued by the plenary of the
                                                                                       Supreme Court of Justice of the Nation, published in the Mexican
                                                                                       Federal Judicial Weekly and its Gazette, volume 77, May 1994, page
                                                                                       12, common law, eighth period, which states:
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                                                                                               "COMPETENCE. ITS SUBSTANTIATION IS AN ESSENTIAL
                                                                                       REQUIREMENT OF THE ACT OF AUTHORITY..-
                                                                                       Making a harmonic interpretation of the individual guarantees of legality
                                                                                       and legal security enshrined in Articles 14 and 16 of the Constitution, it
                                                                                       is clear that the acts of interference and deprivation must, among other
                                                                                       requirements, be issued by a competent authority and comply with the
                                                                                       essential formalities that give them legal effectiveness, which means
                                                                                       that any act of authority must necessarily be issued by whoever is
                                                                                       empowered to do so, expressing, as part of the essential formalities, the
                                                                                       character with which it is subscribed and the provision, agreement or
                                                                                       decree that grants such legitimacy. Otherwise, the affected party would
                                                                                       be left in a state of defenselessness, given that, not knowing the basis
                                                                                       that empowers the authority to issue the act, nor the nature with which
                                                                                       it issues it, it is evident that the opportunity is not granted to examine
                                                                                       whether or not its action falls within the respective competence, and
                                                                                       whether or not it is in accordance with the Constitution or the law; in
                                                                                       order to be in a position to allege, in addition to the illegality of the act,
                                                                                       the illegality of the basis on which the authority relies to issue it, since it
                                                                                       may well be the case that its action is not exactly in accordance with the
                                                                                       norm, agreement or decree it invokes, or that these

                                                                                       “Article 17. No person may take justice into their own hands, and they may also not exercise violence
                                                                                       to claim their right.
                                                                                        Everyone has the right to be provided with justice by the courts that will be expedited in order to deliver
                                                                                       it within the terms and within the time-scales established by law, issuing their resolutions promptly, fully
                                                                                       and impartially. The service shall be free, with legal costs, as a consequence, being prohibited.




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                                                              contradict the fundamental law or the secondary law.”

                                                                      Therefore, the High Court and the Inter-American Court have
                                                              agreed in recognizing that competence, far from restricting the human
                                                              right of access to justice, constitutes an extremely important prerequisite
                                                              for the effective protection of this right, since it is an element that
                                                              responds to the requirement of a correct and efficient administration of
                                                              justice, but also grants the governed a sphere of protection against the
                                                              body that will hear their claims.

                                                                     Now, it is important to recognize that this requirement for the
                                                              exercise of access to justice must comply with certain requirements.

                                                                     In effect, competence, as a prerequisite to guarantee the right of
                                                              access to justice requires that the parameters or elements that are
                                                              established to configure it be set forth in clear, congruent and accessible
                                                              terms for the governed, so that the latter has the real possibility of being
                                                              able to determine, with reasonable clarity, the body before which they
                                                              must go to defend their rights.

                                                                     Thus, once these obligations have been fulfilled by the State in
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                                                              order to guarantee and protect the effective exercise of the right of
                                                              access to justice, the requirement for the governed to present their
                                                              claim, appeal or defense before the competent authority
                                                              constitutes the minimum procedural requirement that must be met
                                                              in order to be able to access the jurisdictional instances to claim
                                                              the violation of their rights.

                                                                       This is supported by the considerations made by the Second
                                                              Chamber of the National Supreme Court of Justice when resolving the
                                                              contraction of thesis 107/2014, from which the criterion of the heading
                                                              and following text prevailed with the character of jurisprudence:

                                                                     "LACK OF COMPETENCE BY REASON OF THE SUBJECT
                                                              MATTER OF THE PROCEEDING FOR ANNULMENT OF THE
                                                              FEDERAL COURT OF TAX AND ADMINISTRATIVE JUSTICE. ITS
                                                              LEGAL CONSEQUENCES. When the Federal Court of Tax and
                                                              Administrative Justice finds that it lacks competence by reason of the
                                                              subject matter to hear a proceeding for annulment, it must declare the
                                                              proceeding inadmissible under the terms of Article 8, section II, of the
                                                              Federal Law of Administrative Litigation, but without violating the right of
                                                              access to justice recognized in Articles 17 of the Political Constitution of
                                                              the United Mexican States, as well as Article 8, paragraph I and 25 of
                                                              the American Convention on Human Rights, since the
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                                                                                           exercise of this right is subject to compliance with certain requirements,
                                                                                           assumptions and procedural requirements that should not be avoided
                                                                                           to the detriment of the correct and efficient administration of justice, such
                                                                                           as the procedural requirements, provided in an accessible manner to
                                                                                           the governed, of presenting the effective recourse before the competent
                                                                                           court. Under the aforementioned conditions, it is concluded that, in the
                                                                                           event of lack of competence due to the subject matter, the
                                                                                           aforementioned court is not obliged to refer the matter to the authority it
                                                                                           considers competent.”

                                                                                                    Moreover, the Supreme Court of Justice of the Nation has
                                                                                           determined that in the case of the competence of a Judge to decide on
                                                                                           a conflict derived from a private international legal relationship, the
                                                                                           task of establishing the judicial competence to hear the dispute arising
                                                                                           from such legal relationship, the Judge before whom the lawsuit is filed
                                                                                           – [and who is] logically bound by such filing to examine their own
                                                                                           competence in each case – is obliged to – must, first of all,
                                                                                           determine whether or not the rules governing their function grant
                                                                                           them the power to settle the conflict that is international in
                                                                                           nature, and once this premise is satisfied, then examine their
                                                                                           competence in relation to their peers, within the legal system of
                                                                                           their State.

                                                                                                   Therefore, an analysis of competence by the judge before
                                                                                           whom the claim was brought with an international element, which
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                                                                                           entails the determination of the powers of the judicial courts of another
                                                                                           State, could only derive, by exception, from the existence of a rule
                                                                                           of competence of a conventional nature, to which both States are
                                                                                           subject; but even in that case, the ruling made by the judge denying
                                                                                           his competence, derived from considering that the power is vested in
                                                                                           the judicial authority of another State, would in no way be binding for
                                                                                           the latter before the eventual exercise of the action before it, since the
                                                                                           foreign judge will necessarily examine their own international
                                                                                           competence on the basis of their domestic law.

                                                                                                   Therefore, the competence of the judge to hear a dispute
                                                                                           between private parties of an international nature is determined on the
                                                                                           basis of the domestic legal system of the State before which the claim
                                                                                           is filed.

                                                                                                  The dispute must necessarily be judged according to the law
                                                                                           that gave rise to it or that, according to its nature, must regulate it, and
                                                                                           if such law belongs to a foreign legal system, the application of such
                                                                                           law has the purpose of reinforcing the legitimacy of the judicial
                                                                                           decision and the justice of the case; however, reciprocity in the
                                                                                           application of foreign law between the States involved is indispensable
                                                                                           for the validity and effectiveness of such application.




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                                                                            In Mexico, the Legislative Power has expressly established a
                                                                    sovereign position that at the same time allows the application of
                                                                    foreign law in our territory, as long as the law itself provides for its
                                                                    application or that it derives from the treaties and conventions to
                                                                    which Mexico is a party; which of course involves a sense of
                                                                    reciprocity and harmonious coexistence in the international
                                                                    community.
                                                                            Pursuant to Article 12 of the Federal Civil Code, Mexican law
                                                                    applies to all persons within Mexican territory, as well as to acts and
                                                                    events occurring within its territorial scope, and the application of
                                                                    foreign laws is only provided for those cases in which the law itself
                                                                    so determines, except as provided in treaties and conventions to
                                                                    which Mexico is a party.
                                                                            Mexican law allows the application of foreign law, so it must
                                                                    first be determined whether or not there is a case that allows such
                                                                    application, and if it is applicable, it must be taken into account that
                                                                    whoever bases their rights on foreign laws, has the procedural
                                                                    requirement to prove the existence of such laws and that they are
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                                                                            This is supported by the thesis issued by the Third Collegiate
                                                                    Tribunal in Civil Matters of the First Circuit, published in the
                                                                    Mexican Federal Judicial Weekly and its Gazette, Volume XIV,
                                                                    September 2001, page 1312, ninth period, civil law, which states

                                                                            "FOREIGN LAW. POINTS OF
                                                                    CONNECTION THAT MAKE IT APPLICABLE. When a transaction
                                                                    is entered into in one State in order to have effects or be performed
                                                                    in another State, due to the nationality of the parties, the location of
                                                                    the thing or the nature of the right or legal fact in question, the legal
                                                                    system that governs it must be specified and the internal public
                                                                    order must be taken into account so as to establish the nature and
                                                                    scope of the subjective right of the national of a State that demands
                                                                    an obligation from a citizen of another State, and whose legal
                                                                    relationship was created in a State other than the one in which it
                                                                    produces its effects. In Mexico, the Legislative Branch has
                                                                    expressly established a sovereign position that at the same time
                                                                    allows the application of foreign law in our territory, provided that
                                                                    the law itself provides for the application or it is derived from the
                                                                    treaties and conventions to which Mexico is a party; which of
                                                                    course implies a sense of reciprocity and harmonious coexistence
                                                                    in the international community. Pursuant to Article 12 of the Federal
                                                                    Civil Code, Mexican law applies to all persons within Mexican
                                                                    territory, as well as to any acts and events occurring within its
                                                                    territorial scope, and the application of foreign laws is only provided
                                                                    where this is determined by Mexican law,
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                                                                                              except as provided in treaties and conventions to which Mexico is a
                                                                                              party. That is, Mexican law allows for the application of foreign law,
                                                                                              and first it must be determined whether or not there is a case in which
                                                                                              such application is allowed, and if it is applicable, it must be taken into
                                                                                              account that the party basing its right on foreign laws has the
                                                                                              procedural burden of proving the existence of such laws and that they
                                                                                              are applicable to the case. This is in accordance with the provisions of
                                                                                              Articles 19 of the Federal Civil Code and 86 bis of the Federal Code of
                                                                                              Civil Procedures, according to which the right that is based on foreign
                                                                                              laws is subject to proof and in this sense the national legal system's
                                                                                              rule that the right is not subject to proof is not applicable.”

                                                                                                      Now, in the case at hand, the request of the companies does
                                                                                              not imply the application of foreign law, but rather the application of
                                                                                              Mexican law to a contract subject to foreign legislation and court.

                                                                                                      In view of this, it is considered that the undersigned lacks legal
                                                                                                competence, since according to Article 16 of the Federal
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                                                                                                Constitution, no one shall be subjected to interference with their
                                                                                                person, family, domicile, papers or possessions, except by virtue of a
                                                                                                written order of the competent authority.

                                                                                                        Therefore, competence in judicial matters is the power granted
                                                                                                by law to a body of this nature to hear certain matters, within the
                                                                                                limits determined by the law itself.

                                                                                                       Therefore, the undersigned does not have competence to rule
                                                                                               on a contract in which the parties exercising their autonomous will
                                                                                                chose to submit to foreign legislation and courts, and therefore the
                                                                                              ruling sought by the companies implies exceeding the permitted limits
                                                                                              of action.

                                                                                                     Therefore, as competence constitutes a basic assumption in the
                                                                                              integration of the relationship between the Judge and the parties, as
                                                                                              an objective limit to the exercise of jurisdiction, which gives validity
                                                                                              to the resolution issued by the jurisdictional body, it is considered that
                                                                                              Article 87 of the bankruptcy law is not applicable to legal transactions
                                                                                              that are not subject to the laws of the Mexican Republic.

                                                                                                     Thus, even though, as repeatedly stated, the Commercial
                                                                                              Bankruptcy Law involves the public order, since it seeks the greatest
                                                                                              benefit of society, through the maximization of the resources




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                                                                         of the companies that are in default of obligations, the jurisdiction of the
                                                                         undersigned is limited in those transactions that are not subject to the
                                                                         undersigned’s jurisdiction, since to proceed otherwise would generate
                                                                         legal insecurity, and international jurisdictions would be violated, going
                                                                         against the harmonious coexistence in the international community and
                                                                         the respect for the sovereign equality of the States in the application of
                                                                         their norms.

                                                                                Pursuant to the foregoing, it is concluded that in accordance
                                                                         with Article 87 of the Mexican Bankruptcy Law, the undersigned does
                                                                         not have the authority to disregard clause 15.1 (g) (i) of the bond
                                                                         agreement (issuance agreement) dated January twenty-fourth, two
                                                                         thousand fourteen, as amended and restated on April twenty-ninth,
                                                                         June second, September twenty-ninth and November ninth, all of two
                                                                         thousand sixteen, executed by Oro Negro Drilling, Pte. Ltd. (a
                                                                         company incorporated under the laws of the Republic of Singapore), as
                                                                         issuer of bonds, and Nordic Trustee As, formerly Nordic Trustee ASA
                                                                         (a company incorporated under the laws of Norway), because it is a
                                                                         contract subject to the laws and courts of Norway, and because there
                                                                         is no reciprocity between two States that would allow the extraterritorial
                                                                         application of the law.

                                                                               Therefore, the undersigned lacks competence, since it is a
                                                                         contract subject to the laws and courts of Norway, in addition to the
                                                                         fact that the companies did not provide the necessary elements to
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                                                                         determine that there is reciprocity in the application of foreign law
                                                                         between Mexico and Norway, as provided in Articles 19 of the Federal
                                                                         Civil Code and 86 bis of the Federal Code of Civil Procedures.

                                                                              Notwithstanding the foregoing, a search on the official website of
                                                                         the Ministry of Foreign Affairs
                                                                         https://aplicaciones.sre.gob.mx/tratados/consulta nva.php, did not find
                                                                         any international treaty between Mexico and Norway where reciprocity
                                                                         has been expressed in similar cases to apply foreign law.

                                                                                (...)
                                                                              Moreover, the companies’ request the following precautionary
                                                                         measures:

                                                                         1.             The order directed to Nordic Trustee As, formerly
                                                                         Nordic Trustee ASA, to refrain from declaring any event of default under
                                                                         the issuance agreement.

                                                                         2.             The order issued to Nordic Trustee As, formerly Nordic
                                                                         Trustee ASA, to refrain from performing any act through which it intends,
                                                                         attempts, seeks or has the effect or consequence of executing
                                                                         guarantees or rights in terms of the issuance agreements and their
                                                                         ancillary documents.
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                                                                                           of writ of amparo by the Eighth Collegiate Court in Civil Matters of the
                                                              FEDERAL JUDICIAL BRANCH      First Circuit, in the appeal for review of Civil Liability. 108/2020.




                                                                                3. The order issued to Nordic Trustee As, formerly Nordic
                                                                         Trustee ASA and Deutsche Bank México, Sociedad Anónima,
                                                                         Institución de Banca Múltiple, Fiduciary Division, in its capacity as
                                                                         trustee of the irrevocable administration and source of payment trust
                                                                         agreement identified with number F/1695, ordering the latter to refrain
                                                                         from distributing, and the former to refrain from receiving, any amount
                                                                         of money from the trust.

                                                                                The bankrupt entities state that the measures protect the
                                                                         companies’ viability, since by preventing the addressee from
                                                                         determining a breach of the issuance agreement, after September
                                                                         eleventh and twenty-ninth, two thousand seventeen, the date of filing
                                                                         of the bankruptcy petitions, the principle of equality among creditors is
                                                                         respected, allowing the resolution of the liabilities of the companies
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                                                                         and avoiding the execution of guarantees, and avoiding the continued
                                                                         distribution of the trust resources, as part of the estate.

                                                                                This indicates that the necessity lies in the fact that the
                                                                          addressee does not execute guarantees.

                                                                              In this regard, it should be noted that the requested
                                                                       precautionary measures may not been ordered, since pursuant to
                                                                       Article 92 of the Commercial Bankruptcy Law, the contracts related to
                                                                       companies must be fulfilled by the bankrupt companies, unless the
                                                                       conciliator opposes, by reason that this is in the best interest of the
                                                                       estate.
                                                                              (...) 6
                                                                      SECOND. Admission of the appeal. in accordance with the agreement dated
                                                              October twenty-fifth, 7 two thousand eighteen, the motion for reconsideration was
                                                              admitted and an order was issued to Nordic Trustee As, Deutsche Bank México,
                                                              sociedad anónima, Institución de Banca Múltiple, Fiduciary Division, as trustee of the
                                                              irrevocable administration and source of payment trust agreement F/1695, and to Oro
                                                              Negro Drilling, Pte. Ltd., Oro Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte.
                                                              Ltd., Oro Negro Fortius, Pte. LTD., Oro Negro Decus, Pte. Ltd., and Oro Negro
                                                              Impetus, Pte. Ltd., through its




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                                                                  Volume X, pp 352 to 366
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                                                                  Volume X, pp 1083 to 1087




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                                                              attorney-in fact, Manuel Ruiz de Chávez Gutiérrez de Velasco, and Fernando
                                                              Pérez Correa Camarena, then conciliator appointed by the Federal Institute of
                                                              Specialists in Commercial Bankruptcy, ordering them to express their opinion on the
                                                              matter within a period of three days.

                                                                       THIRD. Presentation of hearings and citation of the appeal. The hearing
                                                              ordered was served by means of writ no. 21607 8 by Deutsche Bank México,
                                                              Sociedad Anónima, Institución de Banca Múltiple, Fiduciary Division; writ no.
                                                              21785 9 by Fernando Pérez Correa Camarena, conciliator appointed by the Federal
                                                              Institute of Specialists in Commercial Bankruptcy; writ no. 21786 10 by Nordic
                                                              Trustee As, formerly Nordic Trustee ASA; and petition no. 21787 11 by Oro Negro
                                                              Drilling, Pte. Ltd., Oro Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd., Oro
                                                              Negro Fortius, Pte. LTD., Oro Negro Decus, Pte. Ltd., and Oro Negro Impetus,
                                                              Pte. Ltd. [...] through their Attorney-in-fact Manuel Ruiz de Chávez Gutiérrez de
                                                              Velasco.

                                                                      FOURTH. Judgment. In the decision of November thirteenth, two thousand
                                                              eighteen,12 the interlocutory judgment was convened to be heard, and on February
                                                              twenty-fifth, two thousand nineteen, it was issued as follows:




                                                                       “First. The grievances filed by Perforadora Oro Negro, sociedad
                                                                        de responsabilidad limitada de capital variable and Integradora de
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                                                                        Servicios Petroleros Oro Negro, sociedad anónima promotora de




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                                                                Volume XI, pp 177 to 177 bis
                                                              9
                                                                Volume XI, pp 340 to 347.
                                                              10
                                                                 Volume XI, pp 348 to 357.
                                                              11
                                                                 Volume XI, pp 441 to 457
                                                              12
                                                                 Volume XI, pp 663 to 684.
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                                                                                                [...] inversión de capital variable, through their attorney-in-fact
                                                                                                Elias Mendoza Murguía, in this motion for reconsideration, are
                                                                                                unfounded.



                                                                                                Second. The decision of October eleventh, two thousand eighteen
                                                                                                is hereby confirmed, in its terms.”




                                                                                                FIFTH. Amparo proceeding. Dissatisfied with the above determination,
                                                                                        the bankrupt companies Perforadora Oro Negro, Sociedad de Responsabilidad
                                                                                        Limitada de Capital Variable, and Integradora de Servicios Petroleros Oro
                                                                                        Negro, Sociedad Anónima Promotora de Inversión de Capital Variable, filed an
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                                                                                        indirect amparo proceeding, which was registered by the Eleventh District Judge in
                                                                                        Civil Matters in Mexico City, under no. 270/2019, which, following the procedural
                                                                                        process, resolved as follows:
                                                                                                “FIRST. The Mexican Federal Court does not protect
                                                                                                "PERFORADORA ORO NEGRO", SOCIEDAD DE RESPONSABILIDAD
                                                                                                LIMITADA DE CAPITAL VARIABLE, and "INTEGRADORA DE
                                                                                                SERVICIOS PETROLEROS ORO NEGRO", SOCIEDAD ANÓNIMA
                                                                                                PROMOTORA DE INVERSION DE CAPITAL VARIABLE, through
                                                                                                their attorney-in-fact, ELÍAS MENDOZA MURGUÍA, against the
                                                                                                contested measure that they have appealed against the responsible
                                                                                                authority specified in the first statement of facts of the present
                                                                                                judgment, for the reasons set forth in the tenth recital.




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                                                                      SECOND. In due course, compliance is ordered with the last recital of
                                                                      this resolution."

                                                                       SIXTH. Appeal for review and granting of the writ of amparo being
                                                              executed. Dissatisfied with the above determination, the plaintiffs filed an appeal for
                                                              review, which was heard by the Eighth Collegiate Court in Civil Matters of the
                                                              First Circuit, registering it as case number R.C 108/2020. Which was resolved as
                                                              follows:

                                                                      “First. The appealed judgment is revoked.



                                                                      Second. The Mexican Federal Court safeguards and protects
                                                                      Perforadora Oro Negro, Sociedad de Responsabilidad Limitada de
                                                                      Capital Variable and Integradora de Servicios Petroleros Oro Negro,
                                                                      Sociedad Anónima Promotora de Inversión de Capital Variable,
                                                                      against the contested act issued by the Second District Judge in Civil
                                                                      Matters in Mexico City, consisting of the interlocutory judgment of
                                                                      February twenty-fifth, two thousand nineteen, specified in the first
                                                                      statement of facts of the present judgment, for the effects indicated in
                                                                      the last recital of the same."

                                                                      SEVENTH. Effects of the concession granted by the Collegiate Court and
                                                                       enforcement:
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                                                                       1.    – That the judge in charge should render the contested
                                                                       judgment null and void and in its place issue a new one in which:
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                                                                                      2. - Based on what has been considered in this decision,
                                                                                      establish what are the immediate consequences of the
                                                                                      application of clause 15.1 of the voting contract, in order to
                                                                                      determine whether it aggravates the situation of the
                                                                                      companies and,

                                                                                      3. If it concludes that the application of the clause in
                                                                                      question does in fact aggravate the situation of the
                                                                                      companies, order that it cease to apply, resolving according
                                                                                      to the law.




                                                                                      In order to give strict compliance, by decision of January
                                                                             thirteenth, two thousand twenty-one, the judgment constituting the
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                                                                             challenged measure (February twenty-fifth, two thousand
                                                                             nineteen) was annulled and a new one is hereby issued, in
                                                                             accordance with the guidelines established by the reviewing
                                                                             collegiate court, in accordance with the following


                                                                                                                         RECITALS


                                                                                      ONE. Competence. This Second District Court in Civil
                                                                             Matters in Mexico City is competent to hear and resolve the appeal,
                                                                             based on the provisions of Articles 104, section II, of the Political
                                                                             Constitution of the United Mexican States, 53 Bis, section II, of the
                                                                             Organic Law of the Federal Judicial Branch, in connection with the
                                                                             General Agreement 19/2015 of the Plenary of the Federal Judicial
                                                                             Branch Council; 268
                                                                                                                                                               23




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                                                                           of the Commercial Bankruptcy Law and 1335 of the Code of
                                                                           Commerce, of supplementary application to the law of the
                                                                           subject matter, since it is a motion for reconsideration, which
                                                                           is heard and resolved by the same jurisdictional authority that
                                                                           issues the appealed order.

                                                                                   TWO. Timeliness of the appeal. Articles 268 of the
                                                                           Commercial Bankruptcy Law and 1335 of the Commercial
                                                                           Code 13 establish that, against an order that is not appealable,
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                                                                           the revocation must be requested from the judge who issued it
                                                                           or their replacement in hearing the business, in writing, within
                                                                           three days following the date on which the notification of the
                                                                           decision to be challenged has taken effect.

                                                                                   Based on the above, the filing of the horizontal appeal
                                                                           currently being resolved is timely, considering the fact that it
                                                                           was filed by means of a writ submitted on October
                                                                           nineteenth, two thousand eighteen; that is, on the third day
                                                                           after the date on which the personal notification made to the
                                                                           companies on the fifteenth day of the same month and
                                                                           year took effect.

                                                                                  Having determined that the motion was filed on time,
                                                                           and that no appeal can be filed against it; inasmuch as there
                                                                           is no express provision in the law of the subject matter that
                                                                           would allow for this,




                                                              13
                                                                "Article 268. When this Law does not provide for an appeal, a reconsideration shall proceed, which
                                                              shall be processed in accordance with the provisions of the Code of Commerce."
                                                              " Article 1335. Both the reconsideration in the first instance and the reinstatement must be
                                                              requested in writing within three days after the notification of the ruling to be challenged has taken
                                                              effect, giving the opposing party a hearing for an equal term, and the court must resolve and send
                                                              notification of its determination within the following three days.
                                                              There shall be no appeal from the decision on whether or not the reconsideration or reinstatement is
                                                              granted."
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                                                                             the hypothesis of admissibility established in Article 268 of the
                                                                             Commercial Bankruptcy Law is fulfilled.
                                                                                       THREE. Grievances. The appellant raised several
                                                                             grievances, which are reproduced verbatim here, in accordance with
                                                                             the jurisprudence in which the Second Chamber of the Mexican
                                                                             Supreme Court of Justice held:


                                                                                       “CONCEPTS OF VIOLATION OR GRIEVANCES. IN
                                                                                       ORDER TO COMPLY WITH THE PRINCIPLES OF
                                                                                       CONGRUENCE AND COMPLETENESS IN WRIT OF
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                                                                                       AMPARO JUDGMENTS, IT IS UNNECESSARY TO
                                                                                       TRANSCRIBE THEM. On the basis of the precepts of
                                                                                       Chapter X "Judgments", title one "General Rules", book one
                                                                                       "On Amparo in General", of the Amparo Law, it does not
                                                                                       state as obligatory for the judge to transcribe the concepts
                                                                                       of violation or, as the case may be, the grievances, in order
                                                                                       to comply with the principles of congruence and
                                                                                       completeness in the judgments, since such principles are
                                                                                       satisfied when the judge specifies the points subject to
                                                                                       debate, derived from the amparo petition or the writ stating
                                                                                       the grievances, studies them and provides an answer,
                                                                                       which must be linked to and correspond to the issues of
                                                                                       legality or constitutionality effectively raised in the
                                                                                       corresponding pleading, without introducing aspects
                                                                                       different from those that make up the litis. However, there is
                                                                                       no prohibition against making such transcription, and it is
                                                                                       left to the judge's prudent discretion whether or not to do so,
                                                                                       taking into account the special characteristics of the case,
                                                                                       notwithstanding that in order to satisfy the principles of
                                                                                       completeness and congruence, the issues of legality or
                                                                                       unconstitutionality that have been effectively asserted must
                                                                                       be studied." 14



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                                                                               Published in the Mexican Federal Judicial Weekly and its Gazette, ninth period, volume XXXI, May
                                                                             2010, common matter, page 830.
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                                                                      In the first grievance, the appellants state that the contested
                                                              order violates Articles 1077 and 1324 of the Code of Commerce, which
                                                              is of supplementary application to the Commercial Bankruptcy Law,
                                                              since there is a lack of congruence and completeness.

                                                                     They argue that the determination of not having competence to
                                                              apply Article 87 of the Commercial Bankruptcy Law, and to declare
                                                              “disregarded” clause 15.1 (g) (i) of the issuance agreement, under the
                                                              consideration that it was subject to the laws and jurisdiction of the courts
                                                              of Norway, in addition to the fact that there is no reciprocity between
                                                              Mexico and such State, would mean:

                                                                     1. Disregarding the public interest pursued by the bankruptcy law
                                                              and inviting foreign creditors to be immune from such precept.

                                                                      2. Disregarding the fact that commercial bankruptcy is a universal
                                                              proceeding, in which the interests of the community concur, and not a
                                                              bilateral proceeding. Insofar as it states that "the competence of the Judge
                                                              to hear a controversy between private parties of an international nature is
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                                                              determined based on the internal legal order of the State before which the
                                                              claim is filed."
                                                                      3. It was necessary to consider that the clause aggravates the
                                                              situation of the company, regardless of the fact that this voluntary
                                                              agreement is subject to the laws and courts of the Kingdom of Norway.
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                                                                             in the motion for review of Civil Liability 108/2020.




                                                                                       4. Infringement of res judicata and procedural preclusion, since
                                                                             it was analyzed whether it had competence to apply the provisions of
                                                                             the commercial bankruptcy law, when this was expressly assumed in
                                                                             the admissory proceedings and reiterated in the judgment declaring
                                                                             the bankruptcy, and although such resolutions have been challenged,
                                                                             they do not contest the competence. (Articles 354, 355 and 356 of the
                                                                             Federal Code of Civil Procedures).
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                                                                                       5. It divides the continuity of the case, since upon assuming
                                                                             competence, the undersigned was empowered and obliged to apply
                                                                             the provisions of the Commercial Bankruptcy Law, in all matters
                                                                             regarding assets, rights and liabilities of the companies (bankruptcy
                                                                             estate), as well as related precautionary measures, including those
                                                                             related to transactions, events or foreign law, since there is no
                                                                             prohibition or limitation in this regard in the law of the matter. This is
                                                                             because in the chapter on international cooperation, the legislator
                                                                             recognized globalization and the existence of cross-border operations,
                                                                             foreseeing that in commercial bankruptcy, determinations are issued
                                                                             in national and foreign territory, including those for the protection of
                                                                             the bankruptcy estate.
                                                                                       6. That under the principle of equality, foreign and domestic
                                                                             creditors are recognized, regardless of whether they have contracted
                                                                             in Mexican territory or whether the supporting documents are
                                                                             governed by Mexican or foreign laws.
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                                                              7.    That the principles of universality and uniqueness cover the
                                                              company's assets, rights and liabilities, regardless of any cross-border
                                                              barriers, otherwise it would not be an effective procedure, with the
                                                              purpose of preserving the company, and it would be sufficient to
                                                              transfer resources outside of Mexico to prevent them from being
                                                              considered as part of the bankruptcy estate; therefore, under such
                                                              interpretation, it would not be possible for liabilities incurred abroad,
                                                              such as the one derived from the issuance agreement, to be
                                                              recognized, either.
                                                               8.       That article 86 of the bankruptcy law does not establish that
                                                              the provisions on obligations and contracts continue to be applied
                                                              without limit, but rather that it is necessary to provide for the
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                                                              exceptions contained in articles 17 (competence), 88 (determination
                                                              of amount of credits), 89 (credit valuation mechanisms), 87
                                                              (contractual provisions declared null and void), and 90 (compensation
                                                              of rights and obligations); since otherwise, in the case of credits
                                                              subject to foreign laws, it would be necessary to turn to the competent
                                                              judicial authority to obtain a judgment and subsequently homologate
                                                              it.
                                                                     9. It states that the rule of Article 12 of the Federal Civil Code,
                                                              regarding the fact that Mexican law is not applicable when dealing with
                                                              rights subject to foreign laws and courts, is not applicable, since
                                                              Mexican law does not provide for the application of foreign law when
                                                              dealing with bankruptcy matters, since it is a matter of public order.
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                                                                                      10. That the public order contemplated in the Commercial
                                                                             Bankruptcy Law has the purpose of limiting the use and enjoyment of
                                                                             the fundamental rights of the individuals and not to evade the
                                                                             application of the law of the matter.
                                                                                      11. That what was requested was, in order support of the
                                                                             universal competence that it has with respect to the company and its
                                                                             assets and rights, that the validity of clause 15, section 15.1 of the
                                                                             issuance agreement as well as the validity of the effects of the legal
                                                                             acts that derived from its application be resolved.
                                                                                      12. Pursuant to article 15, section II, of the Federal Civil Code,
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                                                                             there is a legal impediment against the application of foreign law, since
                                                                             it establishes that foreign law will not be applied when its provisions,
                                                                             or the result of its application, are contrary to fundamental principles
                                                                             or institutions of Mexican public order.
                                                                                      13. It is irrelevant whether or not there is reciprocity between
                                                                             Mexico and Norway, since the applicable law is Mexican law, because
                                                                             the application of foreign law is contrary to the fundamental principles
                                                                             and institutions of Mexican law.
                                                                                      In the second grievance, the appellant states that the effects
                                                                             of "disregarding [declaring null and void] the clause" means that it is
                                                                             not capable of producing any legal effect or action or




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                                                                         right ever, of whatever nature, and any effect generated
                                                                         is destroyed; therefore, it never produces legal effects,
                                                                         and not, as was held in the contested order, from the
                                                                         moment it is legally deemed disregarded [void and
                                                                         null].
                                                                                  Finally, in the third grievance, they essentially
                                                                         state that the determination to deny several
                                                                         precautionary measures lacks congruence and
                                                                         completeness, considering that pursuant to article 92 of
                                                                         the Commercial Bankruptcy Law, the companies are
                                                                         bound to comply with their contracts, unless this is
                                                                         opposed by the conciliator, because it is in the best
                                                                         interest of the bankruptcy estate.
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                                                                                  However, the aforementioned legal provision
                                                                         refers to agreements pending execution or performance
                                                                         that are related to the ordinary operation and
                                                                         functioning of the company and that contain obligations
                                                                         to give or to do, without including the payment of
                                                                         previous credits or liabilities.
                                                                                  That in this case, none of the measures
                                                                         requested are related to contracts necessary for
                                                                         continuing with ordinary operation, that are pending
                                                                         execution or compliance by the companies; rather the
                                                                         purpose of the measures is to maintain the viability of
                                                                         the companies, and to prevent Nordic Trustee As,
                                                                         formerly Nordic Trustee ASA, and Deutsche Bank
                                                                         México, sociedad anónima, institución de banca
                                                                         múltiple, fiduciary division, in its capacity as trustee of
                                                                         the irrevocable administration and source of payment
                                                                         trust agreement identified under number
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                                                                             F/1695, from foreclosing assets and rights of the companies to the
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                                                                             detriment of the creditors.
                                                                                           FOUR. Statements related to the hearings granted in the
                                                                                                                             contested motion being resolved.
                                                                             In this regard, it is noted that:
                                                                                          •    Nordic Trustee As, formerly Nordic Trustee ASA,
                                                                                               stated that the appellants do not dispute the main
                                                                                               considerations of the appealed order, and only
                                                                                               questioned the grounds and considerations related to
                                                                                               the lack of authority to "disregard" a certain contractual
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                                                                                               clause; that is to say, they did not attack the
                                                                                               consideration of the undersigned regarding the fact that
                                                                                               it did not have the authority to disregard the mentioned
                                                                                               clause.
                                                                                          •    For its part, Drilling, Pte. Ltd., Oro Negro
                                                                                               Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd., Oro
                                                                                               Negro Fortius, Pte. LTD., Oro Negro Decus, Pte. Ltd.,
                                                                                               and Oro Negro Impetus, Pte. Ltd., through their
                                                                                               Attorney-in-fact Manuel Ruiz de Chávez Gutiérrez de
                                                                                               Velasco, state in response to the first claim that the
                                                                                               Commercial Bankruptcy Law is based on the Political
                                                                                               Constitution of the United Mexican States, whose
                                                                                               application is limited




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                                                                             only to national territory, in accordance with the
                                                                             principles of state sovereignty that governs international
                                                                             law.


                                                                             Therefore, the Commercial Bankruptcy Law and the
                                                                             jurisdiction of the judge lack extraterritorial binding
                                                                             force; that is, the judge has no authority to rule on its
                                                                             legality or to apply such law outside Mexican national
                                                                             territory.


                                                                             The territorial applicability of the bankruptcy law is
                                                                             confirmed by the provisions of Article 16 of the said law,
                                                                             which provides that branches of foreign companies may
                                                                             be declared in bankruptcy, but such declaration will only
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                                                                             cover assets and rights that can be located and
                                                                             enforceable in Mexican territory.


                                                                             The Commercial Bankruptcy Law lacks rules on the
                                                                             application of laws in spatial terms, so that in
                                                                             accordance with Article 8, Section V, the Federal Civil
                                                                             Code is applicable, whose provision 13, Sections IV and
                                                                             V, provide that legal acts shall be governed by the law of
                                                                             the place of signature and the legal effects of contracts
                                                                             by the law of the place of performance, unless the
                                                                             parties have designated that another law is applicable,
                                                                             as is the case here.
                                                                             Therefore, Mexican law restricts the competence of the
                                                                             judge to hear and decide the validity of the legal
                                                                             transactions entered into
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                                                                                        abroad, with respect to which the parties voluntarily submitted to the
                                                                                        jurisdiction of a foreign court.


                                                                                        The law governing the matter is of public and universal interest, referring
                                                                                        to national actions, or those subject to national laws.


                                                                                        The bond issuance agreement did not attribute competence to the
                                                                                        Mexican court with regard to either subject matter or territory, for which
                                                                                        reason it should be prevented from hearing the case, since:


                                                                                           a. It contains a jurisdiction clause, as requested in Article 1093 of
                                                                                                the Commercial Code.
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                                                                                           b. It was only entered into by Oro Negro Drilling, PTE. LTD. and
                                                                                                Nordic Trust, ASA.


                                                                                           c. There is no point of contact on which to base competence.


                                                                                        Upon analyzing the competence to declare a specific contractual clause
                                                                                        as “disregarded,” it was found that res judicata and procedural
                                                                                        preclusion were not violated, since said declaration implies nullity of a
                                                                                        clause relating to an action other than and independent of commercial
                                                                                        bankruptcy, entered into




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                                                                             abroad, and the competence of the Norwegian courts.


                                                                             The issuance agreement constitutes a legal action different from and
                                                                             independent of commercial bankruptcy, with its own rules of jurisdiction
                                                                             and competency, and therefore Article 17 of the Commercial
                                                                             Bankruptcies Act should not be applied, but rather it should be analyzed
                                                                             under the rules of Articles 1093 and 1104 of the Commercial Code.


                                                                             Pursuant to Article 13 of the Federal Civil Code, which supplements the
                                                                             bankruptcy law, the form of legal action is governed by the law of the
                                                                             location they are entered into, which in this specific case is Norway, in
                                                                             addition to the fact that it takes effect in the aforementioned country and
                                                                             the contracting parties are foreign entities.


                                                                             Although the commercial bankruptcies law is public in nature, it is
                                                                             applicable to legal situations subject to national laws, but it cannot be
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                                                                             considered applicable in violation of the sovereignty of another country.


                                                                             The clause for which nullity is claimed does not worsen the company’s
                                                                             situation, since it does not increase the receivables of the Singaporean
                                                                             companies, as it does not establish additional contractual penalties for
                                                                             which the companies are responsible that could increase the companies’
                                                                             liabilities.




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                                                                                            With respect to the second grievance, they claim it is inadmissible,
                                                                                            because essential assumptions of the disputed ruling are not refuted,
                                                                                            since the appellants claim Article 87 of the Commercial Bankruptcies Act
                                                                                            was improperly interpreted, which is irrelevant given that lack of
                                                                                            competence was declared.


                                                                                            With regard to the third grievance, they state that the bond issuance
                                                                                            agreement is a contract pending execution since the acquired debt was
                                                                                            for $939,100,570.00 (nine hundred thirty-nine million, one hundred
                                                                                            thousand, five hundred seventy US dollars and 00/100), and it has not
                                                                                            yet been paid in its entirety.
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                                                                                            What is more, upon requesting the measures, the danger of delay, the
                                                                                            identification of the correct law and their appropriateness were not
                                                                                            explained. Specifically, there was a failure to describe, demonstrate, and
                                                                                            mention the need for the measure, and to cite the urgency of the
                                                                                            measure, as well as its appropriateness based on real, present, and true
                                                                                            factors.


                                                                                        •   The arbitrator set forth that pursuant to Article 12 of the Federal Civil
                                                                                            Code, Mexican laws govern all parties that are on national territory, as
                                                                                            well as




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                                                                             actions occurring in the territory, except when the application of foreign
                                                                             law is provided for; and substantive foreign law must be applied, as it
                                                                             itself would do.


                                                                             That the foreign law to which the parties were subject in the bond
                                                                             agreement is not applicable to this matter, as it violates the Mexican
                                                                             public order, and therefore pursuant to Article 87 of the Commercial
                                                                             Bankruptcies Act, Clause 15.1 must be declared inadmissible; the lack
                                                                             of reciprocity between the Mexican Government and the Kingdom of
                                                                             Norway is irrelevant, since said reciprocity is only relevant in the case of
                                                                             the execution of legal actions, i.e., the approval, enforcement or
                                                                             recognition of court decisions or resolutions.


                                                                             It explains that there is a conflict of interest between the Commercial
                                                                             Bankruptcies Act, which provides [that] the company’s continuity,
                                                                             preservation, and viability is a matter that falls under the public order,
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                                                                             and the issuance agreement, which stipulates that the filing of a request
                                                                             for insolvency or commercial bankruptcy on the part of Perforadora Oro
                                                                             Negro, sociedad de responsabilidad limitada de capital variable is
                                                                             sufficient cause as to constitute an event or grounds for non-compliance,
                                                                             and consequently the bonds are declared as being delinquent.


                                                                             Thus, the clause that is sought to be “disregarded” violates the Mexican
                                                                             legal order, in




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                                                                                        rendering commercial bankruptcy prohibitive in Mexico, which is a
                                                                                        violation of the human right to justice as set forth in Article 17 of the
                                                                                        Federal Constitution.


                                                                                        Article 87 of the Commercial Bankruptcies Act makes no reference to
                                                                                        the laws governing the respective contract, and it categorically notes that
                                                                                        any stipulation that provides for modifications that aggravate the terms
                                                                                        of agreements entered into by the parties to bankruptcy or their
                                                                                        subsidiaries shall be considered disregarded.


                                                                                        It explains that the appealed decision is contrary to Article 87 of the
                                                                                        Commercial Bankruptcies Act and the concept of commercial
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                                                                                        bankruptcy in Mexico, contravening the company’s preservation, and
                                                                                        that it cannot be agreed otherwise, since this would be a violation of
                                                                                        Article 6 of the Federal Civil Code.


                                                                                        And that claiming otherwise would create an incentive for foreign
                                                                                        contracting parties to include clauses to evade Mexican law.


                                                                                        Therefore, in accordance with the universal nature of the bankruptcy
                                                                                        proceeding, the proceeding’s administrator [rector] has universal
                                                                                        competence to resolve any matter related to commercial bankruptcy.




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                                                                             Therefore, pursuant to Articles 91 and 92 of the Commercial
                                                                             Bankruptcies Act, it is requested that Clause 15.1 of the bond agreement
                                                                             not be applied, as this is therefore consistent with the nature of the
                                                                             bankruptcy assets.


                                                                        •    Deutsche Bank México, Sociedad Anónima, Institución de Banca
                                                                             Múltiple, Trust Division claimed that the sole grievance is unfounded,
                                                                             since the agreement was entered into and resolved with respect to the
                                                                             petition filed, and although it was not favorable, this did not imply a
                                                                             violation of the principle of external conformity.




                                                                    FIVE. Study. In that regard, with a view to strict compliance with the concession
                                                              of amparo [protection] granted to the companies by the Eighth Collegial Civil Court
                                                              of the First Circuit, in the motion for review R.C. 108/2020, it is necessary to
                                                              remember the established guidelines, to wit:
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                                                                    (…)
                                                                    The measure disputed by the complainants is the resolution of February
                                                                    twenty-fifth, two thousand nineteen, handed down in commercial bankruptcy
                                                                    345/2017 of Perforadora Oro Negro, Sociedad de Responsabilidad Limitada
                                                                    de Capital Variable and Integradora de Servicios Petroleros Oro Negro,
                                                                    Sociedad Anónima Promotora de Inversión de Capital Variable, by the Second
                                                                    District Civil Court of Mexico City, which decided the motion for reconsideration
                                                                    filed by the companies against the decision of October eleventh, two thousand
                                                                    eighteen, in which it was determined that the bankruptcy court did not have
                                                                    authority to disregard a clause of the bond contract - bond issuance
                                                                    agreement - dated January twenty-fourth, two thousand fourteen, due to the
                                                                    fact that it involved a voluntary agreement subject to the laws and courts of
                                                                    Norway, without




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                                                                                  the existence of reciprocity between both States that would allow for
                                                                                  extraterritorial application of the law, in addition to the fact that the
                                                                                  precautionary measures requested by the aforementioned appellants were
                                                                                  denied.

                                                                                  It is to be reiterated that the constitutional case was restricted to determining
                                                                                  the legality of the assumptions supporting the disputed ruling and it was
                                                                                  concluded that the bankruptcy court does not have authority to disregard
                                                                                  Clause 15.1 of the bond issuance agreement of January twenty-fourth, two
                                                                                  thousand fourteen, entered into between Oro Negro Drilling Pte. Ltd. as
                                                                                  “issuer,” and Nordic Trustee Asa as “bond trustee.”

                                                                                  The clause in question states:

                                                                                  “15. Cases of non-compliance.

                                                                                  15.1 The bond trustee may declare the bonds as delinquent upon the
                                                                                  occurrence of any of the following cases, each one only to the extent that said
                                                                                  cases occur after the date of this document:
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                                                                                  (…)

                                                                                  g) Insolvency and dissolution proceedings.

                                                                                  If any corporate action, legal proceeding or other phase of the procedure is filed
                                                                                  by any party between the issuer, parent company or carrier, or any platform
                                                                                  owner with respect to:

                                                                                  i) The suspension of payments, the default of any debt, liquidation, dissolution,
                                                                                  administration or reorganization (by means of voluntary agreement, provisional
                                                                                  liquidation, legal administration, agreement structure or in any way other than
                                                                                  liquidation due to insolvency or reorganization.”


                                                                                  In the appealed ruling the concepts of violation were dismissed, in favor of
                                                                                  those recurring here under the following premises:




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                                                                    1.- The amparo judgment is not a third instance in which the constitutional
                                                                    oversight entity may resolve on the merit of the issues filed with the original
                                                                    courts, as it is a case of autonomous judgment, the matter of which is different,
                                                                    and therefore it is not feasible, in a amparo judgment, to officially undertake an
                                                                    examination of the issues raised by the complainants with the natural deciding
                                                                    entity, because an examination of the constitutionality of the disputed action in
                                                                    question can only be carried out based on the concepts of violation.

                                                                    2.- The complainants have expressed their desire to be subject to Norwegian
                                                                    law, and therefore in order to determine its competency, it is not consistent with
                                                                    the law that the court resort solely to internal legal standards to decide on the
                                                                    companies’ claim.

                                                                    3.- To determine whether it is feasible to apply foreign substantive law to
                                                                    interpret the bond issuance agreement, the court must conform to the
                                                                    provisions of Article 12 of the Federal Civil Code.

                                                                    4.- Contrary to what the complainants claim, it is indispensable that they attest
                                                                    to the existence of the contents of the referenced law before the original federal
                                                                    court, as well as the reciprocity between the Government that will be applying
                                                                    the external law – Mexico, by reason of the processing of a commercial
                                                                    bankruptcy – and the foreign Government – Norway – the substantive law of
                                                                    which must apply in resolving the matter raised, but in not doing so, it was
                                                                    undeniable that the bankruptcy court was not required to apply foreign law to
                                                                    clarify the companies’ claim.
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                                                                    5.- It is not feasible to claim that the District Court may validly consider
                                                                    disregarded a clause of the contract in question, and to declare as inadmissible
                                                                    the actions noted by the company, since that would imply the exclusion of a
                                                                    contractual stipulation of said agreement, in which the parties subjected
                                                                    themselves to Norwegian law, without the appellants having satisfied the
                                                                    burden referenced above.

                                                                    6.- Contrary to the complainants’ claim, the original federal court declared as
                                                                    unfounded the causes for appeal inherent to the claim that the refusal to decree
                                                                    the requested measures lacks conformity and exhaustiveness, as the contracts
                                                                    to which they refer must be fulfilled by the companies, unless the arbitrator
                                                                    objects in accordance with the provisions of Number 92 of the Commercial
                                                                    Bankruptcies Act, with respect to which it explained that this precept did not
                                                                    exclude those volitional agreements to




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                                                                                  which the complainants’ claim sought to apply said measures.

                                                                                  From the above statements it may be found that, contrary to what the
                                                                                  appellants claim, the appealed decision is not non-conforming, since the
                                                                                  District Court analyzed its four grounds for non-compliance and stated why it
                                                                                  deemed them as unfounded; hence, the disputed ruling is not non-conforming,
                                                                                  since a reading of it will demonstrate that the federal court, when handing it
                                                                                  down, clearly and precisely defined the disputed actions; it assessed the
                                                                                  corresponding evidence to consider it as having been produced; and it
                                                                                  identified the legal grounds on which it relied to deny the requested protection
                                                                                  measures, as well as the deciding points based on which it drew its
                                                                                  conclusions, analyzing those actions as to how they were proven to the
                                                                                  responsible authority, thereby fulfilling the provisions stipulated in Articles 73,
                                                                                  74, and 75 of the Amparo Law.

                                                                                  In the grievance the appellants maintain that the appealed District Judge
                                                                                  violated, to their detriment, Articles 74 of the Amparo Law, 1 and 87 of the
                                                                                  Commercial Bankruptcies Act, and Article 12 of the Federal Civil Code, since
                                                                                  the substantive law applicable to the case is Mexican law and not foreign law.
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                                                                                  The appellants claim that this is so because under Article 1 of the Commercial
                                                                                  Bankruptcies Act, all bankruptcy questions, and specifically those relating to
                                                                                  the preservation of companies, form part of the public order and social interest,
                                                                                  since they are aimed at protecting the interests of an entire community, and the
                                                                                  purpose of that order is to maximize the value of a company in crisis by
                                                                                  preserving it, thereby protecting the jobs of its human factors and avoiding
                                                                                  negative economic repercussions on society.

                                                                                  They note that Article 6 of the Federal Civil Code provides that the will of private
                                                                                  individuals cannot supersede compliance with the law, nor can it alter or modify
                                                                                  it, and private rights can only be waived if they do not directly affect the public
                                                                                  interest, which means that in the event that a contractual stipulation affects the
                                                                                  public interest, it cannot be enforced, since said agreement would lack legal
                                                                                  validity and, for those reasons, contrary to what the lower court decided, the
                                                                                  substantive law applicable to resolving their petition to consider




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                                                                       a contractual clause as disregarded is Mexican law and, in particular, Article
                                                                       87 of the Commercial Bankruptcies Act, which does not constitute an obstacle
                                                                       thereto when, in a bond issuance agreement, its parties have been subject to
                                                                       foreign law, since the provisions of the Commercial Bankruptcies Act are of
                                                                       public order to the extent that they seek the company’s preservation, as its
                                                                       preservation is one of the legal goods protected by the State, for being of high
                                                                       importance to society and the national economy, and therefore, the provisions
                                                                       of the bankruptcy law are subject to immediate, territorial, and mandatory
                                                                       application, over any other law agreed to by the parties.

                                                                       They explain that should Article 87 of the Commercial Bankruptcies Act not
                                                                       apply to the bond issuance agreement (on the pretext that in Clause 19.7.1 of
                                                                       said agreement the parties agreed to the application of Norwegian law), their
                                                                       principal creditor Nordic Trustee As would be permitted to declare an event of
                                                                       non-compliance, and thereby declare the acceleration of the bonds and carry
                                                                       out enforcement of the guarantees granted, i.e., it would be permitted to
                                                                       engage in private and unilateral seizure of the companies’ assets (which is
                                                                       categorically prohibited by the Commercial Bankruptcies Act, and is a violation
                                                                       of the principle of par condictio creditorum), and application of the resource
                                                                       distribution mechanism pursuant to an F/1695 trust, which is contrary to the
                                                                       company’s preservation, since these actions result in the imminent bankruptcy
                                                                       of the companies and prevent fulfillment of their ordinary operations, and thus
                                                                       it is clear that in accordance with Article 6 of the Federal Civil Code, it is
                                                                       necessary that Clause 19.7.1 of the bond issuance agreement not be followed,
                                                                       since by applying it, the social interest is directly affected.
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                                                                       The appellants’ arguments have merit.

                                                                       In effect, the Second District Civil Court of Mexico City hearing the appellants’
                                                                       commercial bankruptcy case had to determine in the appealed ruling, first of
                                                                       all, whether Clause 15.1 of the bond issuance agreement worsened the
                                                                       companies’ situation, given that, as that collegial body ruled in the decision that
                                                                       resolved the motion for review 21/2019,15 on




                                                              15
                                                                Due to the importance it has on the case, it is important to raise considerations that are of interest, due to
                                                              their being the legal truth applied by this collegial court, in resolving motion for review 21/2019 in the decision
                                                              handed down on March thirteenth, two thousand nineteen, which are the following:

                                                              “If, in the bond issuance agreement, the parties agree in Clause 19.7, Points 19.7.1, 19.7.2, and 19.7.3 that any
                                                              conflict that might arise between the bond trustee, the bondholders, and any obligor, such as the carrier (in this
                                                              case Perforadora Oro Negro, Sociedad de Responsabilidad Limitada de Capital Variable) is to be resolved in
                                                              accordance with Norwegian law, nevertheless, that subjection would not prevent the bankruptcy court from
                                                              ruling on those precautionary measures that have the objective of preserving the assets in the commercial
                                                              bankruptcy, and based on the requirement stipulated in Article 87 of the law in question, it could disregard
                                                              any contractual stipulation that, due to the filing of the request for bankruptcy or its declaration, might
                                                              establish modifications that aggravate the terms of the contracts for the Company.


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                                                                      In effect, permitting the creditor Nordic Trustee Asa to enforce the guarantees would render invalid the
                                                                      companies’ commercial bankruptcy, the principal objective of which is not to lead to the companies’ failure, since
                                                                      this would affect the Government’s economic objectives in terms of its subjects; rather, the principal purpose of
                                                                      the Commercial Bankruptcies Act is to protect companies and prevent widespread default on their payment
                                                                      obligations from endangering their viability and that of their business partners, i.e., it seeks to protect the
                                                                      company to preserve its operations and the jobs it creates, in order to preserve the equilibrium between the
                                                                      company and its creditors (…)

                                                                      In accordance with the above articles, there is no legal impediment to the bankruptcy court’s issuing a resolution
                                                                      with respect to the requested precautionary measure, which is that the bond agreement not be enforced, with
                                                                      regard to the delivery to Nordic Trustee Asa of the guarantees corresponding to the self-lifting marine
                                                                      platforms identified as Primus, Laurus, Fortius, Decus, and Impetus, since otherwise the party to the commercial
                                                                      bankruptcy would end up facing the absence of the assets that produce the operational cash flow of both the
                                                                      Company and the entities comprising its corporate group, potentially causing the bankruptcy of all of them, to
                                                                      the detriment of the objectives stipulated in the Commercial Bankruptcies Act.

                                                                      In fact, the bankruptcy court cannot rule with respect to those precautionary measures that result in the
                                                                      nullity, modification, exclusion, or cancellation of certain clauses of the bond issuance agreement entered into
                                                                      on January twenty-fourth, two thousand fourteen and its amendments, since the parties that signed it agreed
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                                                                      that any conflict that might arise between the bond trustee, the bondholders and any obligor, such as the carrier
                                                                      (in this case Perforadora Oro Negro, Sociedad de Responsabilidad Limitada de Capital Variable), would be
                                                                      resolved in accordance with Norwegian law; however it may legally approve those that involve execution of the
                                                                      guarantees and whose purpose is contrary to preserving the companies’ viability.

                                                                      That is, that the marine platforms not be delivered to Nordic Trustee Asa, but it does not have authority to
                                                                      cancel the bond issuance agreement, i.e., it cannot approve those precautionary measures aimed at modifying
                                                                      or annulling any declaration of breach of the bond issuance agreement, because the parties agreed in Clause
                                                                      19.7, Points 19.7.1, 19.7.2, and 19.7.3 that any conflict that might arise between the bond trustee, the
                                                                      bondholders and any obligor, such as the carrier (in this case Perforadora Oro Negro, Sociedad de
                                                                      Responsabilidad Limitada de Capital Variable), would be resolved in accordance with Norwegian law, before the
                                                                      courts of that country.

                                                                      The referenced measures are set forth by the objecting parties as follows:

                                                                      “Render invalid:

                                                                      “I.- The notification of September twenty-fifth, two thousand seventeen, entered into by Olav Slagsvold on
                                                                      behalf of Nordic Trustee ASA, in its capacity as mutual representative in the aforementioned bond issuance
                                                                      agreement, which sought to declare an event of non-compliance on the grounds of the original request for
                                                                      commercial bankruptcy;




                                                                      II.- The removal and new appointment of the directors of:

                                                                      1. Oro Negro Drilling, Pte. Ltd.; 2. Oro Negro Primus Pte. Ltd.; 3. Oro Negro Laurus Pte. Ltd.; 4. Oro Negro Fortius
                                                                      Pte. Ltd.; 5. Oro Negro Decus Pte. Ltd.; and 6. Oro Negro Impetus Pte. Ltd.; and

                                                                      III.- Transfer of the shares representing the share capital of Oro Negro Drilling, Pte. Ltd.”

                                                                      Illustrative of the case are the considerations set forth by the First Chamber of the Federal Supreme Court of
                                                                      Justice, when ruling on the difference of opinions in case 372/2015, between those supported by the Second
                                                                      Collegial Civil Court of the Third Circuit and the First Collegial Civil and Labor Court of the Second Circuit, currently

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                                                              the First Collegial Civil Court of the Second Circuit, in the final decision handed down November fifteenth, two
                                                              thousand seventeen, in which it said:

                                                              “III. The determination of applicable law for trying the case and the applicable law for resolving the conflict
                                                              deriving from the international private legal relationship.

                                                              70. In general, the determination of applicable law for trying a case involving settlement of a dispute deriving
                                                              from an international legal relationship requires determining the international competence of the Court and its
                                                              internal competence; this is because if the Court recognizes its competence in these two environments, then
                                                              consequently, the jurisdictional process must be based on the provisions of its adjectival law, consistent with the
                                                              principle applying in matters of conflicting regulations known as “lex fori regit processum” (the law of the forum
                                                              governs the process); unless, depending on the circumstances of the specific case, under extraordinary
                                                              circumstances, any different procedural norm may be observed, deriving from a contractual source or
                                                              peculiarities of the internal order itself.

                                                              71. On the other hand, the determination of the material or substantive law applicable in the situation of the
                                                              dispute (the law that will decide the grounds of the matter) necessarily requires the task of establishing which
                                                              law should govern the international material legal relationship, including determining, as the case may be,
                                                              whether only some aspects of the substantive legal relationship are regulated by the substantive law
                                                              corresponding to a specific State, while other aspects are subject to the law of a different State, since as has been
                                                              explained, the complexity that might arise from the international private legal relationship will depend on the
                                                              elements or points of connection of the latter with various legal orders.

                                                              72. In the doctrine of private international law, it is necessary that determination if the law applicable to the
                                                              international private legal relationship be recognized as such in the internal law of any State legal systems
                                                              involved in the relationship, i.e., the right of the State where the claim is filed, or the right of a foreign State, but
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                                                              it must always be the result of greater conformance to its nature and to the matter of the dispute; and the
                                                              applicable substantive norm must be single and adequate, since a legal relationship, or even a mere aspect of
                                                              one, must not be admitted as being subject to more than one legal system at the same time, under risk of conflict
                                                              (37) and consistent with elemental reasons of legal security.

                                                              73. Thus, the norms of conflict that establish the rules for the choice of substantive law applicable to resolution
                                                              of the private international legal dispute generally conform to the element of the international legal relationship
                                                              that is a deciding factor in the case in question (the subjects, object, action and/or cause) and to its most objective
                                                              point of contact or connection with the law that, consistent with its nature, is appropriate for governing it, which
                                                              depending upon the relationship, may be the national law of the State where the claim was filed, or the law of
                                                              the foreign State.

                                                              74. In that regard, doctrine recognizes, as basic criteria in determining that link between the legal relationship
                                                              and the substantive law that must govern it, that when the deciding factor of the legal relationship consistent
                                                              with the matter of dispute in question is based on the subjects (the person), the point of connection with
                                                              applicable law will favor the legal system corresponding thereto in accordance with its nationality or domicile;
                                                              when the deciding factor of the legal relationship is based on the assets (the object), the legal system prevailing
                                                              by nature will be that of their location; and when said deciding factor is its action or cause, the connection may
                                                              be defined as a function of the place it was entered into or the place of enforcement of the relative obligations;




                                                              this is in order that the substantive law determined as being applicable be the one that is most intimately linked
                                                              to the nature of the international private legal relationship and the dispute arising therefrom.”

                                                              Given this state of affairs, the responsible Court should not have failed to approve in their entirety the
                                                              precautionary measures, but rather ruled on the one in which it was requested not to enforce the guarantees
                                                              referenced in the bond issuance agreement, amended and restated on April twenty-ninth, two thousand sixteen,
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                                                                                   March thirteenth, two thousand nineteen, the bankruptcy court needed to rule
                                                                                  on that situation, without concluding that it lacked competence, since pursuant
                                                                                  to Article 87 of the Commercial Bankruptcies Act, the examining judge can
                                                                                  validly consider as disregarded, any contractual stipulation that, due to the filing
                                                                                  of a request or claim for commercial bankruptcy, or its declaration, establishes
                                                                                  changes that aggravate the terms of the contracts for the Company.

                                                                                  Application of the aforementioned article does not imply either the disregard of
                                                                                  a foreign law, nor invalidating, nullifying, modifying or extinguishing contracts
                                                                                  under the protection of the laws to which the company and its creditors have
                                                                                  been subject, but rather the goal is merely to not continue aggravating the
                                                                                  situation of the company declared to be in bankruptcy, on the grounds that the
                                                                                  bankruptcy procedure is being heard in Mexico and that its fundamental
                                                                                  purpose is to preserve the company without failing to maintain a principle of
                                                                                  equality among the creditors.

                                                                                  It is clear that if, in the appealed decision, the responsible court relied on the
                                                                                  premise that the appellants sought to nullify the clause corresponding to the
                                                                                  bond issuance agreement, the conclusions of its decision were incorrect,
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                                                                                  because what it should have unraveled was whether or not it was possible to
                                                                                  not apply it, but instead relying on the basis that it can validly disregard any
                                                                                  contractual stipulation that, by reason of the filing of a request or claim for
                                                                                  commercial bankruptcy, or its declaration, results in modifications that
                                                                                  aggravate the Company’s situation.




                                                                      amended June second, two thousand sixteen and September twenty-ninth, two thousand sixteen, and once again
                                                                      amended and restated in its entirety on November ninth, two thousand sixteen, providing for the prohibition on
                                                                      Nordic Trustee Asa to take over the self-lifting marine platforms identified as Primus, Laurus, Fortius, Decus, and
                                                                      Impetus, until such time as the matter in bankruptcy trial 345/2017 is resolved, and to not rule on amending,
                                                                      annulling, or canceling the aforementioned bond agreement or its clauses or questions unrelated to the
                                                                      commercial bankruptcy.”


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                                                                    Along that line of thinking, in order to establish the possibility of not applying
                                                                    Clause 15.1 of the bond issuance agreement, the responsible court should
                                                                    have weighed whether it was viable to suspend certain effects of the
                                                                    aforementioned contract, noting what the consequences of their application
                                                                    would be, and whether or not these would aggravate the companies’ situation.

                                                                    It is to be understood that considering a contractual clause as disregarded does
                                                                    not imply modifying, annulling, or canceling the bond issuance agreement of
                                                                    January twenty-fourth, two thousand fourteen, but rather seeking to suspend
                                                                    its effects for the sole purpose of not aggravating the situation of the company
                                                                    declared as being in commercial bankruptcy.

                                                                    The above makes it necessary to revoke the appealed decision and to grant to
                                                                    the complainants the shelter and protection of the Federal Justice Authorities
                                                                    that they are requesting, for the following purposes:

                                                                    1.- In order for the responsible court to dismiss the appealed decision and in
                                                                    its stead hand down a new one in which:

                                                                    2.- Based on the considerations of this final decision, it may establish the
                                                                    immediate consequences of the application of Clause 15.1 of the vote (sic)
                                                                    issuance agreement, to determine whether the companies’ situation is
                                                                    worsened, and

                                                                    3.- In the event it is concluded that the application of the clause in question
                                                                    worsens the companies’ situation, it may cease to apply it, taking the
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                                                                    appropriate cancellation measures under the law.

                                                                    (…)”


                                                                    As may be noted, the review court accepted the grounds for objection raised
                                                              by the petitioners for purposes of determining whether or not it is admissible for the
                                                              undersigned judge to disregard a clause of the bond issuance agreement dated
                                                              January twenty-fourth, two thousand fourteen, as amended and restated on April
                                                              twenty-ninth, two thousand sixteen, amended June second, two thousand sixteen and
                                                              September twenty-ninth, two thousand sixteen, and once again amended and restated
                                                              in its entirety on November




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                                                                      ninth, two thousand sixteen, entered into between Oro Negro Drilling Pte. Ltd., as
                                                                      “issuer,” and Nordic Trustee Asa, as “bond trustee.”


                                                                            Evidencing that, as it is the legal truth, the undersigned, as bankruptcy judge,
                                                                      cannot modify, annul, or cancel the bond issuance agreement of January
                                                                      twenty-fourth, two thousand fourteen, as amended and restated on April twenty-
                                                                      ninth, two thousand sixteen, amended June second, two thousand sixteen and
                                                                      September twenty-ninth, two thousand sixteen, and once again amended and restated
                                                                      in its entirety on November ninth, two thousand sixteen, but pursuant to Article 87 of
                                                                      the Commercial Bankruptcies Act, he indeed can disregard any contractual
                                                                      stipulation that, by reason of the filing of the bankruptcy request or its
                                                                      declaration, incorporates modifications that aggravate the terms of the
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                                                                      agreements for the Company.




                                                                            Thus, in accordance with the guidelines developed by the amparo court, they
                                                                      ordered that it be determined:




                                                                            1. What the immediate consequences of the application of Clause 15.1 of the
                                                                                  bond issuance agreement are.


                                                                            2. By virtue of said consequences, determine whether it aggravates the situation
                                                                                  of the companies Perforadora




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                                                                         Oro Negro, Sociedad de Responsabilidad Limitada de Capital Variable
                                                                         and Integradora de Servicios Petroleros Oro Negro, Sociedad Anónima
                                                                         Promotora de Inversión de Capital Variable.


                                                                     3. In the event it is concluded that the application of the clause in question
                                                                         worsens the companies’ situation, provide for disregarding it, taking the
                                                                         appropriate cancellation measures under the law.




                                                                     Now, for purposes of evidencing the first point in question, it is necessary to
                                                              transcribe Clause 15.1 (g) (i) 16 of the bond issuance agreement of January twenty-
                                                              fourth, two thousand fourteen, as amended and restated on April twenty-ninth, June
                                                              second, September twenty-ninth, and November ninth, all of the year two thousand
                                                              sixteen, as well as Clauses 15.2, 15.3, and 15.4, which set forth the consequences of
                                                              the declaration of Delinquent bonds (cases of non-compliance), in order to advise as
                                                              to the immediate consequences in the event of the occurrence of an infraction, which
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                                                              read as follows:




                                                                     “15. Cases of Non-Compliance


                                                                     15.1 The Bond Trustee may declare that the Bonds are delinquent after the
                                                                     occurrence of any of the following cases, for each one only to the extent that
                                                                     said cases occur after the date of this document:




                                                              16
                                                                   Corresponding to this appeal instrument.


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                                                                            (…)


                                                                            (g) Insolvency and dissolution procedures


                                                                            In the event of any corporate action, legal proceeding, or other phase of the
                                                                            proceeding for any party among the Issuer, the Parent Company, the Carrier
                                                                            or any Platform Owner with respect to:


                                                                            (i) the suspension of payments, the delinquency of any debt, liquidation,
                                                                            dissolution, administration or reorganization (by means of voluntary
                                                                            agreement,       provisional     liquidation,      legal    administration,        agreement
                                                                            structure   or    otherwise)       other     than     liquidation      by     insolvency       or
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                                                                            reorganization;


                                                                            (…)




                                                                            15.2 In the event that one or more of the circumstances mentioned in Clause
                                                                            15.1 occurs and remains in effect, the Bond Trustee may, to protect the
                                                                            interests of the Bondholders, declare the Bonds in Circulation, including
                                                                            accrued interest, costs and expenses, as delinquent and due for immediate
                                                                            payment.


                                                                            The Bond Trustee may, at its own discretion, implement the necessary
                                                                            measures to recoup the amounts owed in accordance with the Bonds in
                                                                            Circulation and all amounts pending




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                                                                 in accordance with this Bond Agreement and any other Financial Document.


                                                                 15.3 In the event that one or more of the circumstances mentioned in Clause
                                                                 15.1 occurs and remains in effect, the Bond Trustee shall declare the Bonds
                                                                 in Circulation, including accrued interest, costs and expenses, as delinquent
                                                                 and subject to immediate payment if:


                                                                 (a) The Bond Trustee receives a request in writing that Bondholders
                                                                 representing at least 1/5 (one-fifth) of the Bonds with Voting Rights be
                                                                 declared non-compliant, and the Bondholders Meeting has not provided for
                                                                 other solutions; or


                                                                 (b) The Bondholders meeting ended, with a simple majority, by declaring
                                                                 the Bonds in Circulation as delinquent and due for payment.


                                                                 In either case, the Bond Trustee shall implement every necessary measure
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                                                                 to recoup the amounts owed in accordance with the Bonds in Circulation.
                                                                 The Bond Trustee may request a satisfactory pledge guarantee for any
                                                                 possible liability and anticipated expenses of those Bondholders that
                                                                 request that a declaration of non-compliance be filed in accordance with
                                                                 Sub-Clause (a) above and/or those that voted in favor of the decision
                                                                 pursuant to Sub-Clause (b) above.


                                                                 15.4 In the event that the Bond Trustee, pursuant to Clause 15.2 or 15. [sic;
                                                                 number omitted in source] declares the Bonds in Circulation as delinquent
                                                                 and due for payment, the Bond Trustee shall immediately deliver to the
                                                                 Issuer a notification




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                                                                            requesting the payment of interest and principal owed to the Bondholders
                                                                            in accordance with the Bonds in circulation, including interest accrued and
                                                                            interest on the amounts and expenses due. The claim deriving from the
                                                                            Bonds in Circulation due for payment as a result of a Case of Non-
                                                                            Compliance shall be calculated at the price set forth in Clause 10.1.1(a) for
                                                                            repayment on the Due Date.” 17




                                                                            From the transcription in question, it may be deduced that a case of non-
                                                                      compliance as provided for in Clause 15.1 of the bond agreement, e.g., “Insolvency
                                                                      and dissolution procedures,” results in the following consequences:
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                                                                                       The Bond Trustee 18 (Nordic Trustee ASA) declares the bonds in
                                                                                        circulation, including accrued interest, costs and expenses, as delinquent
                                                                                        and due for immediate payment.




                                                                      17
                                                                         Definitions according to the bond agreement:
                                                                      Bond Trustee: Nordic Trustee ASA.
                                                                      Bonds: Means the debt instruments issued by the Issuer pursuant to this Bond Agreement.
                                                                      Issuer: Oro Negro Drilling PTE. LTD.
                                                                      Parent Company: Means Integradora de Servicios Petroleros Oro Negro, Sociedad Anónima Promotora de
                                                                      Inversión de Capital Variable, a corporation organized in Mexico (Registration No. 413253-1).
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                                                                        Definition of Bond according to the bond agreement:
                                                                      “2.5 Bonds
                                                                      2.5.1 As from the Date of Modification, the Issuer shall have Bonds in Circulation representing total share capital
                                                                      of approximately USD 939,1005,570 [sic] (nine hundred thirty-nine million, one hundred thousand, five hundred
                                                                      seventy US dollars) and accrued and unpaid interest of approximately USD 38,039,791 (thirty-eight million, thirty-
                                                                      nine thousand, seven hundred ninety-one US dollars).
                                                                      2.5.2 The Par Value of each Bond is USD 1 (one US dollar) each with a minimal subscription and allocation of USD
                                                                      200,000 (two hundred thousand US dollars) and whole multiples of USD 100,000 (one hundred thousand US
                                                                      dollars). The Bonds shall be classified pari passu between them.”

                                                                                                                                                                                         51
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                                                                            The bond trustee, at its discretion, shall implement the necessary measures
                                                                             to recoup the amounts owed in accordance with the bonds in circulation and
                                                                             all amounts pending in accordance with the bond agreement and any other
                                                                             financial document (agreed therein).


                                                                            The bond trustee shall immediately deliver to the Issuer (Oro Negro Drilling
                                                                             PTE. LTD.) a notification requesting payment of interest and principal owed
                                                                             to the Bondholders in accordance with the bonds in circulation, including
                                                                             accrued interest and interest on the amounts and expenses due.




                                                                     The above – as may be seen in said agreement of intents 19 – has the effect of
                                                              protecting the interests of Bondholders.




                                                                     However, based on the above, it is necessary to determine, in accordance with
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                                                              Point Two, the ancillary effects of the protection, i.e., whether or not, as a result of the
                                                              occurrence of one of the cases of non-compliance (Clause 15.1) listed in the bond
                                                              agreement – specifically Section (g), Sub-Section (i) 20 – it aggravates the situation of
                                                              the companies Perforadora Oro Negro, Sociedad de Responsabilidad Limitada
                                                              de Capital Variable and Integradora de Servicios Petroleros




                                                              19
                                                                This of course, without the undersigned, as bankruptcy judge, interpreting the bond issuance agreement of
                                                              January twenty-fourth, two thousand fourteen, as the Protection Court established.
                                                              20
                                                                   Which is petitioned as being considered not opposed.


                                                                                                                                                                      52
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                                                                                                                           Commercial Bankruptcy 345/2017-I
                                                                                                                                                   Motion for reconsideration
                                                                                        Issued in compliance with the judgment handed down in the indirect amparo proceeding
                                                                                        No. 270/2019 of the docket of the Eleventh District Court in Civil Matters in Mexico City,
                                                                                        on the occasion of the granting of writ of amparo by the Eighth Collegiate Court in Civil
                                                                                        Matters of the First Circuit, in the motion for review of Civil Liability 108/2020.
                                                              FEDERAL JUDICIAL BRANCH


                                                                      Oro Negro, Sociedad Anónima Promotora de Inversión de Capital Variable.




                                                                            This is based on the provisions set forth by the review court in the sense that the
                                                                      undersigned, as bankruptcy judge, cannot modify, annul, or cancel the bond
                                                                      issuance agreement of January twenty-fourth, two thousand fourteen, as
                                                                      amended and restated on April twenty-ninth, two thousand sixteen, amended June
                                                                      second, two thousand sixteen and September twenty-ninth, two thousand sixteen, and
                                                                      once again amended and restated in its entirety on November ninth, two thousand
                                                                      sixteen, but based on Article 87 of the Commercial Bankruptcies Act, that he can
                                                                      indeed consider disregarded any contractual stipulation which, by reason of the
                                                                      filing of the request for bankruptcy or its declaration, established modifications
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                                                                      that aggravate the terms of the agreements for the Company.




                                                                            In that regard, attentive to the immediate consequences agreed to by Oro Negro
                                                                      Drilling Pte. Ltd. as “issuer” and Nordic Trustee Asa as “bond trustee” in the case
                                                                      of the occurrence of a breach, it must be said that the clause in question does indeed
                                                                      aggravate the situation for the companies.




                                                                            This is the case since, although the bond agreement does not expressly set forth
                                                                      the consequences that the appellants mention in covering only the




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                                                              signatories Oro Negro Drilling Pte. Ltd. as “issuer” and Nordic Trustee Asa as
                                                              “bond trustee,” what is indeed the case is that the consequences stipulated for the
                                                              event of non-compliance, combined with the “Financial Documents” and the annexes 21
                                                              related thereto, worsen the situation for the companies, since by reason of the
                                                              notification of non-compliance of the bond agreement in question, the following was
                                                              undertaken:




                                                                      1. The change of directors of Drilling, Primus, Laurus, Fortius, Decus, and
                                                                           Impetus.


                                                                      2. The transfer of shares representing the share capital of Drilling, owned by
                                                                           Integradora, in favor of Ond. Pte. Ltd.


                                                                      3. The revocation 22 and granting 23 of powers of attorney by reason of the new
                                                                           appointment of directors of Drilling, Primus, Laurus, Fortius, Decus, and
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                                                                           Impetus (Roger Arnold Hancock and Roger Alan Berlett).




                                                              21
                                                                E.g.: Annex 2 CARRIER COMMITMENT FORM; Annex 3 GUARANTEE FORM; etc.
                                                              22
                                                                As a result of the appointment of Roger Arnold Hancock and Roger Alan Bartlett as directors of DRILLING,
                                                              PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS, on October ninth, two thousand seventeen, they adopted
                                                              certain director resolutions approving, among other things, the cancellation of any and all authority and powers
                                                              of attorney previously granted by DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS and the
                                                              appointment of various individuals to act as legal representatives, attorneys in fact and attorneys of DRILLING,
                                                              PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS.

                                                              Similarly, on February fifth, two thousand eighteen, Roger Arnold Hancock and Roger Alan Bartlett, as directors
                                                              of DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS, decreed certain resolutions approving, among
                                                              other things, revocation of the powers of attorney previously granted by DRILLING, PRIMUS, LAURUS, FORTIUS,
                                                              DECUS, and ÍMPETUS in favor of Alonso del Val Echeverría, Gonzalo Gil White, Jaime Rene Guerra González,
                                                              Patricio Fabián Hidalgo Estrada, Alfonso Peniche García, Román Salazar Castillo, Ernesto Luis Rodríguez León,
                                                              Octavio Ochoa Huerta, Raúl García Herrera, Sergio Cabanas Mier, Elias Mendoza Murguía and Jesús Ángel
                                                              Guerra Méndez. (“Second Revocation of Powers of Attorney”).
                                                              23
                                                                On October ninth, two thousand seventeen, Roger Alan Bartlett, in his capacity as director of DRILLING,
                                                              PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS, undertook the granting of powers of attorney in favor of
                                                              Messrs. Alejandro Sainz Orantes, Daniel Alejandro Díaz Álvarez, Manuel Ruiz de Chávez Gutiérrez de Velasco,
                                                              Ana Gabriela Avendaño Fernández, Luis Antonio Estrella Saavedra, Santiago Alessio Robles Seguí, Daniel Pardo
                                                              Fuentes and Jesús Ángel Origel Zavala.

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                                                                                                                               Commercial Bankruptcy 345/2017-I
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                                                                                            No. 270/2019 of the docket of the Eleventh District Court in Civil Matters in Mexico City,
                                                                                            on the occasion of the granting of writ of amparo by the Eighth Collegiate Court in Civil
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                                                              FEDERAL JUDICIAL BRANCH


                                                                                  4. The letters of resignation of Alonso del Val Echeverría, Gonzalo Gil White,
                                                                                        Anita Chew Peck Hwa, and Carlos Enrique Williamson Nasi from their
                                                                                        positions as directors of Drilling, Primus, Laurus, Fortius, Decus, and
                                                                                        Impetus.


                                                                                  5. Any actions carried out by reason or as a consequence of the above.




                                                                            As noted from the aforementioned immediate consequences as a result of one of
                                                                      the cases of non-compliance (Clause 15.1 (g) (i) 24), it allows Nordic Trustee As to
                                                                      declare an event of non-compliance, and thereby promote acceleration of the bonds
                                                                      and undertake enforcement of the guarantees granted, i.e., it is permitted to engage
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                                                                      in the private and unilateral seizure of the assets the companies held in their
                                                                      possession – the self-lifting marine platforms – (which is categorically prohibited under
                                                                      the Commercial Bankruptcies Act and which constitutes a violation of the principle of
                                                                      par condictio creditorum) and recourse to the mechanism of




                                                                      24
                                                                         “15. Cases of Non-Compliance
                                                                      15.1 The Bond Trustee may declare that the Bonds are delinquent after the occurrence of any of the following
                                                                      cases, each one only to the extent that said cases occur after the date of this document:
                                                                      (…)
                                                                      (g) Insolvency and dissolution proceedings
                                                                      Upon the occurrence of any corporate action, legal proceeding or other phase of the proceeding by any party
                                                                      from among the Issuer, Parent Company, Carrier, or any Platform Owner with respect to:

                                                                      (i) the suspension of payments, a moratorium on any debt, liquidation, dissolution, administration, or
                                                                      reorganization (by means of voluntary agreement, provisional liquidation, legal administration, agreement
                                                                      structure or otherwise) other than liquidation due to insolvency or reorganization; (…)”

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                                                              the distribution of resources pursuant to Trust F/1695, which is contrary to the
                                                              preservation of the company, since said actions prevent the execution of its ordinary
                                                              operations, and therefore it is clear that Clause 15.1 (g) (i) of the bond issuance
                                                              agreement is not being followed, since by reason of its application it directly affects
                                                              the corporate interest.




                                                                 In effect, allowing the creditor Nordic Trustee Asa to execute the guarantees
                                                              would invalidate the companies’ commercial bankruptcy, the principal objective of
                                                              which is not to lead to the companies’ bankruptcy, as this would affect the economic
                                                              objectives of the State with respect to its governed parties, but rather the principal
                                                              objective of the Commercial Bankruptcies Act is to preserve companies and prevent
                                                              widespread default on their payment obligations, endangering their viability and that
                                                              of their business partners, i.e., seeking to protect the company to preserve its
                                                              operations and the jobs it creates, in order to maintain equilibrium between the
                                                              company and its creditors.
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                                                                 Without it being an obstacle thereto that, in a bond issuance agreement, its parties
                                                              have been subjected to foreign law, since the provisions of the Commercial
                                                              Bankruptcies Act are of public order to the extent that they seek the company’s
                                                              preservation, as its preservation is one of the legal goods protected by the State, due
                                                              to its being of high importance to society and the national economy, and therefore, the
                                                              provisions of the bankruptcy law are subject to immediate, territorial and mandatory
                                                              application, over any other law agreed to by the parties.




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                                                              FEDERAL JUDICIAL BRANCH


                                                                            In fact, the bankruptcy judge cannot rule on the bond agreement involving
                                                                      the nullity, modification, exclusion, or cancellation of certain clauses entered
                                                                      into on January twenty-fourth, two thousand fourteen, and its amending accords, since
                                                                      the parties that entered into it agreed that any conflict that might arise between the
                                                                      bond trustee, the bondholders, and any obligor, such as the carrier (in this case
                                                                      Perforadora Oro Negro, Sociedad de Responsabilidad Limitada de Capital Variable),
                                                                      would be resolved in accordance with Norwegian law; however, legally it may approve
                                                                      those that involve executing the guarantees, the purpose of which is contrary to
                                                                      preserving the companies’ viability, although pursuant to Article 87 of the Commercial
                                                                      Bankruptcies Act, it can indeed legally disregard any contractual stipulation
                                                                      which, by reason of the filing of the request for bankruptcy or its declaration,
                                                                      sets forth modifications that aggravate the terms of the agreements for the
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                                                                      Company.




                                                                            Application of the aforementioned article – as was considered by the collegial court
                                                                      in the final decision that resolved motion for review 21/2019 – does not involve either
                                                                      disregard of foreign law, nor does it dismiss, nullify, modify, or extinguish agreements
                                                                      under the protection of the laws to which the company and its creditors were made
                                                                      subject, but rather seeks only to not aggravate the situation of the company
                                                                      declared as being




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                                                              in bankruptcy, based on the fact that the bankruptcy proceeding is being heard
                                                              in Mexico and that its basic objective is to preserve the company without failing
                                                              to maintain a principle of equality among the creditors.




                                                                   Having set forth the above, in finding that the clause in question (15.1 (g) (i)) of the
                                                              bond agreement aggravates the situation of the companies Perforadora Oro
                                                              Negro, Sociedad de Responsabilidad Limitada de Capital Variable and
                                                              Integradora de Servicios Petroleros Oro Negro, Sociedad Anónima Promotora
                                                              de Inversión de Capital Variable; pursuant to Point Three of the ancillary effects of
                                                              the protection, in strict compliance with the provisions set forth by the Eighth
                                                              Collegial Civil Court of the First Circuit, in appeal for review R.C. 108/2020, the
                                                              appeal for review that was filed by the aforementioned companies against the decision
                                                              adopted October eleventh, two thousand eighteen is well founded, only with
                                                              regard to the portion upheld by the review court. That is, determining whether or not
                                                              it is admissible for the undersigned judge to consider a clause of the aforementioned
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                                                              bond issuance agreement as disregarded.




                                                                   In view of the above, the agreement in question is revoked in the portion
                                                              corresponding to the determination as to whether the undersigned judge, pursuant
                                                              to Chapter V on the effects in relation to the Company’s obligations, Section I General
                                                              Rule and Early Maturity, Article 87 of the Commercial Bankruptcies Act, 25 can or
                                                              cannot consider as unopposed [sic; possible source typo: probably should be “no
                                                              puesta”, i.e., “disregarded”]




                                                              25
                                                                Article 87.- Any contractual stipulation which, by reason of the filing of a request or claim for commercial
                                                              bankruptcy or its declaration, sets forth modifications that worsen the terms of the agreements for the
                                                              Company, shall be considered as disregarded, subject to the exceptions expressly set forth in this law.


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                                                              FEDERAL JUDICIAL BRANCH


                                                                      any contractual stipulation that, by reason of the filing of a request or claim for
                                                                      commercial bankruptcy, or its declaration, sets forth modifications that aggravate the
                                                                      terms of the agreements for the Company.




                                                                            In that regard, as set forth by the companies in the instrument registered under
                                                                      number 18666 as well as the statements made by the Eighth Collegial Civil Court
                                                                      of the First Circuit in appeal for review R.C. 108/2020, it is agreed that Clause 15.1
                                                                      (g) (i) of the bond issuance agreement dated January twenty-fourth, two thousand
                                                                      fourteen, as amended and restated on April twenty-ninth, June second, September
                                                                      twenty-ninth, and November ninth, all of two thousand sixteen, aggravates the
                                                                      situation of the companies Perforadora Oro Negro, Sociedad de Responsabilidad
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                                                                      Limitada de Capital Variable and Integradora de Servicios Petroleros Oro Negro,
                                                                      Sociedad Anónima Promotora de Inversión de Capital Variable, and therefore
                                                                      shall cease to be applied.




                                                                            As set forth by the aforementioned collegial court, the above shall not imply
                                                                      modifying, nullifying, or cancelling the bond issuance agreement of January twenty-
                                                                      fourth, two thousand fourteen, but rather a suspension of its effects for the sole
                                                                      purpose of not aggravating the company’s situation – being the legal truth.




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                                                                   The corollary is that, in considering the aforementioned clause of the Issuance
                                                              Agreement (as provided for in Chapter V on the effects related to the Company’s
                                                              obligations, Section I General Rule and Early Maturity, Article 87 of the Commercial
                                                              Bankruptcies Act) as unopposed [sic; possible source typo: probably should be “no
                                                              puesta”, i.e., “disregarded”], the following are rendered invalid:




                                                                      1. The notification of breach of the bond agreement in question.


                                                                      2. The change of directors of Drilling, Primus, Laurus, Fortius, Decus, and
                                                                           Impetus.


                                                                      3. The transfer of shares representing the share capital of Drilling, owned by
                                                                           Integradora, in favor of Ond. Pte. Ltd.


                                                                      4. The revocation 26 and granting 27 of powers of attorney by reason of the new
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                                                                           appointment of directors of




                                                              26
                                                                As a result of the appointment of Roger Arnold Hancock and Roger Alan Bartlett as directors of DRILLING,
                                                              PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS, on October ninth, two thousand seventeen, they adopted
                                                              certain director resolutions approving, among other things, the cancellation of any and all authority and powers
                                                              of attorney previously granted by DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS and the
                                                              appointment of various individuals to act as legal representatives, attorneys in fact and attorneys of DRILLING,
                                                              PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS.

                                                              Further, on February fifth, two thousand eighteen, Roger Arnold Hancock and Roger Alan Bartlett, as directors
                                                              of DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS, decreed certain resolutions approving, among
                                                              other things, revocation of the powers of attorney previously granted by DRILLING, PRIMUS, LAURUS, FORTIUS,
                                                              DECUS and ÍMPETUS in favor of Alonso del Val Echeverría, Gonzalo Gil White, Jaime Rene Guerra González,
                                                              Patricio Fabián Hidalgo Estrada, Alfonso Peniche García, Román Salazar Castillo, Ernesto Luis Rodríguez León,
                                                              Octavio Ochoa Huerta, Raúl García Herrera, Sergio Cabanas Mier, Elias Mendoza Murguía and Jesús Ángel
                                                              Guerra Méndez. (“Second Revocation of Powers of Attorney”).
                                                              23
                                                                On October ninth, two thousand seventeen, Roger Alan Hancock, in his capacity as director of DRILLING,
                                                              PRIMUS, LAURUS, FORTIUS, DECUS, and ÍMPETUS, undertook the granting of powers of attorney in favor of
                                                              Messrs. Alejandro Sainz Orantes, Daniel Alejandro Díaz Álvarez, Manuel Ruiz de Chávez Gutiérrez de Velasco,
                                                              Ana Gabriela Avendaño Fernández, Luis Antonio Estrella Saavedra, Santiago Alessio Robles Seguí, Daniel Pardo
                                                              Fuentes, and Jesús Ángel Origel Zavala.

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                                                              FEDERAL JUDICIAL BRANCH


                                                                                        Drilling, Primus, Laurus, Fortius, Decus, and Impetus (Roger Arnold
                                                                                        Hancock and Roger Alan Berlett [sic]).


                                                                                  5. The letters of resignation of Alonso del Val Echeverría, Gonzalo Gil White,
                                                                                        Anita Chew Peck Hwa and Carlos Enrique Williamson Nasi from their
                                                                                        positions as directors of Drilling, Primus, Laurus, Fortius, Decus, and
                                                                                        Impetus.


                                                                                  6. Any actions carried out by reason or as a consequence of the above.




                                                                            In view of the above, pursuant to Articles 268 of the Commercial Corporations Act
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                                                                      and 1077 and 1355 of the Commercial Code, constituting supplemental materials to
                                                                      the law governing the matter, the following is




                                                                                                                         RESOLVED




                                                                            FIRST: The grievances are well founded as filed by Perforadora Oro Negro,
                                                                      Sociedad de Responsabilidad Limitada de Capital Variable and Integradora de
                                                                      Servicios Petroleros Oro Negro, Sociedad Anónima Promotora de Inversión de
                                                                      Capital Variable, through their legal representative Elías Mendoza Murguía.




                                                                            SECOND: In strict fulfillment of the decision handed down by the Eighth Collegial
                                                                      Civil Court of the




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                                                              First Circuit, in appeal for review R.C. 108/2020, the decision of October eleventh,
                                                              two thousand eighteen is revoked, for the purposes specified in Recital No. Five in
                                                              fine.




                                                                 THIRD. A copy of this resolution is to be remitted via internal email to the Eleventh
                                                              District Civil Court of Mexico City, pursuant to the protection decision handed down
                                                              by the Eighth Collegial Civil Court of the First Circuit, in appeal for review R.C.
                                                              108/2020, relative to indirect amparo protection judgment 270/2019 of the index of the
                                                              authority named first above.




                                                                 To be issued electronically to the companies Perforadora Oro Negro,
                                                              Sociedad de Responsabilidad Limitada de Capital Variable and Integradora de
                                                              Servicios Petroleros Oro Negro, Sociedad Anónima Promotora de Inversión de
                                                              Capital Variable; to Nordic Trustee As and to trustee [síndico] José Gerardo Badín
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                                                              Cherit, and by means of a list to Oro Negro Drilling, Pte. Ltd., Oro Negro Primus
                                                              Pte. Ltd., Oro Negro Laurus Pte. Ltd., Oro Negro Fortius Pte. Ltd., Oro Negro
                                                              Decus Pte. Ltd. and Oro Negro Impetus Pte. Ltd., as well as to the rest of the
                                                              parties, on the website of the Federal Judiciary Authority.




                                                                 Resolved and electronically signed by Benito Arnulfo Zurita Infante, Second
                                                              District Civil Court Judge of Mexico City, assisted by Ulises García Molina, the
                                                              secretary who so authorizes and attests.


                                                                 MICHAEL




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                                                              FEDERAL JUDICIAL BRANCH


                                                                      - Electronic signature -                                                   - Electronic signature -

                                                                      Benito Arnulfo Zurita Infante.                                             Ulises García Molina.
                                                                      District Judge.                                                            Court Secretary.




                                                                      ON THIS DATE THE SECRETARY SETS FORTH THAT WITH RESPECT TO THIS AGREEMENT,
                                                                      OFFICIAL LETTER 1011/2021-C WAS ISSUED TO THE ELEVENTH DISTRICT CIVIL COURT OF
                                                                      MEXICO CITY, TO WHICH I ATTEST.




                                                                      Recorded February 23, 2021.

                                                                      Publication in accordance with the law, notifying the parties of the above resolution.
                                                                      To which I attest.
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                                                                    [emblem]
                                                          FEDERAL JUDICIAL AUTHORITY



 ENCRYPTED EVIDENCE - TRANSACTION

 Signed Archive:
 6893983_0023000021664664775.p7m
 Certifying Authority:
 A.C. of the Tax Administration Department
 Signatory(ies): 2
                                                                                SIGNATORY

   Name:                    ULISES GARCIA MOLINA                                                                       Validity:          GOOD    Current

                                                                                SIGNATORY

   Series No.:              30.30.30.30.31.30.30.30.30.30.30.34.31.30.34.39.39.38.31.37                                Revocation:         Good   Not revoked

   Date:                    2/22/21 22:53:12 - 2/22/21 16:53:12                                                        Status:             Good   Valid
   (UTC/ CDMX)
   Algorithm:               RSA - SHA256


                            67 55 89 95 a1 7f fd 79 95 d1 89 22 f7 cc a3 95
                            96 70 57 a8 47 90 b9 34 30 b6 b5 53 08 ff 70 4e
                            bb 5d 62 17 ce af 10 46 6d d8 25 8d ce 1e 6c 71
                            01 ce 40 7f d3 5b 75 ac 36 9c eb aa d3 75 2c 48
                            ac c4 7e d0 29 e6 30 61 b9 60 4b df 01 f2 15 a4
                            b4 21 5f 6b db f3 55 f8 75 a9 95 c1 24 2a b4 67
                            7f 25 1d cb 39 d7 19 11 53 b6 fe 51 9c 45 71 3c
   Signature                3e e4 a0 ec 76 1c 51 2d ee dd b5 8a 51 30 59 be
                            0b 66 0b 9b 5d cd 59 be 5b 82 42 a7 8e a3 47 80 73 30 10
   chain:                   9e 7a 4a b6 fc 8b 1b e8 2b c6 05 d5 0e
                            c7 a9 9d 38 39 d5 f6 58 47 17 db 57 96 5a 48 89
                            02 b5 75 f2 62 29 f8 dc bf fa 9f 8c bc 38 cf 6f
                            61 39 24 95 51 83 5a 19 da dd 07 e6 9a 25 5a 24
                            05 1d a7 81 a3 5f 82 ee 39 de 28 3b cc 62 2d 05
                            f7 0f 97 fb 5b 45 c0 b3 f9 ef e4 42 cc ab 97 29
                            d0 4b 4c 0d 45 d3 88 aa 9b a4 01 ec 34 47 a5 9b

                                                                                 OCSP

   Date: (UTC / CDMX)                                2/22/21 22:53:23 - 2/22/21 16:53:23

   Name of responder:                                OCSP delegated service of the SAT AC

   Issuer of responder:                              A.C. of the Tax Administration Department

   Series No.:                                       30.30.30.30.31.30.38.38.38.38.38.38.30.30.30.30.30.30.32.32

                                                                                  TSP

   Date: (UTC / CDMX)                                                2/22/21 22:53:13 - 2/22/21 16:53:13

   Name of issuer of TSP response:                                   Time Stamp Issuing Authority of the Federal Judiciary Council

   Issuer of TSP certificate:                                        Intermediate Certifying Authority of the Federal Judiciary Council

   Identifier of the TSP response:                                   37974993

   Stamped data:                                                     KSJkQ9PZbenrt22Y/0bsccoSooo=
                                                              21-01091-scc                  Doc 1-1           Filed 03/09/21 Entered 03/09/21 08:22:12                                                    Exhibit A          Pg
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                                                                                                                                  [emblem]
                                                                                                                         FEDERAL JUDICIAL AUTHORITY




                                                                                                                                             SIGNATORY

                                                               Name:                   BENITO ARNULFO         ZURITA INFANTE                                                        Validity:          GOOD    Valid

                                                                                                                                             SIGNATORY

                                                               Series No.:             70.6a.66.20.63.6a.66.00.00.00.00.00.00.00.00.00.00.00.8c.dc                                  Revocation:         Good   Not revoked

                                                               Date:                   2/22/21 22:59:57 - 2/22/21 16:59:57                                                          Status:             Good   Valid
                                                               (UTC/ CDMX)
                                                               Algorithm:              RSA - SHA256


                                                                                      04 d6 9c 6c b0 ce a6 61 ea 56 b7 5c 36 1e 74 dd
                                                                                      3e 3c d9 ae 84 85 89 2b 66 47 e8 7e 09 63 b0 ac
                                                                                      7b 88 ec 4e e2 b7 19 d0 31 f6 7a 7c 2b 1b 67 9b
                                                                                      e9 a3 17 0c 25 72 0e 6f 82 cb b8 9a ce 97 d5 89
                                                                                      8b 52 c9 62 03 1e 86 a9 a7 fe 94 5a 1c cb 07 db
                                                                                      99 e0 9c da 2e ec 53 57 36 27 85 6b e8 c0 d1 0b
                                                                                      15 db ff 35 8c 75 33 13 ca f4 7f 25 cb 28 49 9c
                                                               Signature              28 28 1f 8f 6b ce 28 3f 2e 54 2e 81 dc 48 b8 61
                                                                                      ca bc cd af 16 64 a2 f4 8e f7 1b 0b 35 1b cc 17 ff b0 4c
                                                               chain:                 a8 2e 21 b7 84 03 31 63 4c e6 19 fa c9
                                                                                      f5 ae b3 9a 92 5d d8 c9 4b 1f 4d 0a a9 a2 d6 94
                                                                                      5b 6b 63 0b a9 72 49 cf bb 6b 57 07 28 14 aa e4
                                                                                      a8 42 0f 1f 23 19 2f f3 14 5c c6 ca ac 5a 1f 89
                                                                                      d2 5b 88 9c 7a 50 21 42 70 24 94 fb 03 d6 aa 19
                                                                                      6c 6f 13 2e 1e 64 7f a7 52 5f 1a 56 87 b3 c0 c2
                                                                                      82 01 68 da 3b 94 25 91 1e c4 f7 23 36 37 71 91

                                                                                                                                                 OCSP
24/04/22 09:00:45
30.30.30.30.31.30.30.30.30.30.30.34.31.30.34.39.39.38.31.37
ULISES GARCIA MOLINA




                                                               Date: (UTC / CDMX)                               2/22/21 22:59:57 - 2/22/21 16:59:57

                                                               Name of responder:                               OCSP delegated service of the SAT AC

                                                               Issuer of responder:                             A.C. of the Tax Administration Department

                                                               Series number:                                   70.6a.66.20.63.6a.66.00.00.00.00.00.00.00.00.00.00.00.00.02

                                                                                                                                                 TSP

                                                               Date: (UTC / CDMX)                                                 2/22/21 22:59:57 - 2/22/21 16:59:57

                                                               Name of issuer of TSP response:                                    Time Stamp Issuing Authority of the Federal Judiciary Council

                                                               Issuer of TSP certificate:                                         Intermediate Certifying Authority of the Federal Judiciary Council

                                                               Identifier of the TSP response:                                    37976766

                                                               Stamped data:                                                      tF5DhkENZLIrJyW/1kyRuvRUNLw=
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                            Portal de Servicios en Línea
                              del Poder Judicial de la
                                     Federación

           Acuse de Generación de
                 Notificación
     Órgano           Juzgado Segundo de Distrito en Materia Civil en la
     Jurisdiccional:Ciudad de México
     Tipo de
                      Procesos civiles o administrativos
     asunto:
     Número de
                      345/2017
     expediente:
     Cuaderno:        Procesos civiles o administrativos
     Parte            Perforadora Oro Negro, Sociedad de Responsabilidad
     notificada:      Limitada de Capital Variable
     Notificación
     realizada por:
                      Vistos los autos del concurso mercantil 345/2017-I,
                      promovido por Perforadora Oro Negro, Sociedad de
                      Responsabilidad Limitada de Capital Variable, e
                      Integradora de Servicios Petroleros Oro Negro, Sociedad
     Síntesis del Anónima Promotora de Inversión de Capital Variable,
     acuerdo:         para resolver el recurso de revocación interpuesto por las
                      citadas comerciantes, contra el proveído de once de
                      octubre de dos mil dieciocho, en cumplimiento a lo
                      determinado por el Octavo Tribunal Colegiado en Materia
                      Civil del Primer Circuito...
     Fecha del
                      22/02/2021
     acuerdo:
     Fecha de
     publicación      23/02/2021
     del acuerdo:
     Fecha en que
     se tiene por
                      23/02/2021
     realizada la
     notificación:
     Hora de
                      11:06
     notificación:
     La notificación realizada el 23/02/2021 a las 11:06 ha surtido efectos al
     haber transcurrido el plazo previsto en la fracción II del artículo 30 de la
     Ley de Amparo.
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                                                                                                                        Concurso Mercantil 345/2017-I
                                                                                                                                             Recurso de revocación
                                                                             Dictado en cumplimiento a la ejecutoria pronunciada en el juicio de amparo indirecto
                                                                             270/2019 del índice del Juzgado Décimo Primero de Distrito en Materia Civil en la Ciudad de
                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.




                                                                                       Ciudad de México, a veintidós de febrero de dos mil
                                                                             veintiuno.



                                                                                       Vistos los autos del concurso mercantil 345/2017-I,
                                                                             promovido por Perforadora Oro Negro, Sociedad de
                                                                             Responsabilidad                  Limitada       de      Capital        Variable,         e
                                                                             Integradora de Servicios Petroleros Oro Negro, Sociedad
                                                                             Anónima Promotora de Inversión de Capital Variable,
                                                                             para resolver el recurso de revocación interpuesto por las
                                                                             citadas comerciantes, contra el proveído de once de octubre
                                                                             de dos mil dieciocho, en cumplimiento a lo determinado por
                                                                             el Octavo Tribunal Colegiado en Materia Civil del Primer
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                                                                             Circuito, en el recurso de revisión R.C. 108/2020; y,




                                                                                                                RESULTANDO




                                                                                       PRIMERO. Interposición de recurso. Mediante escrito
                                                                             presentado el diecinueve de octubre de dos mil dieciocho,1
                                                                             Perforadora Oro Negro, Sociedad de Responsabilidad
                                                                             Limitada de Capital Variable, e Integradora de Servicios
                                                                             Petroleros Oro Negro, Sociedad Anónima Promotora de
                                                                             Inversión de Capital Variable, por conducto de su
                                                                             apoderado Elías Mendoza Murguía, interpusieron recurso de
                                                                             revocación contra el proveído de once de octubre del año que
                                                                             transcurre, del contenido siguiente:




                                                                             1   Tomo X, fojas 1021 a 1074.

                                                                                                                                                                      1
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                                                                         “Ciudad de México, once de octubre de dos mil
                                                                   dieciocho.

                                                                        Glósese a los autos el escrito con registro 18866,
                                                                   signado por Jesús Ángel Guerra Méndez, apoderado de
                                                                   Perforadora Oro Negro, Sociedad de Responsabilidad
                                                                   Limitada de Capital Variable, e Integradora de
                                                                   Servicios Petroleros de Oro Negro, Sociedad Anónima
                                                                   Promotora de Inversión de Capital Variable.

                                                                         Con el escrito de cuenta las concursas solicitan que
                                                                   toda vez que el once de septiembre de dos mil
                                                                   dieciocho se emitió la sentencia de concurso
                                                                   mercantil, y que de conformidad con el artículo 1 de la ley
                                                                   concursal, es de interés público conservar la empresa de
                                                                   las concursadas, evitando se ponga en riesgo su
                                                                   viabilidad, con fundamento en el artículo 87 de la Ley de
                                                                   Concursos Mercantiles, se tenga por no puesta la
                                                                   cláusula 15.1 (g) (i) del contrato de bonos (acuerdo de
                                                                   emisión) de veinticuatro de enero de dos mil catorce,
                                                                   modificado y reexpresado, el veintinueve de abril, dos de
                                                                   junio, veintinueve de septiembre y nueve de noviembre,
                                                                   todos de dos mil dieciséis, celebrado por Oro Negro
                                                                   Drilling, Pte. Ltd. (sociedad creada bajo las leyes de la
                                                                   República de Singapur), como emisora de bonos, y Nordic
                                                                   Trustee As, antes Nordic Trustee ASA (sociedad creada
                                                                   bajo las leyes de Noruega), como fiduciaria de los bonos
                                                                   en representación de los tenedores de bonos, del texto
                                                                   siguiente:
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ULISES GARCIA MOLINA




                                                                          “15. Casos de incumplimiento.
                                                                          15.1. El fiduciario de los bonos puede declarar que
                                                                   los bonos son morosos después de que ocurre cualquiera
                                                                   de los siguientes casos, en cada caso únicamente en la
                                                                   medida en que dichos casos ocurran después de la fecha
                                                                   del presente documento:
                                                                          (…)
                                                                          (g) Procedimientos de insolvencia y disolución.
                                                                          Si se presenta cualquier acción corporativa,
                                                                   procedimiento legal u otra fase del procedimiento para
                                                                   cualquiera entre el emisor, la matriz, el fletador o cualquier
                                                                   propietario de la plataforma en relación con:
                                                                          (i)     La suspensión de pagos, la moratoria de
                                                                   cualquier endeudamiento, la liquidación, la disolución, la
                                                                   administración o la reorganización (por medio del acuerdo
                                                                   voluntario, la liquidación provisional, la administración
                                                                   legal, el esquema de acuerdo o de otra manera) distinta a
                                                                   la liquidación por insolvencia o la reorganización;
                                                                          (…)”

                                                                          Sostienen, que dicha cláusula agrava la situación de
                                                                   las comerciantes, ya que permite a Nordic Trustee As,
                                                                   antes Nordic Trustee ASA (fiduciaria de los bonos y
                                                                   representante común), con la sola presentación de la
                                                                   solicitud de concurso mercantil de Perforadora Oro
                                                                   Negro, Sociedad de Responsabilidad Limitada de
                                                                   Capital Variable, (fletadora), e Integradora de Servicios
                                                                   Petroleros de Oro Negro, Sociedad Anónima
                                                                   Promotora de Inversión de Capital Variable (matriz),
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                                                                                                                        Concurso Mercantil 345/2017-I
                                                                                                                                             Recurso de revocación
                                                                             Dictado en cumplimiento a la ejecutoria pronunciada en el juicio de amparo indirecto
                                                                             270/2019 del índice del Juzgado Décimo Primero de Distrito en Materia Civil en la Ciudad de
                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.



                                                                                     declare un evento de incumplimiento del contrato de
                                                                                     bonos, y con ello acelera los bonos y ejecuta las garantías
                                                                                     otorgadas, lo que en un procedimiento concursal afecta la
                                                                                     distribución de recursos conforme al contrato de
                                                                                     fideicomiso irrevocable de administración y fuente de pago
                                                                                     F/1695.

                                                                                          Que dicha afectación se materializó ya que Nordic
                                                                                     Trustee As, antes Nordic Trustee ASA, ejecutó la
                                                                                     menciona cláusula, generándose los siguientes actos:

                                                                                            1.     Mediante correo electrónico enviado el
                                                                                     veinticinco de septiembre de dos mil diecisiete por Olav
                                                                                     Slasgvvold, por parte de la fiduciaria de los bonos, informó
                                                                                     al apoderado de las concursadas y de Drilling, Pte. Ltd.,
                                                                                     Oro Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte.
                                                                                     Ltd., Oro Negro Fortius, Pte. LTD., Oro Negro Decus,
                                                                                     Pte. Ltd., y Oro Negro Impetus, Pte. Ltd., la denominada
                                                                                     “notificación de incumplimiento”, con motivo de la
                                                                                     presentación de la solicitud concursal presentada por la
                                                                                     fletadora.

                                                                                          2.     Notificó el incumplimiento y ejecución del
                                                                                     “gravamen” del contrato de bonos, por lo que procedió a
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ULISES GARCIA MOLINA




                                                                                     nombrar a Roger Alan Bartlett y Roger Arnold Hanock,
                                                                                     como nuevos directores de Drilling, Pte. Ltd., Oro Negro
                                                                                     Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd., Oro
                                                                                     Negro Fortius, Pte. LTD., Oro Negro Decus, Pte. Ltd., y
                                                                                     Oro Negro Impetus, Pte. Ltd., removiendo de dicho cargo
                                                                                     a Alonso del Val Echeverría, Gonzalo Gil White, Anita
                                                                                     Chew Peck Hwa y Carlos Enrique Williamson Nasi.

                                                                                            3.      El cinco de octubre de dos mil diecisiete,
                                                                                     notificó la transmisión de las acciones representativas de
                                                                                     capital social de Drilling, Pte. Ltd., (a la firma del contrato
                                                                                     de bonos, parte del grupo social de las comerciantes, ya
                                                                                     que era una sociedad controlada por Integradora), a la
                                                                                     diversa     moral     OND,      Pte.     Ltd.    (nacionalidad
                                                                                     singapurenses), derivado de la ejecución del gravamen
                                                                                     Drilling.

                                                                                          4.     Notificó a Deutsche Bank México,
                                                                                     Sociedad Anónima, Institución de Banca Múltiple,
                                                                                     División Fiduciaria, en su carácter de fiduciaria del
                                                                                     contrato de fideicomiso irrevocable de administración y
                                                                                     fuente de pago identificado con el número F/1695, que del
                                                                                     acuerdo de emisión había derivado un evento de
                                                                                     incumplimiento.

                                                                                          5.      El nueve de octubre de dos mil diecisiete, los
                                                                                     nuevos directores adoptaron entre otras resoluciones,
                                                                                     revocar los poderes previamente otorgados y designaron
                                                                                     como nuevos representantes y apoderados de Drilling,
                                                                                     Pte. Ltd., Oro Negro Primus, Pte. Ltd., Oro Negro

                                                                                                                                                                      3
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                                                                   Laurus, Pte. Ltd., Oro Negro Fortius, Pte. LTD., Oro
                                                                   Negro Decus, Pte. Ltd., y Oro Negro Impetus, Pte. Ltd.,
                                                                   a Alejandro Sainz Orantes, Daniel Alejandro Díaz Álvarez,
                                                                   Manuel Ruiz De Chávez Gutiérrez De Velasco, Ana
                                                                   Gabriela Avendaño Fernández, Luis Antonio Estrella
                                                                   Saavedra, Santiago Alessio Robles Seguí, Daniel Pardo
                                                                   Fuentes y Jesús Ángel Origel Zavala.

                                                                        6.      Manuel Ruiz De Chávez Gutiérrez De
                                                                   Velasco, como apoderado de Drilling, Pte. Ltd., Oro
                                                                   Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd.,
                                                                   Oro Negro Fortius, Pte. LTD., Oro Negro Decus, Pte.
                                                                   Ltd., y Oro Negro Impetus, Pte. Ltd., presentó
                                                                   desistimiento de la solicitud concursal radicada en el
                                                                   expediente 395/2017-I, del índice de este juzgado.

                                                                         7.      El cinco de febrero de dos mil dieciocho, por
                                                                   segunda ocasión, Roger Alan Bartlett y Roger Arnold
                                                                   Hanock, como nuevos directores de Drilling, Pte. Ltd.,
                                                                   Oro Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte.
                                                                   Ltd., Oro Negro Fortius, Pte. LTD., Oro Negro Decus,
                                                                   Pte. Ltd., y Oro Negro Impetus, Pte. Ltd., revocaron los
                                                                   poderes de Alonso del Val Echeverría, Gonzalo Gil White,
                                                                   Jaime René Guerra González, Patricio Fabián Hidalgo
                                                                   estrada, alfondo Peniche García, Román Salazar Castillo,
                                                                   Ernesto Luis Rodríguez León, Octavio Ochoa Huerta, Raúl
                                                                   García Herrera, Sergio Cabañas Mier, Elías Mendoza
                                                                   Murguia y Jesús Ángel Guerra Méndez.
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                                                                         Por lo que afirma, la ejecución de la cláusula agravó
                                                                   los términos del contrato para las comerciantes, ya que
                                                                   generó que en el extranjero la tenedora de los bonos
                                                                   ejecutara la garantía del contrato de bonos sobre las
                                                                   acciones de Drilling, Pte. Ltd., pues anterior a la solicitud
                                                                   concursal era controlada por Integradora de Servicios
                                                                   Petroleros de Oro Negro, Sociedad Anónima
                                                                   Promotora de Inversión de Capital Variable, generando
                                                                   saliera del grupo societario de las comerciante, para ser
                                                                   controlada por la moral singapurenses OND, Pte. Ltd, y en
                                                                   consecuencia las subsidiarias Oro Negro Primus, Pte.
                                                                   Ltd., Oro Negro Laurus, Pte. Ltd., Oro Negro Fortius,
                                                                   Pte. LTD., Oro Negro Decus, Pte. Ltd., y Oro Negro
                                                                   Impetus, Pte. Ltd., dejaron de ser controladas
                                                                   indirectamente por Integradora; lo cual, generó la
                                                                   destrucción de los vínculos corporativos y patrimoniales
                                                                   que dotan de viabilidad las operaciones de las
                                                                   concursadas.

                                                                         A efecto de tener una mejor claridad del problema
                                                                   jurídico plateado, se hace conveniente reiterar que al
                                                                   celebrarse el contrato de bonos, se reconoció que la
                                                                   estructura financiera de las comerciantes, iniciaba con
                                                                   Integradora de Servicios Petroleros Oro Negro,
                                                                   Sociedad Anónima Promotora de Inversión de Capital
                                                                   Variable, como controladora de Perforadora Oro Negro,
                                                                   Sociedad de Responsabilidad Limitada de Capital
                                                                   Variable, y de Oro Negro Drilling, Pte. Ltd.
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                                                                                                                        Concurso Mercantil 345/2017-I
                                                                                                                                             Recurso de revocación
                                                                             Dictado en cumplimiento a la ejecutoria pronunciada en el juicio de amparo indirecto
                                                                             270/2019 del índice del Juzgado Décimo Primero de Distrito en Materia Civil en la Ciudad de
                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.



                                                                                            Que a través del contrato de bonos, Oro Negro
                                                                                     Drilling Pte. Ltd, obtuvo un préstamo de Nordic Trustee
                                                                                     As, antes Nordic Trustee ASA, con el que la primeramente
                                                                                     citada como controladora de Oro Negro Primus Pte. Ltd.,
                                                                                     Oro Negro Laurus Pte. Ltd., Oro Negro Fortius., Pte.
                                                                                     Ltd, Oro Negro Impetus Pte. Ltd., y Oro Negro Decus
                                                                                     Pte. Ltd., adquirió cinco plataformas.

                                                                                            Ocurrido lo anterior, Perforadora Oro Negro,
                                                                                     Sociedad de Responsabilidad Limitada de Capital
                                                                                     Variable, celebró con Oro Negro Primus Pte. Ltd., Oro
                                                                                     Negro Laurus Pte. Ltd., Oro Negro Fortius., Pte. Ltd,
                                                                                     Oro Negro Impetus Pte. Ltd., y Oro Negro Decus Pte.
                                                                                     Ltd., los contratos de fletamento a casco desnudo, por
                                                                                     los cuales otorgó el uso y goce de las plataformas marinas
                                                                                     Primus, Laurus, Fortius, Decus e Impetus, a cambio del
                                                                                     pago de una contraprestación fija.

                                                                                           Obtenida la posesión de las plataformas, la
                                                                                     comerciante celebró con Pemex Perforación y Servicios,
                                                                                     los contratos de arrendamiento de las plataformas, cuya
                                                                                     relevancia radica en el precio fijo o dentro de cierto
                                                                                     parámetro y la vigencia determinada.
24/04/22 09:00:45
30.30.30.30.31.30.30.30.30.30.30.34.31.30.34.39.39.38.31.37
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                                                                                            Fue así que Pemex Perforación y Servicios, se
                                                                                     obligó a pagar las contraprestaciones por el arrendamiento
                                                                                     de las plataformas, vía fideicomiso F/1695, en que se
                                                                                     concentran los recursos, para que con posterioridad se
                                                                                     realice la distribución en diversas partidas.

                                                                                            Entre las partidas en que se distribuye el patrimonio
                                                                                     fideicomitido se encuentra la destinada al pago de la
                                                                                     operación ordinaria de la comerciante (tripulación,
                                                                                     mantenimiento de las plataformas, personal administrativo,
                                                                                     entre otros) y las contraprestaciones a favor de las
                                                                                     propietarias de las plataformas derivadas de los contratos
                                                                                     de fletamento, que sirve para su operación ordinaria
                                                                                     (activos de los contratos) y para transferirlo a Oro Negro
                                                                                     Drilling Pte. Ltd., para pagar la deuda adquirida a través
                                                                                     de la emisión de bonos.

                                                                                           Así, para estar en posibilidad de tomar una
                                                                                     determinación en relación a la petición de la comerciante,
                                                                                     también se considera conveniente, partir del interés
                                                                                     público y empresa, como conceptos contenidos en el
                                                                                     artículo 1 de la Ley de Concursos Mercantiles, del tenor
                                                                                     siguiente:

                                                                                           “Artículo 1. La presente Ley es de interés público y
                                                                                     tiene por objeto regular el concurso mercantil.

                                                                                          Es de interés público conservar las empresas y evitar
                                                                                     que el incumplimiento generalizado de las obligaciones de
                                                                                     pago ponga en riesgo la viabilidad de las mismas y de las

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                                                                   demás con las que mantenga una relación de negocios.
                                                                   Con el fin de garantizar una adecuada protección a los
                                                                   acreedores frente al detrimento del patrimonio de las
                                                                   empresas en concurso, el juez y los demás sujetos del
                                                                   proceso regulado en esta Ley deberán regir sus
                                                                   actuaciones, en todo momento, bajo los principios de
                                                                   trascendencia, economía procesal, celeridad, publicidad y
                                                                   buena fe.”

                                                                        En efecto, dicha disposición legal establece que el
                                                                   concurso mercantil es de “interés público”, concepto que si
                                                                   bien es indeterminado, ha sido definido como la máxima
                                                                   expresión     del    interés     social,     como     bien
                                                                   constitucionalmente protegido y garantía tanto de las
                                                                   personas y autoridades para ejercer razonablemente
                                                                   sus derechos dentro del Estado, cuyo fin es la armonía
                                                                   social en cuanto al legítimo ejercicio de los derechos,
                                                                   deberes, libertades y poderes con los que cuenta los
                                                                   gobernados, dentro del Estado.

                                                                       Apoya lo anterior, la tesis I.4o.A.11 K (10a.), en la
                                                                   cual el Cuarto Tribunal Colegiado en Materia
                                                                   Administrativa del Primer Circuito sostuvo:

                                                                         “SUSPENSIÓN. NOCIÓN DE ORDEN PÚBLICO Y
                                                                   SU FINALIDAD. El artículo 124 de la Ley de Amparo
                                                                   contiene los requisitos que deben satisfacerse a efecto de
                                                                   que pueda decretarse la suspensión del acto reclamado,
                                                                   entre los que se encuentra, que no se siga perjuicio al
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                                                                   interés social ni se contravengan disposiciones de orden
                                                                   público. Por su parte, la Suprema Corte de Justicia de la
                                                                   Nación ha sostenido en diversos criterios que existe
                                                                   afectación a tales instituciones cuando con la concesión
                                                                   de esta medida se prive a la colectividad de un beneficio
                                                                   que le otorguen las leyes o se le infiera un daño que de
                                                                   otra manera no resentiría. De lo anterior puede afirmarse
                                                                   que el orden público constituye la máxima expresión del
                                                                   interés social, como bien constitucionalmente protegido, y
                                                                   una garantía de la sociedad para que las personas y
                                                                   autoridades ejerzan razonablemente sus derechos dentro
                                                                   del Estado, y no sólo consiste en el mantenimiento de la
                                                                   tranquilidad y bienestar colectivo, sino también conlleva la
                                                                   armonía social en cuanto al legítimo ejercicio de los
                                                                   derechos, deberes, libertades y poderes dentro del
                                                                   Estado; esto es, la coexistencia pacífica entre el poder y la
                                                                   libertad. Su finalidad principal es la libertad de los
                                                                   gobernados y asegurar la eficacia de sus derechos, siendo
                                                                   uno de los valores fundamentales que la Constitución
                                                                   Política de los Estados Unidos Mexicanos protege y debe
                                                                   ser privilegiado, en la inteligencia de que la libertad implica
                                                                   coordinación, responsabilidad, facultad de obrar con
                                                                   conciencia y acorde con las finalidades legítimas y no de
                                                                   desorden o que únicamente atiendan a intereses de la
                                                                   administración, considerados en abstracto. Objetivo que
                                                                   es acorde con la reforma a la fracción X del artículo 107 de
                                                                   la Constitución Política de los Estados Unidos Mexicanos,
                                                                   al disponer que en los casos concretos debe ponderarse la
                                                                   afectación real y su magnitud que incida en la sociedad
                                                                   frente al efectivo agravio que resientan intereses privados,
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                                                                                     especialmente cuando está de por medio y en entredicho
                                                                                     la legitimidad del actuar de la autoridad o apariencia del
                                                                                     buen derecho; por lo que con la eventual concesión de la
                                                                                     medida cautelar debe asegurarse el respeto al orden
                                                                                     público, haciendo un ejercicio razonable del derecho,
                                                                                     evitando un menoscabo grave al quejoso, y a los derechos
                                                                                     de otras personas que, de no ser por la limitación,
                                                                                     resultarían deteriorados o disminuidos, subsistiendo con
                                                                                     ello el equilibrio que debe imperar entre el legítimo y
                                                                                     armónico ejercicio de los derechos, deberes, libertades y
                                                                                     poderes del Estado en relación con la libertad de las
                                                                                     personas, y del cual existe interés de la colectividad en
                                                                                     que se mantenga.”2

                                                                                           También es orientador, lo contenido en la tesis
                                                                                     aislada I.3o.C.926 C, en la cual el Tercer Tribunal
                                                                                     Colegiado en Materia Civil del Primer Circuito consideró:

                                                                                            “ORDEN PÚBLICO. SU NOCIÓN Y CONTENIDO
                                                                                     EN LA MATERIA CIVIL. El campo civil como espacio en
                                                                                     el que confluye y se regula la actividad privada de los
                                                                                     particulares no es ajena a esa noción que constituye su
                                                                                     límite a través de la norma, como la garantía de que no
                                                                                     será obstaculizada esa actividad delimitada por la propia
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                                                                                     ley. Así se desprende del artículo 6o. del Código Civil para
                                                                                     el Distrito Federal cuando dispone que la voluntad de los
                                                                                     particulares no puede eximir de la observancia de la ley, ni
                                                                                     alterarla o modificarla, conforme a lo cual se le reconoce a
                                                                                     la ley su carácter primario de fuente del derecho y como
                                                                                     rectora del orden social, sobre la base inclusive de que,
                                                                                     sólo pueden renunciarse los derechos privados que no
                                                                                     afecten directamente al interés público, cuando la renuncia
                                                                                     no perjudique derechos de tercero. Más aún, el mismo
                                                                                     ordenamiento destaca como norma de resolución de
                                                                                     conflictos, la fracción II del artículo 15 del mismo
                                                                                     ordenamiento al indicar que no podrá aplicarse el derecho
                                                                                     extranjero cuando las disposiciones de éste o el resultado
                                                                                     de su aplicación sean contrarias a principios o
                                                                                     instituciones fundamentales del orden público mexicano.
                                                                                     La idea de autonomía individual viene determinada por
                                                                                     dos dimensiones; la primera de ellas que atiende a la
                                                                                     noción de interés público que se traduce en la existencia
                                                                                     de leyes imperativas que, por su naturaleza, no pueden
                                                                                     ser derogadas por los particulares porque defienden el
                                                                                     interés de éstos así como del Estado y, la segunda, que se
                                                                                     traduce en un mecanismo jurídico de aplicación
                                                                                     jurisdiccional que se interesa por velar por el interés
                                                                                     general limitando cualquier actividad privada que atente
                                                                                     contra el mismo. De ese modo, puede diferenciarse a la
                                                                                     norma imperativa de la norma de orden público, ya que


                                                                             2Localizable en el Semanario Judicial de la Federación y su Gaceta, Libro XV, Diciembre de
                                                                             2012, Tomo 2, Décima Época, registro: 2002421, materia común, página: 1575.

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                                                                       mientras esta última siempre es imperativa, no toda norma
                                                                       imperativa es de orden público.”3

                                                                             Por tanto, el procedimiento concursal pretende el
                                                                       orden en el proceso de restructura de la empresa, para
                                                                       que pueda continuar operando y con ello se mantengan
                                                                       las fuentes de empleo y factores de producción, situación
                                                                       de la cual nace el orden público, a fin de que se reduzca
                                                                       en lo posible los efectos sobre la sociedad.

                                                                            Es así que, el procedimiento concursal busca
                                                                       conservar la empresa, y que con ello se afecte lo menos
                                                                       posible las relaciones jurídicas que el comerciante entabló
                                                                       antes del incumplimiento.

                                                                             La legislación concursal mexicana se enfoca a
                                                                       mantener el valor económico y que los bienes no sean
                                                                       objeto de ejecución particular, en perjuicio de la
                                                                       distribución ordenada de los recursos de la comerciante,
                                                                       para el pago de obligaciones frente a los acreedores,
                                                                       según el orden de prelación.

                                                                             En relación al concepto de empresa, aquel no está
                                                                       definido en la ley concursal, pero se desprende de la
                                                                       exposición de motivos de la Ley de Concursos Mercantiles
                                                                       publicada en el Diario Oficial de la Federación el doce de
                                                                       mayo de dos mil, en donde se consideró lo siguiente:

                                                                            “(…)La empresa, considerada como la organización
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                                                                       de trabajo, bienes materiales e intangibles destinados a
                                                                       producir u ofrecer profesionalmente bienes y servicios al
                                                                       mercado, con fines lucrativos, puede tener éxito o bien
                                                                       encontrarse en serias dificultades que amenacen su
                                                                       supervivencia (…)”

                                                                            Lo anterior se corrobora con el concepto obtenido del
                                                                       Gran Diccionario Jurídico de los Grandes Juristas de su
                                                                       recopilador Javier G. Canales Méndez (fojas 534 y 535),
                                                                       en el que se conceptualiza a la empresa de la siguiente
                                                                       manera;

                                                                             “Es una entidad de actividades humanas
                                                                       coordinadas, para la realización de un fin económico y
                                                                       social, la que se compone de empresarios, que aportan el
                                                                       capital de trabajadores que aportan su fuerza de trabajo y
                                                                       que es regida por las normas aplicables a su naturaleza, lo
                                                                       que generalmente produce bienes y servicios para
                                                                       satisfacer, mediante una ganancia, la demanda y
                                                                       necesidad de la sociedad”

                                                                             De igual manera del proceso legislativo del que
                                                                       derivó la Ley de Concursos Mercantiles, se advierte que el
                                                                       legislador no fue ajeno a las relaciones transfronterizas
                                                                       entre entidades de diversos estados, ya que reconoció las
                                                                       modificaciones y la evolución del ambiente de negocios y
                                                                       la    complejidad   de    las   relaciones   comerciales

                                                              3 Visible en el Semanario Judicial de la Federación y su Gaceta, registro: 162333, novena
                                                              época, tomo XXXIII, Abril de 2011, materia civil, página 1350.
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                                                                                     contemporáneas y los factores de carácter internacional
                                                                                     que influyen en la economía nacional, ya que
                                                                                     específicamente consideró:

                                                                                           “Las condiciones sociales y económicas que
                                                                                     prevalecían en México en la década de los años cuarenta
                                                                                     se han transformado radicalmente. Nuestra población se
                                                                                     ha multiplicado en cinco veces el producto interno bruto ha
                                                                                     crecido en más de quince veces la participación de los
                                                                                     sectores industrial y de servicios se ha incrementado
                                                                                     significativamente y la del sector primario se ha reducido.
                                                                                     El crecimiento demográfico y la marcha del campo hacia la
                                                                                     ciudad han sido de gran magnitud Los avances en las
                                                                                     telecomunicaciones y los medios de transporte se han
                                                                                     dado a pasos agigantados, en ese entonces
                                                                                     inimaginables.

                                                                                           La forma de hacer negocios también es distinta.
                                                                                     Anteriormente la mayoría de las empresas comerciales
                                                                                     eran unipersonales o familiares y relativamente fáciles de
                                                                                     administrar. Hoy en día las relaciones comerciales son
                                                                                     más complejas y sujetas a un mayor número de factores,
                                                                                     algunos de carácter internacional que afectan la vida
                                                                                     económica de las naciones individualmente consideradas -
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                                                                                     aunque de distinta forma y grado -, y otros que son propios
                                                                                     de las realidades nacionales; que inciden sobre la marcha
                                                                                     de la empresa. Los ciclos de los productos se han hecho
                                                                                     más cortos, y las empresas están expuestas a cambios
                                                                                     más frecuentes. y en ocasiones más pronunciados, en las
                                                                                     condiciones de los mercados financieros. Todo ello obliga
                                                                                     a las empresas a transformarse más rápidamente.

                                                                                           La economía, de ser típicamente regional fue
                                                                                     integrándose hacia una economía nacional, hasta entrar
                                                                                     en una etapa de inserción en la economía mundial.
                                                                                     Paralelamente, los mercados de dinero y bursátil, que
                                                                                     hace medio siglo eran prácticamente inexistentes. han
                                                                                     adquirido una gran preponderancia como medio de
                                                                                     financiamiento del desarrollo. Nuestro país se ha integrado
                                                                                     a la economía mundial en respuesta a los beneficios que
                                                                                     ofrece el proceso de globalización, no sólo en lo que se
                                                                                     refiere al intercambio de bienes y servicios con el exterior,
                                                                                     sino que también se ha integrado a los crecientes flujos
                                                                                     financieros y de inversión.

                                                                                          Las cadenas productivas se integran vertical y
                                                                                     horizontalmente,     nacional     e    internacionalmente,
                                                                                     tecnológica y sectorialmente. La mayor competitividad
                                                                                     obliga a unas empresas a responder ágilmente a los
                                                                                     nuevos nichos de mercado y a abandonar aquéllos donde
                                                                                     se dejan de tener ventajas competitivas. A medida que la
                                                                                     sociedad se moderniza, aumenta el número de empresas,
                                                                                     y de la misma manera los factores que hacer variar su
                                                                                     competitividad, rentabilidad y permanencia en el mercado.

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                                                                        (…)”

                                                                       Por su parte, los artículos 86 y 87 de la Ley de
                                                                   Concursos Mercantiles, disponen lo siguiente:

                                                                        “Artículo 86. Con las excepciones que señala esta
                                                                   Ley continuarán aplicándose las disposiciones sobre
                                                                   obligaciones y contratos, así como las estipulaciones de
                                                                   las partes.

                                                                        Artículo 87. Se tendrá por no puesta, salvo las
                                                                   excepciones expresamente establecidas en esta Ley,
                                                                   cualquier estipulación contractual que con motivo de la
                                                                   presentación de una solicitud o demanda de concurso
                                                                   mercantil, o de su declaración, establezca modificaciones
                                                                   que agraven para el Comerciante los términos de los
                                                                   contratos.”

                                                                        De la interpretación sistemática de las anteriores
                                                                   disposiciones, se tiene que derivado de la sentencia de
                                                                   concurso mercantil siguen aplicándose las disposiciones
                                                                   sobre las obligaciones y contratos, así como las
                                                                   estipulaciones de las partes, salvo aquellas que con
                                                                   motivo de la presentación de la solicitud concursal o su
                                                                   declaración establezcan modificaciones que agraven los
                                                                   términos del contrato para la comerciante.

                                                                         Es así que, por disposición de la ley, una cláusula
                                                                   que agrava la situación de la comerciante, por la sola
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                                                                   presentación de la solicitud concursal o declaración, no
                                                                   producirá efecto legal alguno, tornándose inexistente
                                                                   dentro del sistema jurídico mexicano.

                                                                          Ello en atención a que la ley concursal reconoce
                                                                   como objetivo central del procedimiento la maximización
                                                                   del valor de la empresa en problemas económicos y
                                                                   financieros, cuya intención es preservarla, protegiendo las
                                                                   fuentes de empleo y reduciendo los efectos negativos en
                                                                   la sociedad que produce el cierre de una empresa.

                                                                          También dicha sanción atiende a que el pacto
                                                                   contractual en esos términos, se torna antagónico al
                                                                   interés público de la ley concursal, consistente en la
                                                                   conservación de la empresa y se busca evitar que la
                                                                   comerciante en problemas sea objeto de ejecución
                                                                   particular, y pueda estar en aptitud de llevar a cabo un
                                                                   procedimiento de liquidación judicial que permita mayor
                                                                   valor en la enajenación, procurando un equilibrio entre la
                                                                   comerciante y sus acreedores.

                                                                          Es así que, se tendrá por no puesto el pacto entre
                                                                   particulares, esto es no generara consecuencia jurídica
                                                                   alguna y de haber ocurrido, éstos se retrotraerán al
                                                                   momento en que se declare judicialmente por no puesta,
                                                                   con lo que se destruyen los actos de que se trate.

                                                                         Al margen de lo expuesto, se hace necesario
                                                                   determinar si la ejecución de una cláusula de un contrato
                                                                   sometido a una legislación extranjera, puede ser declarada
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                                                                                     por no puesta, en términos del artículo 87 de la Ley de
                                                                                     Concursos Mercantiles.

                                                                                           Lo anterior toda vez que, en ejercicio de la
                                                                                     autonomía de su voluntad y libertad contractual, las partes
                                                                                     que celebraron el contrato de bonos que contiene la
                                                                                     cláusula que las concursadas pretenden se tenga por no
                                                                                     puesta, en relación a la legislación aplicable y el tribunal
                                                                                     competente para resolver cualquier controversia, se
                                                                                     sometieron a la legislación y tribunales Noruegos, como se
                                                                                     aprecia de la cláusula 19.7 denominada “Resolución de
                                                                                     conflictos y jurisdicción legal”, del tenor siguiente:

                                                                                           “19.7 Resolución de conflictos y jurisdicción legal
                                                                                           19.7.1 El presente Contrato de Bonos y todos los
                                                                                     conflictos que surjan de o en relación con el presente
                                                                                     Contrato de Bonos entre el Fiduciario de los Bonos, lo
                                                                                     Tenedores de Bonos y cualquier Obligado estarán regidos
                                                                                     por la Ley de Noruega.
                                                                                           19.7.2 Todos los conflictos que surjan de o en
                                                                                     relación con el presente Contrato de Bonos entre el
                                                                                     Fiduciario de los Bonos, los Tenedores de Bonos y
                                                                                     cualquier Obligado y/o el Fletador, sujetos a las
                                                                                     disposiciones de la siguiente Cláusula 19.7.3, se
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                                                                                     resolverán de manera exclusiva en los tribunales de
                                                                                     Noruega, con el Tribunal de Distrito de Oslo como
                                                                                     Jurisdiccional legal única.
                                                                                           19.7.3 La Cláusula 19.7.2 es sólo para el beneficio
                                                                                     del Fiduciario de los Bonos. Como resultado, no se
                                                                                     impedirá que el Fiduciario de los Bonos instituya
                                                                                     procedimientos relacionados con un conflicto en cualquier
                                                                                     otro tribunal con jurisdicción. Hasta el grado permitido por
                                                                                     la ley, el Fiduciario de los Bonos puede instituir
                                                                                     procedimientos concurrentes en cualquier número de
                                                                                     jurisdiccional.”

                                                                                          Por lo cual, aun y cuando en términos de los artículos
                                                                                     1 y 7 de la ley de concursos mercantiles, el suscrito como
                                                                                     rector del procedimiento tiene la obligación y facultades
                                                                                     para conservar la empresa, dicho actuar debe realizarse
                                                                                     dentro de su ámbito competencial.

                                                                                           Por lo que en el caso concreto, previo a determinar si
                                                                                     la cláusula 15.1 (g) (i) del contrato de bonos (acuerdo de
                                                                                     emisión) de veinticuatro de enero de dos mil catorce,
                                                                                     modificado y reexpresado, el veintinueve de abril, dos de
                                                                                     junio, veintinueve de septiembre y nueve de noviembre,
                                                                                     todos de dos mil dieciséis, celebrado por Oro Negro
                                                                                     Drilling, Pte. Ltd. (sociedad creada bajo las leyes de la
                                                                                     República de Singapur), como emisora de bonos, y Nordic
                                                                                     Trustee As, antes Nordic Trustee ASA (sociedad creada
                                                                                     bajo las leyes de Noruega), agrava la situación de las
                                                                                     comerciantes por virtud del presente procedimiento, y con
                                                                                     base en la legislación concursal mexicana, se tenga por no

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                                                                       puesta, el suscrito debe proceder a determinar si cuenta
                                                                       con competencia para ello, por tratarse de un pacto entre
                                                                       particulares que se sujetó a la ley y tribunales de Noruega.

                                                                            Lo anterior, ya que la Convención Americana, como
                                                                       la Constitución General son coincidentes en establecer
                                                                       que la tutela de un derecho humano se encuentra sujeta a
                                                                       determinados presupuestos y requisitos, los cuales deben
                                                                       ser razonables y encontrar una justificación en las
                                                                       necesidades de la propia administración de justicia.

                                                                           Uno de estos presupuestos es, precisamente, la
                                                                       competencia del órgano jurisdiccional.

                                                                             En ese sentido, la Convención Americana sobre
                                                                       Derechos Humanos, en su artículo 8.14 reconoce
                                                                       expresamente a la competencia como un requisito para el
                                                                       ejercicio del derecho de acceso a la justicia.

                                                                            Al respecto, la Corte Interamericana de Derechos
                                                                       Humanos ha sostenido que el ser juzgado por un Juez
                                                                       competente es "un principio básico del debido proceso",
                                                                       razón por la cual, en el ámbito internacional la
                                                                       competencia se configura como un presupuesto necesario
                                                                       al ejercicio del derecho en cuestión, el cual encuentra
                                                                       plena justificación en el eficiente desarrollo de la
                                                                       administración de justicia.

                                                                             Asimismo, en el contexto de la convencionalidad del
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                                                                       fuero para ser juzgado por determinado tribunal, la Corte
                                                                       Interamericana ha reconocido que la necesidad de ser
                                                                       juzgado por un Juez competente constituye un derecho
                                                                       sustantivo y que la competencia del mismo solamente
                                                                       puede devenir de la ley.

                                                                             En efecto, ha sostenido que la existencia y
                                                                       competencia del Juez natural deriva de la ley, por lo que el
                                                                       fuero no necesariamente entra en colisión con este
                                                                       derecho, si aquél se encuentra expresamente establecido
                                                                       y definido por el Poder Legislativo y atiende a una finalidad
                                                                       legítima. Si, por el contrario, la ley no consagra el fuero y
                                                                       éste es establecido por el Ejecutivo o por el propio Poder
                                                                       Judicial, distrayéndose así al individuo del tribunal que la
                                                                       ley consagra como su Juez natural, se vería vulnerado el
                                                                       derecho a ser juzgado por un Juez competente.

                                                                             A su vez, de la parte conducente de los artículos 14 y
                                                                       17    Constitucionales5, se advierte que el derecho
                                                              4"Artículo 8. Garantías judiciales
                                                              "1. Toda persona tiene derecho a ser oída, con las debidas garantías y dentro de un plazo
                                                              razonable, por un Juez o tribunal competente, independiente e imparcial, establecido con
                                                              anterioridad por la ley, en la sustanciación de cualquier acusación penal formulada contra ella,
                                                              o para la determinación de sus derechos y obligaciones de orden civil, laboral, fiscal o de
                                                              cualquier otro carácter."

                                                              5"Artículo 14. A ninguna ley se dará efecto retroactivo en perjuicio de persona alguna.
                                                              "Nadie podrá ser privado de la libertad o de sus propiedades, posesiones o derechos, sino
                                                              mediante juicio seguido ante los tribunales previamente establecidos, en el que se cumplan las
                                                              formalidades esenciales del procedimiento y conforme a las leyes expedidas con anterioridad
                                                              al hecho. ..."
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                                                                                                                         Concurso Mercantil 345/2017-I
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                                                                             270/2019 del índice del Juzgado Décimo Primero de Distrito en Materia Civil en la Ciudad de
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                                                                                     fundamental al debido proceso, constituye uno de los ejes
                                                                                     rectores de la protección del gobernado frente a los actos
                                                                                     de autoridad. En ese sentido, el derecho al debido proceso
                                                                                     reviste superlativa importancia en el orden jurídico
                                                                                     mexicano, en cuya integración se imbrica, como uno de
                                                                                     sus elementos, la competencia del órgano jurisdiccional.

                                                                                           Así, la competencia constituye un presupuesto
                                                                                     básico en la integración de la relación entre el Juez y las
                                                                                     partes, constituye el límite objetivo al ejercicio de la
                                                                                     jurisdicción, y como tal, la competencia se instituye como
                                                                                     elemento de validez de la resolución que en su caso dicte
                                                                                     el órgano jurisdiccional.

                                                                                           En otras palabras, la competencia implica que quien
                                                                                     ha de ser juzgado sólo podrá serlo por el órgano que esté
                                                                                     facultado por ley para hacerlo.

                                                                                          Lo anterior con sustento en la jurisprudencia emitida
                                                                                     por el Pleno de la Suprema Corte de Justicia de la Nación,
                                                                                     publicada en la Gaceta del Semanario Judicial de la
                                                                                     Federación, tomo 77, mayo de 1994, página 12, materia
                                                                                     común, octava época, que dice:
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                                                                                           "COMPETENCIA. SU FUNDAMENTACIÓN ES
                                                                                     REQUISITO ESENCIAL DEL ACTO DE AUTORIDAD.-
                                                                                     Haciendo una interpretación armónica de las garantías
                                                                                     individuales de legalidad y seguridad jurídica que
                                                                                     consagran los artículos 14 y 16 constitucionales, se
                                                                                     advierte que los actos de molestia y privación deben, entre
                                                                                     otros requisitos, ser emitidos por autoridad competente y
                                                                                     cumplir las formalidades esenciales que les den eficacia
                                                                                     jurídica, lo que significa que todo acto de autoridad
                                                                                     necesariamente debe emitirse por quien para ello esté
                                                                                     facultado expresándose, como parte de las formalidades
                                                                                     esenciales, el carácter con que se suscribe y el dispositivo,
                                                                                     acuerdo o decreto que otorgue tal legitimación. De lo
                                                                                     contrario, se dejaría al afectado en estado de indefensión,
                                                                                     ya que al no conocer el apoyo que faculte a la autoridad
                                                                                     para emitir el acto, ni el carácter con que lo emita, es
                                                                                     evidente que no se le otorga la oportunidad de examinar si
                                                                                     su actuación se encuentra o no dentro del ámbito
                                                                                     competencial respectivo, y es conforme o no a la
                                                                                     Constitución o a la ley; para que, en su caso, esté en
                                                                                     aptitud de alegar, además de la ilegalidad del acto, la del
                                                                                     apoyo en que se funde la autoridad para emitirlo, pues
                                                                                     bien puede acontecer que su actuación no se adecue

                                                                             "Artículo 17. Ninguna persona podrá hacerse justicia por sí misma, ni ejercer violencia para
                                                                             reclamar su derecho.
                                                                             Toda persona tiene derecho a que se le administre justicia por tribunales que estarán expeditos
                                                                             para impartirla en los plazos y términos que fijen las leyes, emitiendo sus resoluciones de
                                                                             manera pronta, completa e imparcial. Su servicio será gratuito, quedando, en consecuencia,
                                                                             prohibidas las costas judiciales. ..."


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                                                                   exactamente a la norma, acuerdo o decreto que invoque, o
                                                                   que éstos se hallen en contradicción con la ley
                                                                   fundamental o la secundaria.”

                                                                         De ahí que el Alto Tribunal y la Corte Interamericana
                                                                   han sido coincidentes en reconocer que la competencia,
                                                                   lejos de restringir el derecho humano de acceso a la
                                                                   justicia, constituye un presupuesto de suma importancia
                                                                   en la efectiva protección de este derecho, en tanto
                                                                   constituye un elemento que responde a la exigencia de
                                                                   una correcta y eficiente administración de justicia, pero
                                                                   que además otorga al gobernado una esfera de protección
                                                                   frente al órgano que habrá de conocer de sus
                                                                   planteamientos.

                                                                        Ahora, es importante reconocer que este
                                                                   presupuesto al ejercicio del acceso a la justicia debe
                                                                   cumplir con determinados requisitos.

                                                                        En efecto, la competencia, como un presupuesto
                                                                   para garantizar el derecho de acceso a la justicia, exige
                                                                   que los parámetros o elementos que al efecto se
                                                                   establezcan para configurarla, deben plantearse en
                                                                   términos claros, congruentes y accesibles para el
                                                                   gobernado, a efecto de que éste tenga la posibilidad real
                                                                   de poder determinar, con una razonable claridad, el
                                                                   órgano ante el cual debe acudir a defender sus derechos.

                                                                         Así, una vez cumplidas estas obligaciones por parte
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                                                                   del Estado a efecto de garantizar y tutelar el efectivo
                                                                   ejercicio del derecho de acceso a la justicia, la exigencia
                                                                   para el gobernado de presentar su demanda, recurso o
                                                                   medio de defensa ante la autoridad competente,
                                                                   constituye la carga procesal mínima que debe
                                                                   satisfacer a efecto de poder acceder a las instancias
                                                                   jurisdiccionales a reclamar la violación a sus
                                                                   derechos.

                                                                          Lo antes expuesto tiene sustento en las
                                                                   consideraciones realizadas por la Segunda Sala de la
                                                                   Suprema Corte de Justicia de la Nación al resolver la
                                                                   contracción de tesis 107/2014, de donde prevaleció con el
                                                                   carácter de jurisprudencia el criterio de rubro y texto
                                                                   siguiente:

                                                                         “INCOMPETENCIA POR RAZÓN DE LA MATERIA
                                                                   EN EL JUICIO DE NULIDAD DEL TRIBUNAL FEDERAL
                                                                   DE JUSTICIA FISCAL Y ADMINISTRATIVA. SUS
                                                                   CONSECUENCIAS JURÍDICAS. Cuando el Tribunal
                                                                   Federal de Justicia Fiscal y Administrativa advierta que
                                                                   carece de competencia por razón de la materia para
                                                                   conocer de una demanda de nulidad, deberá declarar la
                                                                   improcedencia del juicio en términos del artículo 8o.,
                                                                   fracción II, de la Ley Federal de Procedimiento
                                                                   Contencioso Administrativo, sin que ello implique vulnerar
                                                                   el derecho de acceso a la justicia reconocido en los
                                                                   artículos 17 de la Constitución Política de los Estados
                                                                   Unidos Mexicanos, así como 8, numeral 1 y 25 de la
                                                                   Convención Americana sobre Derechos Humanos, pues el
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                                                                                                                        Concurso Mercantil 345/2017-I
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                                                                             270/2019 del índice del Juzgado Décimo Primero de Distrito en Materia Civil en la Ciudad de
                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
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                                                                                     ejercicio de este derecho se encuentra sujeto al
                                                                                     cumplimiento de determinados requisitos, presupuestos y
                                                                                     cargas procesales que no deben soslayarse en detrimento
                                                                                     de la correcta y eficiente administración de justicia, como
                                                                                     lo es la carga procesal dispuesta de manera asequible al
                                                                                     gobernado, de presentar el recurso efectivo ante el tribunal
                                                                                     competente. En las relatadas condiciones, se concluye
                                                                                     que, ante la incompetencia por razón de la materia, el
                                                                                     referido tribunal no está obligado a remitir el asunto a la
                                                                                     autoridad que considere competente.”

                                                                                            Por otra parte, la Suprema Corte de Justicia de la
                                                                                     Nación, ha determinado que tratándose de la competencia
                                                                                     de un Juez para conocer de un conflicto derivado de la
                                                                                     relación jurídica privada internacional, la labor de
                                                                                     establecer la competencia judicial para conocer de la
                                                                                     controversia derivada de dicha relación jurídica, impone al
                                                                                     Juez ante quien se presenta la demanda -lógicamente
                                                                                     vinculado por dicha presentación a examinar su propia
                                                                                     competencia en cada caso-, discernir en primer orden,
                                                                                     si las normas competenciales que rigen su función, le
                                                                                     reservan o no la facultad de dirimir el conflicto de
                                                                                     carácter internacional, y superada esta premisa,
                                                                                     entonces examinar su competencia en relación con
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                                                                                     sus pares, al interior del sistema jurídico de su Estado.

                                                                                           Por lo que un análisis de competencia por parte del
                                                                                     Juez ante quien se planteó la demanda con elemento de
                                                                                     internacionalidad, que conlleve la determinación de
                                                                                     facultades de los tribunales judiciales de otro Estado, sólo
                                                                                     podría derivar, por excepción, de la existencia de una
                                                                                     norma de competencia de carácter convencional, a la
                                                                                     que se encuentren sujetos ambos Estados; pero aún en
                                                                                     ese supuesto, el pronunciamiento que hiciere el Juez
                                                                                     negando su competencia, derivado de estimar que la
                                                                                     facultad le asiste a la autoridad judicial de otro Estado, en
                                                                                     modo alguno resultaría vinculante para esta última ante el
                                                                                     eventual ejercicio de la acción ante ella, pues el juzgador
                                                                                     extranjero, necesariamente examinará su propia
                                                                                     competencia internacional con base en su derecho interno.

                                                                                           Entonces, la competencia del Juez para conocer de
                                                                                     una controversia entre particulares de carácter
                                                                                     internacional, se determina con base en el orden jurídico
                                                                                     interno del Estado ante quien se presenta la demanda.

                                                                                           La controversia necesariamente debe juzgarse
                                                                                     conforme a la ley que le dio origen o que conforme a su
                                                                                     naturaleza deba regularlo y si dicha ley es la perteneciente
                                                                                     a un orden jurídico extranjero, la aplicación de ese
                                                                                     derecho, conlleva la finalidad de reforzar la legitimidad de
                                                                                     la decisión judicial y la justicia del caso; sin embargo, la
                                                                                     reciprocidad en la aplicación de derecho extranjero entre


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                                                                   los Estados involucrados, es indispensable para la validez
                                                                   y eficacia de dicha aplicación.

                                                                         En México, el Poder Legislativo ha establecido
                                                                   expresamente una posición soberana que a la vez permite
                                                                   que se aplique el derecho extranjero en nuestro territorio,
                                                                   siempre que la propia ley prevea la aplicación o que así
                                                                   derive de los tratados y convenciones en que México sea
                                                                   parte; lo que implica desde luego un sentido de
                                                                   reciprocidad y convivencia armónica en la comunidad
                                                                   internacional.

                                                                        De conformidad con lo dispuesto por el artículo 12
                                                                   del Código Civil Federal, las leyes mexicanas rigen para
                                                                   todas las personas que se encuentren en territorio
                                                                   nacional, así como para los actos y hechos ocurridos en
                                                                   su ámbito territorial, y la aplicación de normas extranjeras
                                                                   sólo se prevé para aquellos casos en que la propia ley así
                                                                   lo determine, salvo lo establecido en los tratados y
                                                                   convenciones en que México sea parte.

                                                                        La legislación mexicana admite la aplicación del
                                                                   derecho extranjero, por lo que primero debe determinarse
                                                                   si se está o no en un caso que permita esa aplicación, y
                                                                   demostrado que es aplicable, debe tenerse en cuenta que
                                                                   quien funde su derecho en leyes extranjeras, tiene la
                                                                   carga procesal de probar la existencia de las mismas y
                                                                   que son aplicables al caso.
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                                                                        Sirve de apoyo a lo anterior la tesis emitida por el
                                                                   Tercer Tribunal Colegiado en Materia Civil del Primer
                                                                   Circuito, publicada en el Semanario Judicial de la
                                                                   Federación y su Gaceta, tomo XIV, septiembre de 2001,
                                                                   página, 1312 novena época, materia civil, que dice

                                                                          “DERECHO         EXTRANJERO.         PUNTOS       DE
                                                                   CONEXIÓN QUE LO HACEN APLICABLE. Cuando un
                                                                   acto se celebra en un Estado para tener efectos o ser
                                                                   ejecutado en otro Estado, por la nacionalidad de los
                                                                   sujetos, la ubicación de la cosa o la naturaleza del derecho
                                                                   o del hecho jurídico de que se trate, tiene que precisarse
                                                                   cuál es el sistema jurídico que lo regula y debe tenerse en
                                                                   cuenta el orden público interno para establecer la
                                                                   naturaleza y alcance del derecho subjetivo del nacional de
                                                                   un Estado que exige una obligación de un nacional de otro
                                                                   Estado, y cuya relación jurídica se creó en un Estado
                                                                   distinto al en que produce sus efectos. En México, el
                                                                   Poder Legislativo ha establecido expresamente una
                                                                   posición soberana que a la vez permite que se aplique el
                                                                   derecho extranjero en nuestro territorio, siempre que la
                                                                   propia ley prevea la aplicación o que así derive de los
                                                                   tratados y convenciones en que México sea parte; lo que
                                                                   implica desde luego un sentido de reciprocidad y
                                                                   convivencia armónica en la comunidad internacional. De
                                                                   conformidad con lo dispuesto por el artículo 12 del Código
                                                                   Civil Federal, las leyes mexicanas rigen para todas las
                                                                   personas que se encuentren en territorio nacional, así
                                                                   como para los actos y hechos ocurridos en su ámbito
                                                                   territorial, y la aplicación de normas extranjeras sólo se
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                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.



                                                                                     prevé para aquellos casos en que la propia ley así lo
                                                                                     determine, salvo lo establecido en los tratados y
                                                                                     convenciones en que México sea parte. Esto es, la
                                                                                     legislación mexicana admite la aplicación del derecho
                                                                                     extranjero, y primero debe determinarse si se está o no en
                                                                                     un caso en que se permita esa aplicación, y demostrado
                                                                                     que es aplicable, debe tenerse en cuenta que quien funde
                                                                                     su derecho en leyes extranjeras, tiene la carga procesal de
                                                                                     probar la existencia de las mismas y que son aplicables al
                                                                                     caso. Ello, de conformidad con lo dispuesto por los
                                                                                     artículos 19 del Código Civil Federal y 86 bis del Código
                                                                                     Federal de Procedimientos Civiles, conforme al cual el
                                                                                     derecho que se funda en leyes extranjeras está sujeto a
                                                                                     prueba y en ese sentido no opera la regla del sistema
                                                                                     jurídico nacional de que el derecho no es materia de
                                                                                     prueba.”

                                                                                            Ahora bien, en el caso concreto, la solicitud de las
                                                                                     comerciantes, no implica la aplicación del derecho
                                                                                     extranjero; sino la aplicación del derecho mexicano a un
                                                                                     contrato sujeto a una legislación y tribunal extranjero.

                                                                                           Ante lo cual, se considera que el suscrito carece de
                                                                                     competencia legal, ya que conforme a lo dispuesto por el
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                                                                                     artículo 16 de la Constitución Federal, nadie puede ser
                                                                                     molestado en su persona, familia, domicilio, papeles o
                                                                                     posesiones, sino en virtud de mandamiento escrito de la
                                                                                     autoridad competente.

                                                                                           Entonces la competencia en materia judicial es la
                                                                                     facultad que la ley otorga a un órgano de esa naturaleza
                                                                                     para que conozca determinados asuntos, dentro de los
                                                                                     límites que la propia norma determina.

                                                                                           Por lo que el suscrito no tiene competencia para
                                                                                     pronunciarse sobre un contrato en el cual las partes en
                                                                                     ejercicio de la autonomía de la voluntad lo sujetaron a la
                                                                                     legislación y tribunales extranjeros, por lo que el
                                                                                     pronunciamiento que pretenden las comerciantes implica
                                                                                     exceder los límites dentro de los que se permite actuar.

                                                                                           Por tanto, como la competencia constituye un
                                                                                     presupuesto básico en la integración de la relación entre el
                                                                                     Juez y las partes, como límite objetivo al ejercicio de la
                                                                                     jurisdicción, lo cual impregna de validez la resolución que
                                                                                     en su caso dicte el órgano jurisdiccional, es que se
                                                                                     considera que el artículo 87 de la ley concursal no es
                                                                                     aplicable a actos jurídicos que no se encuentran
                                                                                     sometidos a las leyes de la República Mexicana.

                                                                                          Es así que, aún y cuando como reiteradamente se ha
                                                                                     expuesto, la ley de concursos mercantiles es de orden
                                                                                     público, toda vez que busca el mayor beneficio de la
                                                                                     sociedad, a través de la maximización de los recursos de

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                                                                   las comerciantes que se encuentran en incumplimiento de
                                                                   obligaciones, la jurisdicción del suscrito encuentra un
                                                                   límite en aquellos actos no sometidos a la jurisdicción del
                                                                   suscrito, pues procede de manera contraria generaría
                                                                   inseguridad jurídica, y se vulnerarían jurisdicciones
                                                                   internacionales, en contraposición con la convivencia
                                                                   armónica en la comunidad internacional y el respeto a la
                                                                   igualdad soberana de los Estados en la aplicación de sus
                                                                   normas.

                                                                        Conforme a lo antes expuesto se concluye que en
                                                                   términos del artículo 87 de la Ley de Concursos
                                                                   Mercantiles, el suscrito no cuenta con facultades para
                                                                   tener por no puesta la cláusula 15.1 (g) (i) del contrato de
                                                                   bonos (acuerdo de emisión) de veinticuatro de enero de
                                                                   dos mil catorce, modificado y reexpresado, el veintinueve
                                                                   de abril, dos de junio, veintinueve de septiembre y nueve
                                                                   de noviembre, todos de dos mil dieciséis, celebrado por
                                                                   Oro Negro Drilling, Pte. Ltd. (sociedad creada bajo las
                                                                   leyes de la República de Singapur), como emisora de
                                                                   bonos, y Nordic Trustee As, antes Nordic Trustee ASA
                                                                   (sociedad creada bajo las leyes de Noruega), por tratarse
                                                                   de un contrato sometido a la legislación y tribunales de
                                                                   Noruega, y porque no existe reciprocidad entre dos
                                                                   Estados que posibilite la aplicación extraterritorial de la ley.

                                                                        Por tanto, el suscrito carece de competencia, por
                                                                   tratarse de un contrato sometido a la legislación y
                                                                   tribunales de Noruega, aunado a que las comerciantes no
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                                                                   aportaron los elementos necesarios para determinar que
                                                                   existe reciprocidad en la aplicación de derecho extranjero
                                                                   entre México y Noruega, como lo disponen los artículos 19
                                                                   del Código Civil Federal y 86 bis del Código Federal de
                                                                   Procedimientos Civiles.

                                                                        No obstante lo anterior de una búsqueda en la página
                                                                   oficial de la Secretaría de Relaciones Exteriores
                                                                   https://aplicaciones.sre.gob.mx/tratados/consulta_nva.php,
                                                                   no se encontró tratado internacional alguno celebrado
                                                                   entre México y Noruega, mediante el cual se hayan
                                                                   manifestado reciprocidad en casos análogos para aplicar
                                                                   derecho extranjero.

                                                                        (…)

                                                                        Por otra parte, las comerciantes solicitan se decreten
                                                                   las medidas cautelares siguientes:

                                                                        1.      La orden dirigida a Nordic Trustee As, antes
                                                                   Nordic Trustee ASA, para que se abstenga de declarar
                                                                   cualquier evento de incumplimiento conforme al acuerdo
                                                                   de emisión.

                                                                        2.     La orden a Nordic Trustee As, antes Nordic
                                                                   Trustee ASA, para que se abstenga de realizar cualquier
                                                                   acto por el que pretenda, intente, busque o tenga por
                                                                   efecto o consecuencia ejecutar garantías o derechos en
                                                                   términos de los acuerdos de emisión y sus documentos
                                                                   accesorios.
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                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.




                                                                                              3.      La orden a Nordic Trustee As, antes Nordic
                                                                                        Trustee ASA y a Deutsche Bank México, Sociedad
                                                                                        Anónima, Institución de Banca Múltiple, División
                                                                                        Fiduciaria, en su carácter de fiduciaria del contrato de
                                                                                        fideicomiso irrevocable de administración y fuente de pago
                                                                                        identificado con el número F/1695, para que la segunda se
                                                                                        abstengan de distribuir, y la primera de recibir, cualquier
                                                                                        cantidad del fideicomiso.

                                                                                              Las concursadas exponen que las medidas protegen
                                                                                        la viabilidad de las comerciantes, pues al impedir que la
                                                                                        destinataria determine un incumplimiento al acuerdo de
                                                                                        emisión, posterior al once y veintinueve de septiembre de
                                                                                        dos mil diecisiete, fecha de presentación de las solicitudes
                                                                                        concursales, se respeta el principio de igualdad entre
                                                                                        acreedores, permitiendo resolver los pasivos de las
                                                                                        comerciantes y evitando ejecuten garantías, y se evita se
                                                                                        siga distribuyendo los recursos del fideicomiso, como parte
                                                                                        de la masa.

                                                                                             Indica que la necesidad radica en que la destinataria
                                                                                        no ejecute garantías.
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                                                                                             Al respecto, dígase que no ha lugar a decretar las
                                                                                        providencias precautorias solicitadas ya que en términos
                                                                                        del artículo 92 de la Ley de Concursos Mercantiles, los
                                                                                        contratos relacionados con las comerciantes deberán ser
                                                                                        cumplidos por la concursadas, salvo que el conciliador se
                                                                                        oponga, por así convenir a los intereses de la masa.
                                                                                             (…)”6




                                                                                        SEGUNDO. Admisión del recurso. Por acuerdo de
                                                                             veinticinco de octubre de dos mil dieciocho,7 se admitió el
                                                                             recurso de revocación y se ordenó dar vista a Nordic
                                                                             Trustee As, a Deutsche Bank México, sociedad anónima,
                                                                             Institución de Banca Múltiple, División Fiduciaria, como
                                                                             fiduciaria del fideicomiso irrevocable de administración y
                                                                             fuente de pago F/1695, a Oro Negro Drilling, Pte. Ltd., Oro
                                                                             Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd., Oro
                                                                             Negro Fortius, Pte. LTD., Oro Negro Decus, Pte. Ltd., y
                                                                             Oro Negro Impetus, Pte. Ltd., por conducto de su
                                                                             6   Tomo X, fojas 352 a 366.
                                                                             7   Tomo X, fojas 1083 a 1087.

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                                                              apoderado Manuel Ruiz de Chávez Gutiérrez de Velasco, y
                                                              a Fernando Pérez Correa Camarena, entonces conciliador
                                                              designado por el Instituto Federal de Especialistas de
                                                              Concursos Mercantiles, para que en                         tres días, se
                                                              manifestaran al respecto.




                                                                       TERCERO. Desahogo de vistas y citación del
                                                              recurso. La vista ordenada fue desahogada mediante escrito
                                                              con registro 216078 por Deutsche Bank México, Sociedad
                                                              Anónima,            Institución      de    Banca     Múltiple,   División
                                                              Fiduciaria; escrito 217859 por Fernando Pérez Correa
                                                              Camarena, conciliador designado por el Instituto Federal de
                                                              Especialistas de Concursos Mercantiles; escrito 2178610
                                                              de Nordic Trustee As, antes Nordic Trustee ASA; y el libelo
                                                              con folio 2178711 de Oro Negro Drilling, Pte. Ltd., Oro
                                                              Negro Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd., Oro
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                                                              Negro Fortius, Pte. LTD., Oro Negro Decus, Pte. Ltd., y
                                                              Oro Negro Impetus, Pte. Ltd. por conducto de su apoderado
                                                              Manuel Ruiz de Chávez Gutiérrez de Velasco.




                                                                       CUARTO. Sentencia. En proveído de trece de
                                                              noviembre de dos mil dieciocho,12 se citó para oír la
                                                              interlocutoria, y el veinticinco de febrero de dos mil
                                                              diecinueve, fue emitida en los siguientes términos:



                                                                       “Primero. Son infundados los agravios hechos valer por
                                                                       Perforadora Oro Negro, sociedad de responsabilidad
                                                                       limitada de capital variable e Integradora de Servicios
                                                                       Petroleros Oro Negro, sociedad anónima promotora de
                                                              8 Tomo XI, fojas 177 a 177 bis.
                                                              9 Tomo XI, fojas 340 a 347.
                                                              10 Tomo XI, fojas 348 a 357.
                                                              11 Tomo XI, fojas 441 a 457.
                                                              12 Tomo XI, fojas 663 a 684.
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                                                                                     inversión de capital variable, por conducto de su
                                                                                     apoderado Elías Mendoza Murguía, en el presente
                                                                                     recurso de revocación.



                                                                                     Segundo. Se confirma el proveído de once de octubre
                                                                                     de dos mil dieciocho, en sus términos.”




                                                                                     QUINTO. Juicio de amparo. Inconforme con la
                                                                             determinación anterior, las quebradas Perforadora Oro
                                                                             Negro, Sociedad de Responsabilidad Limitada de Capital
                                                                             Variable, e Integradora de Servicios Petroleros Oro
                                                                             Negro, Sociedad Anónima Promotora de Inversión de
                                                                             Capital Variable, promovieron juicio de amparo indirecto, que
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                                                                             fue registrado por el Juez Decimoprimero de Distrito en
                                                                             Materia Civil en la Ciudad de México, como 270/2019,
                                                                             quien seguida la secuela procesal lo resolvió en los términos
                                                                             siguientes:




                                                                                     “PRIMERO. La Justicia de la Unión no ampara ni
                                                                                     protege a “PERFORADORA ORO NEGRO”, SOCIEDAD
                                                                                     DERESPONSABILIDAD                  LIMITADA          DE       CAPITAL
                                                                                     VARIABLE,          e     “INTEGRADORA              DE      SERVICIOS
                                                                                     PETROLEROS ORO NEGRO”, SOCIEDAD ANÓNIMA
                                                                                     PROMOTORA DE INVERSIÓN DE CAPITAL VARIABLE,
                                                                                     a través de su apoderado, ELÍAS MENDOZA MURGUÍA,
                                                                                     en contra del acto que reclamaron a la autoridad
                                                                                     responsable precisada en el resultando primero de la
                                                                                     presente sentencia, por las razones expuestas en el
                                                                                     considerando décimo.




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                                                                   SEGUNDO. En su oportunidad, dese cumplimiento a lo
                                                                   ordenado en el último considerando de esta resolución.”




                                                                   SEXTO. Recurso de revisión y concesión del
                                                              amparo que se cumplimenta. Inconformes con la
                                                              determinación anterior, las quejosas promovieron recurso
                                                              de revisión, del cual conoció el Octavo Tribunal Colegiado
                                                              en Materia Civil del Primer Circuito, registrándolo con el
                                                              toca R.C 108/2020. Que fue resuelto de la siguiente
                                                              manera:




                                                                   “Primero. Se revoca la sentencia recurrida.



                                                                   Segundo. La Justicia de la Unión ampara y protege a
                                                                   Perforadora Oro Negro, Sociedad de Responsabilidad
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                                                                   Limitada de Capital Variable e Integradora de Servicios
                                                                   Petroleros Oro Negro, Sociedad Anónima Promotora de
                                                                   Inversión de Capital Variable, contra el acto que
                                                                   reclamaron del Juez Segundo de Distrito en Materia Civil
                                                                   en la Ciudad de México, consistente en la sentencia
                                                                   interlocutoria de veinticinco de febrero de dos mil
                                                                   diecinueve, precisada en el resultando primero de la
                                                                   presente ejecutoria, para los efectos indicados en el último
                                                                   considerando de la misma.”




                                                                   SÉPTIMO. Efectos de la concesión otorgada por el
                                                              Tribunal Colegiado y cumplimiento:



                                                                   1.- Para que el juez responsable deje insubsistente la
                                                                   sentencia reclamada y en su lugar dicte una nueva en la
                                                                   que:
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                                                                                     2.- Con base en lo considerado en la presente ejecutoria,
                                                                                     establezca cuáles son las consecuencias inmediatas de la
                                                                                     aplicación de la cláusula 15.1 del contrato de emisión de
                                                                                     votos, para determinar si agrava la situación de las
                                                                                     comerciantes y,




                                                                                     3.- En caso de que concluya que la aplicación de la
                                                                                     cláusula     en     comento      agrava      la   situación      de   las
                                                                                     comerciantes, disponga dejarla de aplicar, resolviendo lo
                                                                                     que en derecho proceda.




                                                                                     Con el fin de dar estricto cumplimiento, mediante
                                                                             proveído de trece de enero de dos mil veintiuno, se dejó sin
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                                                                             efectos la sentencia que constituye el acto reclamado
                                                                             (veinticinco de febrero de dos mil diecinueve) y en este
                                                                             acto, se emite otra, conforme a los lineamientos establecidos
                                                                             por el tribunal colegiado revisor, al tenor de los siguientes




                                                                                                               CONSIDERANDOS




                                                                                     PRIMERO. Competencia. Este Juzgado Segundo de
                                                                             Distrito en Materia Civil en la Ciudad de México, es
                                                                             competente           para      conocer         y    resolver        el    medio        de
                                                                             impugnación, con apoyo en lo dispuesto por los artículos 104,
                                                                             fracción II, de la Constitución Política de los Estados Unidos
                                                                             Mexicanos, 53 Bis, fracción II, de la Ley Orgánica del Poder
                                                                             Judicial de la Federación, en relación con el Acuerdo General
                                                                             19/2015 del Pleno del Consejo de la Judicatura Federal; 268

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                                                              de la Ley de Concursos Mercantiles y 1335 del Código de
                                                              Comercio, de aplicación supletoria a la ley de la materia, toda
                                                              vez que es un recurso de revocación, del cual conoce y
                                                              resuelve la misma autoridad jurisdiccional que emite el auto
                                                              recurrido.




                                                                      SEGUNDO.               Oportunidad              de      interposición             del
                                                              recurso. Los artículos 268 de la Ley de Concursos
                                                              Mercantiles, y 1335 del Código de Comercio,13 disponen que
                                                              contra el auto que no fuere apelable, procede la revocación
                                                              ante el juez que lo haya dictado o el que lo sustituya en el
                                                              conocimiento del negocio, la cual deberá pedirse por escrito
                                                              dentro de los tres días siguientes a que haya surtido efectos
                                                              la notificación del proveído a impugnar.
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                                                                      A partir de lo anterior, resulta oportuna la promoción del
                                                              recurso horizontal que se resuelve, en atención de que se
                                                              interpuso mediante escrito presentado el diecinueve de
                                                              octubre de dos mil dieciocho; esto es, al tercer día contado
                                                              a partir de que surtió efectos la notificación personal realizada
                                                              a las comerciantes el quince del mismo mes y año.




                                                                      Determinado que el medio de impugnación se interpuso
                                                              en tiempo, y no procede en su contra apelación; en tanto que,
                                                              no existe disposición expresa en la ley de la materia que así


                                                              13“Artículo 268. Cuando esta Ley no prevea el recurso de apelación procederá revocación, que
                                                              se tramitará conforme a las disposiciones del Código de Comercio.”

                                                              “Artículo 1335. Tanto la revocación en primera instancia como la reposición deberán pedirse
                                                              por escrito dentro de los tres días siguientes a que haya surtido efectos la notificación del
                                                              proveído a impugnar, dando vista a la contraria por un término igual y el tribunal debe resolver
                                                              y mandar notificar su determinación dentro de los tres días siguientes.
                                                              De la resolución en que se decida si se concede o no la revocación o la reposición no habrá
                                                              ningún recurso.”
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                                                                             lo disponga, se actualiza la hipótesis de procedencia
                                                                             establecida en el artículo 268 de la Ley de Concursos
                                                                             Mercantiles.




                                                                                     TERCERO. Agravios. La recurrente expresó diversos
                                                                             agravios, los cuales se tienen por reproducidos como si a la
                                                                             letra se insertaran, atento a la jurisprudencia en la que la
                                                                             Segunda Sala de la Suprema Corte de Justicia de la Nación
                                                                             sostuvo:



                                                                                     “CONCEPTOS DE VIOLACIÓN O AGRAVIOS. PARA
                                                                                     CUMPLIR CON LOS PRINCIPIOS DE CONGRUENCIA Y
                                                                                     EXHAUSTIVIDAD EN LAS SENTENCIAS DE AMPARO
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                                                                                     ES INNECESARIA SU TRANSCRIPCIÓN. De los
                                                                                     preceptos integrantes del capítulo X "De las sentencias",
                                                                                     del título primero "Reglas generales", del libro primero "Del
                                                                                     amparo en general", de la Ley de Amparo, no se advierte
                                                                                     como obligación para el juzgador que transcriba los
                                                                                     conceptos de violación o, en su caso, los agravios, para
                                                                                     cumplir con los principios de congruencia y exhaustividad
                                                                                     en las sentencias, pues tales principios se satisfacen
                                                                                     cuando precisa los puntos sujetos a debate, derivados de
                                                                                     la demanda de amparo o del escrito de expresión de
                                                                                     agravios, los estudia y les da respuesta, la cual debe estar
                                                                                     vinculada y corresponder a los planteamientos de
                                                                                     legalidad o constitucionalidad efectivamente planteados en
                                                                                     el pliego correspondiente, sin introducir aspectos distintos
                                                                                     a los que conforman la litis. Sin embargo, no existe
                                                                                     prohibición para hacer tal transcripción, quedando al
                                                                                     prudente arbitrio del juzgador realizarla o no, atendiendo a
                                                                                     las características especiales del caso, sin demérito de
                                                                                     que para satisfacer los principios de exhaustividad y
                                                                                     congruencia se estudien los planteamientos de legalidad o
                                                                                     inconstitucionalidad que efectivamente se hayan hecho
                                                                                     valer.”14




                                                                              Publicada en el Semanario Judicial de la Federación y su Gaceta, novena época, tomo XXXI,
                                                                             14

                                                                             mayo de 2010, materia común, página 830.

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                                                                   En el primer agravio, las recurrentes exponen que el
                                                              auto combatido transgrede los artículos 1077 y 1324 del
                                                              Código de Comercio, de aplicación supletoria a la Ley de
                                                              Concursos Mercantiles, puesto que carece de congruencia y
                                                              exhaustividad.




                                                                   Exponen que la determinación de no contar con
                                                              competencia para aplicar el artículo 87 de la Ley de
                                                              Concursos Mercantiles, y declarar “tener por no puesta” la
                                                              cláusula 15.1 (g) (i) del acuerdo de emisión, bajo la
                                                              consideración de que se encontraba sometido a las leyes y
                                                              jurisdicción de los tribunales de Noruega, aunado a que no
                                                              existe reciprocidad entre México y dicho Estado, implica:




                                                                   1. Desconocer el interés público que persigue la ley
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                                                              concursal e invita a que los acreedores extranjeros sean
                                                              inmunes a dicho precepto.




                                                                   2. Desconocer que el concurso mercantil es un
                                                              procedimiento universal, en el que concurren intereses de la
                                                              colectividad, y no así, un procedimiento bilateral. Ello en
                                                              virtud de que se afirmó que “…la competencia del Juez para
                                                              conocer de una controversia entre particulares de carácter
                                                              internacional, se determina con base en el orden jurídico
                                                              interno del Estado ante quien se presenta la demanda”.




                                                                   3. Se tuvo que ponderar que la cláusula agrava la
                                                              situación de la empresa, independientemente de que dicho
                                                              acuerdo de voluntades se encuentre sometido a leyes y
                                                              tribunales del Reino de Noruega.
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                                                                                     4. Infringir la cosa juzgada y la preclusión procesal, ya
                                                                             que se analizó si se tenía competencia para aplicar
                                                                             disposiciones de la ley de concursos mercantiles, cuando ello
                                                                             se asumió expresamente en los autos admisorios y se reiteró
                                                                             en la sentencia de declaración de concurso, y si bien dichas
                                                                             resoluciones          han       sido    impugnadas,            no     combaten          la
                                                                             competencia. (artículos 354, 355 y 356 del Código Federal de
                                                                             Procedimientos Civiles).




                                                                                     5. Divide la continencia de la causa, pues al asumir
                                                                             competencia, el suscrito estaba facultado y obligado a aplicar
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                                                                             las disposiciones de la Ley de Concursos Mercantiles, en
                                                                             todas las cuestiones respecto de bienes, derechos y pasivos
                                                                             de las comerciantes (masa concursal), así como medidas
                                                                             precautorias afines, aun los relacionados con actos, hechos o
                                                                             ley extranjera, por no existir prohibición o limitación al
                                                                             respecto en la ley de la materia. Ello porque en el capítulo de
                                                                             cooperación          internacional,          el     legislador        reconoció         la
                                                                             globalización y existencia de operaciones transfronterizas,
                                                                             previendo         que      en     el    concurso         mercantil        se     emitan
                                                                             determinaciones en territorio nacional y extranjero, incluyendo
                                                                             las de protección de la masa concursal.




                                                                                     6. Que bajo el principio de igualdad, se reconoce a los
                                                                             acreedores extranjeros y nacionales, independientemente de
                                                                             que se haya contratado en territorio nacional o los títulos
                                                                             justificativos se rijan por leyes mexicanas o extranjeras.


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                                                                   7. Que los principios de universalidad y unicidad,
                                                              abarcan a los bienes, derechos y pasivos del comerciante,
                                                              con independencia de barreras transfronterizas, de lo
                                                              contrario no sería un procedimiento eficaz, cuyo fin es lograr
                                                              conservar la empresa, y bastaría transferir recursos fuera de
                                                              México para evitar que los mismos fueran considerados como
                                                              parte de la masa concursal, por lo que bajo esa
                                                              interpretación, tampoco podrían reconocerse los pasivos
                                                              contraídos en el extranjero, como lo es, el que existe derivado
                                                              del acuerdo de emisión.




                                                                   8. Que el artículo 86 de la ley concursal no establece
                                                              que las disposiciones sobre obligaciones y contratos
                                                              continúen aplicándose sin límite, sino que deben preverse las
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                                                              excepciones contenidas en los preceptos 17 (competencia),
                                                              88 (determinación de cuantía de créditos), 89 (mecanismos
                                                              de valoración de los créditos), 87 (disposiciones contractuales
                                                              por no puestas), y 90 (compensación de derechos y
                                                              obligaciones); pues contrario a ello, tratándose de créditos
                                                              sujetos a leyes extranjeras se tendría que acudir a la
                                                              autoridad judicial competente a obtener una sentencia y
                                                              posteriormente homologarla.




                                                                   9. Expone que la regla del artículo 12 del Código Civil
                                                              Federal, relativa a que el derecho mexicano no es aplicable,
                                                              cuando se trate de derechos sometidos a leyes y tribunales
                                                              extranjeros, no es aplicable, ya que el derecho mexicano no
                                                              prevé la aplicación de un derecho extranjero en tratándose de
                                                              cuestiones concursales, por ser de orden público.
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                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.



                                                                                     10. Que el orden público previsto en la Ley de
                                                                             Concursos Mercantiles, tiene como fin limitar el uso y goce de
                                                                             los derechos fundamentales de los particulares y no evadan
                                                                             la aplicación de la ley de la materia.




                                                                                     11. Que lo solicitado fue que en apoyo a la competencia
                                                                             universal que tiene respecto a la comerciante y sus bienes y
                                                                             derechos, resolviera la vigencia de la cláusula 15, sección
                                                                             15.1 del acuerdo de emisión y la vigencia de los efectos de
                                                                             los actos jurídicos que de su aplicación derivaron.




                                                                                     12. Conforme al artículo 15, fracción II, del Código Civil
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                                                                             Federal, existe un impedimento legal para aplicar el derecho
                                                                             extranjero, ya que establece que, no se aplicará el derecho
                                                                             extranjero cuando sus disposiciones, o el resultado de su
                                                                             aplicación, sean contrarios a principios o instituciones
                                                                             fundamentales del orden público mexicano.




                                                                                     13. Es irrelevante la existencia o no de reciprocidad
                                                                             entre México y Noruega, ya que el aplicable es el derecho
                                                                             mexicano, pues la aplicación del derecho extranjero es
                                                                             contrario a los principios e instituciones fundamentales del
                                                                             derecho mexicano.




                                                                                     En el segundo agravio, la recurrente expone que los
                                                                             efectos de “tener por no puesta la cláusula” significa que no
                                                                             es capaz de producir efecto jurídico alguno ni acción o

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                                                              derecho nunca, de cualquier naturaleza y cualquier efecto
                                                              generado se destruye; entonces no produce efectos jurídicos
                                                              nunca, y no como contrariamente se sostuvo en el auto
                                                              combatido      desde         el   momento    en     que     se   declare
                                                              jurídicamente por no puesta.




                                                                    Finalmente, en el tercer agravio, exponen en esencia
                                                              la determinación de negar diversas medidas cautelares,
                                                              carece de congruencia y exhaustividad. al considerarse que
                                                              en términos del artículo 92 de la Ley de Concursos
                                                              Mercantiles, los contratos de las comerciantes deberían ser
                                                              cumplidos por éstas, salvo que el conciliador se opusiera, por
                                                              así convenir a los intereses de la masa.




                                                                    Empero, la disposición legal citada se refiere a los
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                                                              acuerdo      de     voluntades      pendientes      de     ejecución     o
                                                              cumplimiento que tengan relación con la operación y
                                                              funcionamiento ordinario de la empresa y que contengan
                                                              obligaciones de dar o hacer, sin que quede comprendido el
                                                              pago de créditos o pasivos anteriores.




                                                                    Que en el caso, ninguna de las medidas solicitadas se
                                                              relacionan     con     contratos       pendientes     de   ejecución     o
                                                              cumplimiento a cargo de las comerciantes, necesario para
                                                              continuar con la operación ordinaria, sino que la finalidad de
                                                              las medidas es mantener la viabilidad de las comerciantes,
                                                              evitando que Nordic Trustee As, antes Nordic Trustee ASA,
                                                              y Deutsche Bank México, sociedad anónima, institución
                                                              de banca múltiple, división fiduciaria, en su carácter de
                                                              fiduciaria   del     contrato     de    fideicomiso      irrevocable   de
                                                              administración y fuente de pago identificado con el número
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                                                                             F/1695, ejecuten bienes y derechos de las comerciantes en
                                                                             perjuicio de los acreedores.




                                                                                     CUARTO. Manifestaciones relativas a las vistas
                                                                             otorgadas con el medio de impugnación que se resuelve.
                                                                             Al respecto se advierte que:




                                                                                          Nordic Trustee As, antes Nordic Trustee ASA,
                                                                                             expuso que las recurrentes no combaten las
                                                                                             consideraciones torales de auto recurrido, y se
                                                                                             limitaron        a     cuestionar         los     fundamentos            y
                                                                                             consideraciones relativas a la incompetencia para
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                                                                                             “tener por no puesta” determinada cláusula
                                                                                             contractual; es decir, no atacaron la consideración
                                                                                             del suscrito relativa a que no contaba con
                                                                                             facultades para tener por no puesta la cláusula
                                                                                             mencionada.



                                                                                            Por su parte, Drilling, Pte. Ltd., Oro Negro
                                                                                             Primus, Pte. Ltd., Oro Negro Laurus, Pte. Ltd.,
                                                                                             Oro Negro Fortius, Pte. LTD., Oro Negro
                                                                                             Decus, Pte. Ltd., y Oro Negro Impetus, Pte.
                                                                                             Ltd., por conducto de su apoderado Manuel Ruiz
                                                                                             de Chávez Gutiérrez de Velasco, en relación al
                                                                                             primer agravio señala que la Ley de Concursos
                                                                                             Mercantiles           tiene       su      fundamento            en      la
                                                                                             Constitución Política de los Estados Unidos
                                                                                             Mexicanos,            cuya       aplicación          se      constriñe

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                                                                         únicamente al territorio nacional, en términos a los
                                                                         principios de soberanía estatal que rige el derecho
                                                                         internacional.



                                                                        Por lo que la Ley de Concursos Mercantiles y la
                                                                        jurisdicción del juez carecen de fuerza obligatoria
                                                                        extraterritorial; esto es, no tiene facultades para
                                                                        pronunciarse sobre su legalidad o aplicar esa ley
                                                                        fuera del territorio nacional.



                                                                        La aplicabilidad territorial de la ley concursal se
                                                                        corrobora con lo dispuesto por el artículo 16 de la
                                                                        ley de la materia, que dispone las sucursales de
                                                                        empresas extranjeras podrán ser declaradas en
                                                                        concurso mercantil, pero dicha declaración solo
                                                                        abarcará       bienes   y   derechos    localizados       y
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                                                                        exigibles en territorio nacional.



                                                                        La Ley de Concursos Mercantiles carece de
                                                                        reglas sobre la aplicación de leyes en el espacio,
                                                                        por lo que de conformidad con el artículo 8,
                                                                        fracción V, es aplicable el Código Civil Federal, de
                                                                        cuyo precepto 13, fracciones IV y V, disponen los
                                                                        actos jurídicos se regirán por el derecho de lugar
                                                                        de celebración y los efectos jurídicos de los
                                                                        contratos por el derecho del lugar de ejecución, a
                                                                        menos que las partes hubieran designado la
                                                                        aplicabilidad de otro derecho, como lo ocurrido.



                                                                        Entonces,       la   ley    mexicana     constriñe    la
                                                                        competencia del juez para conocer y decidir la
                                                                        validez de los actos jurídicos celebrado en el
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                                                                                             extranjero, respecto de los que las partes se
                                                                                             sometieron voluntariamente a la jurisdicción de
                                                                                             corte extranjera.



                                                                                             La ley de la materia es de interés público y
                                                                                             universal, se refiere a actos nacionales, o sujetos
                                                                                             a leyes nacionales.



                                                                                             En al acuerdo de emisión de bonos no sé atribuyó
                                                                                             competencia al juez mexicano ni por materia o
                                                                                             territorio, por lo que debe inhibirse de su
                                                                                             conocimiento, en atención a que:
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                                                                                                   a. Contiene una cláusula de jurisdicción,
                                                                                                       como lo pide el artículo 1093 del Código de
                                                                                                       Comercio.

                                                                                                   b. Únicamente fue suscrito por Oro Negro
                                                                                                       Drilling, PTE. LTD y Nordic Trust, ASA.

                                                                                                   c. No existe algún punto de contacto en que
                                                                                                       fundar la competencia.



                                                                                             Al analizar la competencia para declarar “tener
                                                                                             por no puesta” determinada cláusula contractual
                                                                                             no se infringió la cosa juzgada y preclusión
                                                                                             procesal, ya que dicha declaratoria implica la
                                                                                             nulidad de una cláusula de un acto diverso e
                                                                                             independiente al concurso mercantil, celebrado en



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                                                                        el extranjero y a la competencia de los tribunales
                                                                        noruegos.



                                                                        El acuerdo de emisión constituye un acto jurídico
                                                                        diverso e independiente al concurso mercantil,
                                                                        con reglas propias de jurisdicción y competencia,
                                                                        por lo que, no debe atenderse al artículo 17 de la
                                                                        Ley de Concursos Mercantiles, sino que debe ser
                                                                        analizado con las reglas de los artículos 1093 y
                                                                        1104 del Código de Comercio.



                                                                        Que en términos del artículo 13 del Código Civil
                                                                        Federal,       de    aplicación      supletoria    a   la   ley
                                                                        concursal, la forma de los actos jurídicos se rige
                                                                        por el derecho del lugar dónde se celebren, que
                                                                        en el caso concreto es Noruega, aunado a que
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                                                                        surte efectos en el país mencionado y los
                                                                        contratantes son entes extranjeros.



                                                                        Si bien la ley de concurso mercantiles es de orden
                                                                        público, esto es aplicable a situaciones jurídicas
                                                                        sometidas a leyes nacionales, pero no puede
                                                                        considerarse aplicable en contravención a la
                                                                        soberanía de otro país.



                                                                        Que la cláusula cuya nulidad se pretende no
                                                                        agrava la situación de la comerciante, ya que no
                                                                        incrementa          el   crédito     de    las    sociedades
                                                                        singapurenses, dado que no establece penas
                                                                        convencionales           adiciones     a   cargo       de   las
                                                                        comerciantes que pudiera incrementar el pasivo
                                                                        de las comerciantes.
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                                                                                             En relación al segundo agravio, refieren es
                                                                                             inoperante,            porque           no        se         combaten
                                                                                             consideraciones             esenciales         de      la    sentencia
                                                                                             impugnada, pues las recurrentes refieren se
                                                                                             interpretó inadecuadamente al artículo 87 de la
                                                                                             Ley      de     Concursos          Mercantiles,         lo    que      es
                                                                                             irrelevante ya que se declaró la incompetencia.



                                                                                             Por lo que hace al tercer agravio, manifiestan que
                                                                                             el acuerdo de emisión de bonos es un contrato
                                                                                             pendiente de ejecución ya que la deuda adquirida
                                                                                             fue por $939´100,570.00 (novecientos treinta y
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                                                                                             nueve millones cien mil quinientos setenta dólares
                                                                                             00/100 moneda de los Estados Unidos) y aún no
                                                                                             se encuentra pagada en su totalidad.



                                                                                             Además, de que al solicitar las medidas no se
                                                                                             expuso el peligro en la demora, la apariencia del
                                                                                             buen derecho y la idoneidad de las mismas.
                                                                                             Específicamente             omitió       narrar,       demostrar         y
                                                                                             mencionar la necesidad de la medida, y no cita la
                                                                                             urgencia de la medida, ni la idoneidad a partir de
                                                                                             elementos reales presentes y ciertos.



                                                                                          El conciliador expuso que en términos del
                                                                                             artículo 12 del Código Civil Federal, las leyes
                                                                                             mexicanas rigen a todas las personas que se
                                                                                             encuentran en territorio nacional, así como a los

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                                                                        actos ocurridos en el territorio, salvo cuando
                                                                        prevean la aplicación del derecho extranjero; y
                                                                        para     la    aplicación   del   derecho    extranjero
                                                                        sustantivo, debe hacerlo como lo haría aquel.



                                                                        Que el derecho extranjero al que se sometieron
                                                                        las partes en el acuerdo de bonos no es aplicable
                                                                        al presente asunto, por contrariar el orden público
                                                                        mexicano, por lo que en términos del artículo 87
                                                                        de la Ley de Concursos Mercantiles la cláusula
                                                                        15.1 debe declararse ineficaz; siendo irrelevante
                                                                        la falta de reciprocidad entre el Estado Mexicano y
                                                                        el Reino de Noruega, ya que dicha reciprocidad
                                                                        solo cobra relevancia cuando se trata de la
                                                                        ejecución de actos jurídicos, o bien, de la
                                                                        homologación, ejecución o reconocimiento de
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                                                                        determinaciones o resoluciones judiciales.



                                                                        Expone que existe conflicto de intereses entre la
                                                                        Ley de Concursos Mercantiles, que dispone la
                                                                        continuidad, conservación y viabilidad de la
                                                                        empresa es de orden público, y el acuerdo de
                                                                        emisión que señala la presentación de una
                                                                        solicitud de insolvencia o concurso mercantil por
                                                                        parte de Perforadora Oro Negro, sociedad de
                                                                        responsabilidad limitada de capital variable, es
                                                                        causa suficiente para que se verifique un evento o
                                                                        causa de incumplimiento y en consecuencia los
                                                                        bonos son declarados morosos.



                                                                        Por lo que la cláusula que se pretende “tener por
                                                                        no puesta”, violenta el orden jurídico mexicano, al
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                                                                                             hacer prohibitivo el concurso mercantil en México,
                                                                                             lo que es una vulneración al derecho humano de
                                                                                             justicia consagrado en el artículo 17 de la
                                                                                             Constitución Federal.



                                                                                             El artículo 87 de la Ley de Concursos Mercantiles
                                                                                             no hace ninguna referencia a la legislación que
                                                                                             rija el contrato respectivo, y es categórico al
                                                                                             señalar que se tendrá por no puesta cualquier
                                                                                             estipulación que establezca modificaciones que
                                                                                             agraven los términos de los contratos celebrados
                                                                                             por las concursas o sus filiales.
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                                                                                             Expone el auto recurrido es contario al artículo 87
                                                                                             de la Ley de Concursos Mercantiles y a la
                                                                                             institución del concurso mercantil en México, en
                                                                                             contravención a la conservación de la empresa,
                                                                                             sin que pueda pactarse lo contrario, pues sería
                                                                                             contrario al artículo 6 del Código Civil Federal.



                                                                                             Y que sostener lo contrario crearía un incentivo
                                                                                             para que los contratantes extranjeros incluyeran
                                                                                             cláusulas para evadir el derecho mexicano.



                                                                                             Por lo que en atención a la universalidad el
                                                                                             procedimiento              concursal           el       rector        del
                                                                                             procedimiento tiene competencia universal para
                                                                                             resolver cualquier cuestión relacionada con el
                                                                                             concurso mercantil.

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                                                                           Por lo que con fundamento en los artículos 91 y
                                                                           92 de la Ley de Concursos Mercantiles solicita se
                                                                           desaplique la cláusula 15.1 del contrato de bonos,
                                                                           por así convenir a la masa concursal.



                                                                          Deutsche Bank México, Sociedad Anónima,
                                                                           Institución     de    Banca     Múltiple,    División
                                                                           Fiduciaria, señaló que el único agravio es
                                                                           infundado, debido a que el acuerdo se acordó y
                                                                           resolvió respecto a la petición realizada, y si bien
                                                                           no resultó favorable, ello no implicaba una
                                                                           violación al principio de congruencia externa.



                                                                   QUINTO. Estudio. Atinente a ello, a efecto de dar
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                                                              estricto cumplimiento a la concesión de amparo otorgada a
                                                              las comerciantes por el Octavo Tribunal Colegiado en
                                                              Materia Civil del Primer Circuito, en el en el recurso de
                                                              revisión    R.C.   108/2020,      es   menester   remembrar      los
                                                              lineamientos establecidos a saber:




                                                                   (…)
                                                                   El acto reclamado por las quejosas es la resolución de
                                                                   veinticinco de febrero de dos mil diecinueve, dictada
                                                                   en el concurso mercantil 345/2017 de Perforadora Oro
                                                                   Negro, Sociedad de Responsabilidad Limitada de
                                                                   Capital Variable e Integradora de Servicios Petroleros
                                                                   Oro Negro, Sociedad Anónima Promotora de
                                                                   Inversión de Capital Variable, por el Juez Segundo de
                                                                   Distrito en Materia Civil en la Ciudad de México que
                                                                   resolvió el recurso de revocación que interpusieron las
                                                                   comerciantes en contra del auto de once de octubre
                                                                   de dos mil dieciocho, donde se estimó que el juez
                                                                   concursal no cuenta con facultades para tener por no
                                                                   puesta una cláusula del contrato de bonos -acuerdo
                                                                   de emisión de bonos- de veinticuatro de enero de dos
                                                                   mil catorce, por tratarse de un acuerdo de voluntades
                                                                   sometido a la legislación y tribunales de Noruega, sin
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                                                                                     que exista reciprocidad entre ambos Estados que
                                                                                     permita la aplicación extraterritorial de la ley,
                                                                                     adicionado a que se negaron las medidas cautelares
                                                                                     solicitadas por las citadas recurrentes.

                                                                                     Debe reiterarse que la litis constitucional se ciñó a
                                                                                     determinar la legalidad de las consideraciones que
                                                                                     sustentaron la sentencia reclamada y en la que se
                                                                                     concluyó que el juez concursal no tiene facultad para
                                                                                     tener por no puesta la cláusula 15.1 del contrato
                                                                                     de emisión de bonos de veinticuatro de enero de
                                                                                     dos mil catorce, suscrito entre Oro Negro Drilling Pte.
                                                                                     Ltd., como “emisor” y Nordic Trustee Asa, como
                                                                                     “fiduciario de bonos”.

                                                                                     La cláusula de referencia dice:

                                                                                     “15. Casos de incumplimiento.

                                                                                     15.1 El fiduciario de los bonos puede declarar que los bonos
                                                                                     son morosos después de que ocurre cualquiera de los
                                                                                     siguientes casos, en cada caso únicamente en la medida en
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                                                                                     que dichos casos ocurran después de la fecha del presente
                                                                                     documento:

                                                                                     (…)

                                                                                     g) Procedimientos de insolvencia y disolución.

                                                                                     Si se presenta cualquier acción corporativa, procedimiento
                                                                                     legal u otra fase del procedimiento para cualquiera entre el
                                                                                     emisor, la matriz o el fletador o cualquier propietario de la
                                                                                     plataforma en relación con:

                                                                                     i) La suspensión de pagos, la moratoria de cualquier
                                                                                     endeudamiento, la liquidación, la disolución, la
                                                                                     administración o la reorganización (por medio del acuerdo
                                                                                     voluntario, liquidación provisional, la administración legal,
                                                                                     el esquema de acuerdo o de otra manera distinta a la
                                                                                     liquidación por insolvencia o la reorganización."



                                                                                     En la sentencia recurrida se desestimaron los
                                                                                     conceptos de violación hechos valer por las aquí
                                                                                     recurrentes bajo las siguientes premisas:



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                                                                   1.- En el juicio de amparo no es una tercera instancia
                                                                   en donde el órgano de control constitucional pueda
                                                                   resolver el fondo de los temas planteados ante los
                                                                   juzgadores primigenios, ya que se trata de un juicio
                                                                   autónomo, cuya materia es diferente, por lo que no es
                                                                   dable realizar en el juicio de amparo de manera
                                                                   oficiosa el estudio de lo planteado por las quejosas
                                                                   ante el resolutor natural, porque el examen de la
                                                                   constitucionalidad del acto reclamado en cuestión
                                                                   solo puede hacerse a partir de los conceptos de
                                                                   violación.

                                                                   2.- Las quejosas externaron su voluntad de someterse
                                                                   a la ley de Noruega, por lo cual para determinar su
                                                                   competencia, no resulta ajustado a derecho que el
                                                                   juzgador solamente acuda a ordenamientos internos
                                                                   para decidir sobre la pretensión de las comerciantes.

                                                                   3.- Que para determinar si es factible aplicar una
                                                                   legislación sustantiva extranjera para interpretar el
                                                                   contrato de emisión de bonos, el juez debe atender a
                                                                   lo dispuesto en el artículo 12 del Código Civil Federal.

                                                                   4.- Que contrariamente a lo aducido por las quejosas,
                                                                   resultaba indispensable que acreditaran la existencia
                                                                   del contenido del derecho invocado ante el juez
                                                                   federal de origen, así como de la reciprocidad entre el
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                                                                   Estado que ha de aplicar la ley externa -México, con
                                                                   motivo de la tramitación de un concurso mercantil- y el
                                                                   Estado extranjero -Noruega- cuyo derecho sustancial
                                                                   se debe aplicar para resolver la cuestión planteada,
                                                                   pero al no hacerlo, resultó inconcuso que el juez
                                                                   concursal no estaba obligado a aplicar la legislación
                                                                   extranjera para dilucidar la pretensión de las
                                                                   comerciantes.

                                                                   5.- Que no es factible sostener que el Juez de Distrito
                                                                   válidamente puede tener por no puesta una cláusula
                                                                   del contrato en comento para declarar la ineficacia de
                                                                   los actos indicados por la comerciante, pues ello
                                                                   implicaría la exclusión de una estipulación contractual
                                                                   de dicho pacto, en el cual las partes se remitieron a la
                                                                   legislación de Noruega, sin que las impetrantes
                                                                   cumplieran con la carga indicada con antelación.

                                                                   6.- Contrariamente a lo aducido por las quejosas, el
                                                                   juez federal de origen sostuvo que son infundados los
                                                                   agravios inherentes a que la negativa de decretar las
                                                                   medidas solicitadas carece de congruencia y
                                                                   exhaustividad, dado que los contratos a que aluden
                                                                   deben ser cumplidos por las comerciantes, salvo que
                                                                   el conciliador se oponga de conformidad con lo
                                                                   establecido en el numeral 92 de la Ley de Concursos
                                                                   Mercantiles, en relación con lo cual explicó que dicho
                                                                   precepto no excluía a aquellos pactos volitivos a los
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                                                                                     cuales las quejosas pretendían que se aplicaran tales
                                                                                     medidas.

                                                                                     De los enunciados antes indicados se desprende que,
                                                                                     contrario a lo que afirman las recurrentes, la sentencia
                                                                                     recurrida no es incongruente, puesto que el Juez de
                                                                                     Distrito analizó sus cuatro motivos de inconformidad y
                                                                                     expuso porqué los calificó de infundados, de ahí que
                                                                                     la sentencia impugnada no sea incongruente, pues de
                                                                                     su lectura se advierte se desprende que el juez
                                                                                     federal al momento de pronunciarla, realizó la fijación
                                                                                     clara y precisa de los actos reclamados; apreció las
                                                                                     pruebas conducentes para tenerlos por demostrados;
                                                                                     indicó los fundamentos legales en que se apoyó para
                                                                                     negar el amparo solicitado, así como los puntos
                                                                                     resolutivos con que concluyó, analizando dichos actos
                                                                                     como se probaron ante la autoridad responsable,
                                                                                     dando así cumplimiento a lo dispuesto por los
                                                                                     artículos 73, 74 y 75 de la Ley de Amparo.

                                                                                     En el segundo agravio las recurrentes sostienen que
                                                                                     el Juez de Distrito recurrido, violó en su perjuicio los
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                                                                                     artículos 74 de la Ley de Amparo, 1 y 87 de la Ley de
                                                                                     Concursos Mercantiles y el artículo 12 del Código Civil
                                                                                     Federal, en virtud de que el derecho sustantivo
                                                                                     aplicable al caso es el mexicano y no el extranjero.

                                                                                     Esto afirman las recurrentes es así, porque de
                                                                                     conformidad con el artículo 1 de la Ley de Concursos
                                                                                     Mercantiles, todas las cuestiones concursales y,
                                                                                     específicamente lo relativo a la conservación de las
                                                                                     empresas es de orden público y de interés social, ya
                                                                                     que tienden a proteger los intereses de toda una
                                                                                     colectividad y el objeto de ese ordenamiento es
                                                                                     maximizar el valor de una empresa en crisis mediante
                                                                                     su conservación, con lo cual se protege el empleo de
                                                                                     sus factores humanos y se evita la repercusión
                                                                                     económica negativa a la sociedad.

                                                                                     Señalan que el Código Civil Federal en su artículo 6
                                                                                     dispone que la voluntad de los particulares no puede
                                                                                     eximir de la observancia de la ley, ni alterarla o
                                                                                     modificarla y sólo pueden renunciarse los derechos
                                                                                     privados que no afecten directamente el interés
                                                                                     público, lo que quiere decir que para el caso de que
                                                                                     una estipulación contractual afecte el interés público,
                                                                                     ésta no puede ser observada, pues tal pacto
                                                                                     carecería de validez jurídica y que, por esas razones,
                                                                                     contrario a lo que resolvió el A quo, el derecho
                                                                                     sustantivo aplicable para resolver su petición de tener
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                                                                      por no puesta una cláusula contractual es el mexicano
                                                                      y, particularmente, el artículo 87 de la Ley de
                                                                      Concursos Mercantiles, sin que sea obstáculo para
                                                                      ello que en el acuerdo de emisión de bonos sus
                                                                      celebrantes se hayan sometido a la legislación
                                                                      extranjera, ya que las disposiciones de la Ley de
                                                                      Concursos Mercantiles son de orden público en la
                                                                      medida en que procuran la conservación de la
                                                                      empresa, siendo la conservación de ésta uno de los
                                                                      bienes jurídicos tutelados por el Estado, por ser de
                                                                      gran importancia para la sociedad y la economía
                                                                      nacional, y por lo tanto, las disposiciones de la ley
                                                                      concursal son de aplicación inmediata, territorial e
                                                                      imperativa, sobre cualquier otro derecho pactado por
                                                                      las partes.

                                                                      Explican que de no aplicar el artículo 87 de la Ley de
                                                                      Concursos Mercantiles al acuerdo de emisión de
                                                                      bonos (so pretexto de que en la cláusula 19.7.1 de
                                                                      dicho acuerdo las partes pactaron la aplicación del
                                                                      derecho noruego), se le permite a su acreedora
                                                                      principal Nordic Trustee As, declarar un evento de
                                                                      incumplimiento y, con ello, declarar la aceleración de
                                                                      los bonos y llevar a cabo la ejecución de las garantías
                                                                      otorgadas, es decir, se le permite realizar ejecuciones
                                                                      privadas y unilaterales de los bienes de las
                                                                      comerciantes (lo cual se encuentra categóricamente
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                                                                      prohibido por la Ley de Concursos Mercantiles, y se
                                                                      traduce en violar el principio de par condictio
                                                                      creditorum), y la afectación al mecanismo de
                                                                      distribución de recursos conforme            fideicomiso
                                                                      F/1695, lo cual es contrario a la conservación de la
                                                                      empresa, ya que dichos actos generan la inminente
                                                                      quiebra de las comerciantes e impiden la realización
                                                                      de sus operaciones ordinarias, por lo que es evidente
                                                                      que de conformidad en el artículo 6 del Código Civil
                                                                      Federal, es imperativo que no se observe la cláusula
                                                                      19.7.1 del acuerdo de emisión de bonos, ya que con
                                                                      motivo de su aplicación se afecta directamente el
                                                                      interés social.

                                                                      Los argumentos de las recurrentes son fundados.

                                                                      En efecto, el Juez Segundo de Distrito en Materia Civil
                                                                      en la Ciudad de México que conoce del concurso
                                                                      mercantil de las recurrentes debió establecer en la
                                                                      sentencia reclamada, en primer lugar, si la cláusula
                                                                      15.1 del contrato de emisión de bonos, agravaba la
                                                                      situación de las comerciantes, puesto que, como lo
                                                                      consideró este órgano colegiado en la ejecutoria que
                                                                      resolvió el recurso de revisión 21/201915, el trece de


                                                              15 Por la trascendencia que tiene en el caso, es conveniente traer las consideraciones que
                                                              interesan, por ser verdad legal, vertidas por este tribunal colegiado al resolver el recurso de
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                                                                             revisión 21/2019 en la sentencia que se pronunció el trece de marzo de dos mil diecinueve y
                                                                             que son las siguientes:

                                                                             "Si en el acuerdo de emisión de bonos, las partes convinieron en las cláusulas 19.7, puntos
                                                                             19.7.1, 19.7.2 y 19.7.3, que cualquier conflicto que surja entre el fiduciario de los bonos, los
                                                                             tenedores de bonos y cualquier obligado, como el fletador (en este caso Perforadora Oro
                                                                             Negro, Sociedad de Responsabilidad Limitada de Capital Variable) se resolverían conforme a la
                                                                             legislación de Noruega, sin embargo, ese sometimiento no impedía al juez concursal
                                                                             pronunciarse respecto de aquellas medidas cautelares que tuvieran por objeto conservar la
                                                                             materia del concurso mercantil y con base en el imperativo previsto en el artículo 87 de la ley
                                                                             de la materia, podía tener por no puesta cualquier estipulación contractual que con motivo
                                                                             de la presentación de la solicitud del concurso o de su declaración, estableciera
                                                                             modificaciones que agraven para el Comerciante los términos de los contratos.

                                                                             En efecto, permitir que la acreedora Nordic Trustee Asa, ejecute las garantías, dejaría sin
                                                                             efectos el concurso mercantil de las comerciantes, que no tiene como objetivo principal llevar a
                                                                             la quiebra a los comerciantes, pues esto afectaría los objetivos económicos del Estado en
                                                                             relación con sus gobernados, sino que, el objetivo principal de la Ley de Concursos Mercantiles,
                                                                             es conservar a las empresas y evitar que el incumplimiento generalizado de sus obligaciones de
                                                                             pago pongan en riesgo su viabilidad y de sus correlativas con las que tengan negocios, es decir,
                                                                             busca proteger a la empresa para preservar su operación y los empleos que genera, a fin de
                                                                             conservar el equilibrio entre el comerciante y sus acreedores (…)

                                                                             Conforme a los artículos transcritos, no existe impedimento legal para que el juez del concurso
                                                                             emita resolución respecto a la medida cautelar solicitada, consistente en que no se ejecute el
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                                                                             contrato de bonos, esto por lo que hace a la entrega a Nordic Trustee Asa, de las garantías
                                                                             consistentes en las plataformas marinas autoelevables, identificadas como Primus, Laurus,
                                                                             Fortius, Decus e Impetus, ya que de otra forma, el concurso mercantil se acabaría ante la falta
                                                                             de los bienes que producen el numerario para la operación tanto de la comerciante como de
                                                                             las empresas que conforman su grupo societario, pudiendo provocarse la quiebra de todos, en
                                                                             contravención a los objetivos previstos en la Ley de Concursos Mercantiles.

                                                                             En efecto, el juez del concurso no puede pronunciarse respecto de aquellas medidas
                                                                             cautelares que impliquen la nulidad, modificación, exclusión o resolución de ciertas cláusulas
                                                                             del contrato de emisión de bonos, celebrado el veinticuatro de enero de dos mil catorce y sus
                                                                             convenios modificatorios, toda vez que las partes que lo suscribieron convinieron en que
                                                                             cualquier conflicto que surja entre el fiduciario de los bonos, los tenedores de bonos y cualquier
                                                                             obligado, como el fletador (en este caso Perforadora Oro Negro, Sociedad de Responsabilidad
                                                                             Limitada de Capital Variable) se resolverían conforme a la legislación de Noruega, sin
                                                                             embargo, legalmente puede acordar aquellas que impliquen ejecutar las garantías y cuyo
                                                                             objeto sea contrario a preservar la viabilidad de las comerciantes.

                                                                             Esto es, que no se entreguen las plataformas marinas a Nordic Trustee Asa, pero no tiene
                                                                             facultad para resolver el contrato de emisión de bonos, es decir, no puede acordar aquellas
                                                                             medidas cautelares tendentes a modificar, nulificar alguna declaración de incumplimiento
                                                                             del contrato de emisión de bonos, porque las partes convinieron en las cláusulas 19.7, puntos
                                                                             19.7.1, 19.7.2 y 19.7.3, que cualquier conflicto que surja entre el fiduciario de los bonos, los
                                                                             tenedores de bonos y cualquier obligado, como el fletador (en este caso Perforadora Oro
                                                                             Negro, Sociedad de Responsabilidad Limitada de Capital Variable) se resolverían conforme a la
                                                                             legislación de Noruega, ante los tribunales de ese país.

                                                                             Las medidas referidas son las que se enunciaron por las inconformes como sigue:

                                                                             "Dejar sin efectos:

                                                                             "I.- La notificación de veinticinco de septiembre de dos mil diecisiete, suscrita por Olav
                                                                             Slagsvold, en representación de Nordic Trustee ASA, en su calidad de representante común en
                                                                             el acuerdo de emisión de bonos mencionados, mediante la cual pretendió declarar un evento
                                                                             de incumplimiento con motivo de la solicitud de concurso mercantil de origen;


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                                                              II.- La remoción y nueva designación de consejeros de:
                                                              1. Oro Negro Drilling, Pte. Ltd.; 2. Oro Negro Primus Pte. Ltd.; 3. Oro Negro Laurus Pte. Ltd.; 4.
                                                              Oro Negro Fortius Pte. "Ltd.; 5. Oro Negro Decus Pte. Ltd.; y, 6. Oro Negro Impetus "Pte. Ltd.;
                                                              y,

                                                              III.- La transmisión de las acciones representativas del capital social de Oro Negro Drilling,
                                                              Pte. Ltd."

                                                              Son ilustrativas al caso, las consideraciones que vertió la Primera Sala de la Suprema Corte de
                                                              Justicia de la Nación, al resolver la contradicción de tesis 372/2015, entre las sustentadas por
                                                              el Segundo Tribunal Colegiado en Materia Civil del Tercer Circuito y el Primer Tribunal
                                                              Colegiado en Materias Civil y de Trabajo del Segundo Circuito, actual Primer Tribunal Colegiado
                                                              en Materia Civil del Segundo Circuito en la ejecutoria que pronunció el quince de noviembre de
                                                              dos mil diecisiete que dicen:

                                                              "III. La determinación de la ley aplicable para sustanciar el proceso y la ley aplicable para
                                                              resolver el conflicto derivado de la relación jurídica privada internacional.

                                                              70. La determinación de la ley aplicable para sustanciar el proceso en que se dirime una
                                                              controversia derivada de una relación jurídica internacional, por regla general, está dada por
                                                              la determinación de la competencia internacional del Juez y de su competencia interna; ello,
                                                              porque si el Juez reconoce su competencia en esos dos ámbitos, por consecuencia, el proceso
                                                              jurisdiccional se debe sustanciar bajo las disposiciones de su ley adjetiva, conforme al principio
                                                              prevaleciente en materia de normas conflictuales denominado "lex fori regit processum" (la ley
                                                              del foro rige el proceso); a menos que, conforme a las circunstancias del caso concreto, por
                                                              excepción, pudiere resultar observable alguna norma procesal distinta, derivada de fuente
                                                              convencional o de especificidades del propio ordenamiento interno.

                                                              71. Por otra parte, la determinación de la ley material o sustantiva aplicable en la solución de
                                                              la controversia (la ley que resolverá el fondo del asunto) implica necesariamente la labor de
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                                                              establecer cuál es el derecho que debe regir la relación jurídica material internacional, incluso,
                                                              determinar según el caso, si sólo algunos aspectos de la relación jurídica sustancial quedan
                                                              regulados por la ley sustantiva perteneciente a un determinado Estado, y otros aspectos se
                                                              encuentran sometidos a la ley de un Estado diverso, pues como se ha explicado, la complejidad
                                                              que pudiere tener la relación jurídica privada internacional, dependerá de los elementos o
                                                              puntos de conexión que ésta tenga con diversos órdenes jurídicos.

                                                              72. En la doctrina del derecho internacional privado, se precisa que la determinación del
                                                              derecho aplicable a la relación jurídica privada internacional, puede reconocer como tal, al
                                                              derecho interno de cualquiera de los sistemas jurídicos estatales involucrados en la relación,
                                                              esto es, el derecho del Estado en que se promueve el juicio, o el derecho de un Estado
                                                              extranjero, pero siempre debe ser el que resulte de mayor conformidad con la naturaleza de la
                                                              misma y con la materia de la controversia; y que, la norma sustancial aplicable, debe ser única
                                                              y adecuada, pues una relación jurídica, o un mismo aspecto de ella, no debe admitirse
                                                              sometido, al mismo tiempo, a más de un sistema jurídico, ante el riesgo de la contradicción(37)
                                                              y conforme a elementales razones de seguridad jurídica.

                                                              73. Así, las normas de conflicto que establecen las reglas para la elección del derecho
                                                              sustantivo aplicable para la solución de la controversia de derecho internacional privado, por
                                                              regla general, atienden al elemento de la relación jurídica internacional que resulte
                                                              determinante en la litis planteada (los sujetos, el objeto, el acto y/o la causa) y a su punto de
                                                              contacto o conexión más objetivo con el derecho que conforme a su naturaleza sea el
                                                              adecuado para regirlo, que puede ser, según la relación, el derecho nacional del Estado donde
                                                              se plantea la demanda o el derecho del Estado extranjero.

                                                              74. En ese sentido, la doctrina reconoce como criterios básicos en la determinación de ese
                                                              vínculo entre la relación jurídica y el derecho sustancial que debe regirla, que cuando el
                                                              elemento determinante de la relación jurídica acorde con la materia de controversia
                                                              planteada, radica en los sujetos (la persona) el punto de conexión con el derecho aplicable
                                                              estará en favor del sistema jurídico que le corresponda conforme a su nacionalidad o a su
                                                              domicilio; cuando ese elemento determinante de la relación jurídica radique en los bienes (el
                                                              objeto) el sistema jurídico prevaleciente por naturaleza será el de la ubicación de éstos; y
                                                              cuando tal elemento determinante sea el acto o la causa de éste, la conexión podrá definirse
                                                              en función del lugar de su celebración o del lugar de ejecución de las obligaciones relativas;
                                                              esto, de manera que el derecho sustancial que se determine como aplicable sea el que esté
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                                                                                     marzo de dos mil diecinueve, el juez concursal debió
                                                                                     pronunciarse respecto de esa situación, sin concluir
                                                                                     que era incompetente, ya que de conformidad con el
                                                                                     artículo 87 de la Ley de Concursos Mercantiles, el
                                                                                     instructor válidamente puede tener por no puesta
                                                                                     cualquier estipulación contractual que con motivo de
                                                                                     la presentación de una solicitud o demanda de
                                                                                     concurso mercantil, o de su declaración, establezca
                                                                                     modificaciones que agraven para el Comerciante los
                                                                                     términos de los contratos.

                                                                                     La aplicación del artículo citado no implica ni el
                                                                                     desconocimiento del derecho extranjero, ni dejar sin
                                                                                     efectos nulificar, modificar o extinguir los contratos al
                                                                                     amparo de las leyes a que se haya sujetado la
                                                                                     comerciante y sus acreedores, sino únicamente se
                                                                                     persigue no agravar la situación de la empresa
                                                                                     declarada en concurso, partiendo de la base de que el
                                                                                     procedimiento concursal se ventila en México y que
                                                                                     su objeto fundamental es preservar la empresa sin
                                                                                     dejar de mantener un principio de igualdad entre los
                                                                                     acreedores.
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                                                                                     Es claro que si en la sentencia reclamada el juez
                                                                                     responsable partió de la premisa que las recurrentes
                                                                                     pretendieron nulificar la cláusula relativa del contrato
                                                                                     de emisión de bonos, las conclusiones de su fallo
                                                                                     fueron incorrectas, porque lo que debió desentrañar
                                                                                     era si era posible o no dejarla de aplicar, pero
                                                                                     partiendo de la base de que válidamente puede tener
                                                                                     por no puesta cualquier estipulación contractual que
                                                                                     con motivo de la presentación de una solicitud o
                                                                                     demanda de concurso mercantil, o de su declaración,
                                                                                     establezca modificaciones que agraven para el
                                                                                     Comerciante.



                                                                             más íntimamente ligado a la naturaleza de la relación jurídica privada internacional y de la
                                                                             controversia que emana de ella."

                                                                             En ese estado las cosas, el Juez responsable no debió dejar de acordar en su totalidad las
                                                                             medidas cautelares, sino pronunciarse sobre aquella en que se solicitó no ejecutar las
                                                                             garantías referidas en el acuerdo de emisión de bonos modificado y reexpresado el
                                                                             veintinueve de abril de dos mil dieciséis, modificado el dos de junio de dos mil dieciséis y el
                                                                             veintinueve de septiembre de dos mil dieciséis, y nuevamente modificado y reexpresado en su
                                                                             totalidad el nueve de noviembre de dos mil dieciséis, determinando la prohibición a Nordic
                                                                             Trustee Asa, para apoderarse de las plataformas marinas autoelevables, identificadas como
                                                                             Primus, Laurus, Fortius, Decus e Impetus, hasta en tanto no se resolviera lo conducente en el
                                                                             juicio concursal 345/2017 y no pronunciarse respecto de las relativas a modificar, nulificar o
                                                                             resolver el acuerdo de bonos citado o sus cláusulas o cuestiones ajenas al concurso
                                                                             mercantil."


                                                                                                                                                                         45
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                                                                   En ese orden de ideas, para establecer la posibilidad
                                                                   de no aplicar la cláusula 15.1 del contrato de emisión
                                                                   de bonos, el juez responsable debió ponderar si era
                                                                   viable paralizar ciertos efectos del referido contrato,
                                                                   advirtiendo cuáles serían las consecuencias de su
                                                                   aplicación y si éstas agravaban o no la situación de
                                                                   las comerciantes.

                                                                   Entiéndase que tener por no puesta una cláusula
                                                                   contractual, no implica modificar, nulificar o resolver el
                                                                   acuerdo de emisión de bonos de veinticuatro de enero
                                                                   de dos mil catorce, sino que se trata de suspender
                                                                   sus efectos con el único propósito de no agravar la
                                                                   situación de la comerciante declarada en concurso
                                                                   mercantil.

                                                                   Lo anterior hace procedente revocar la sentencia
                                                                   recurrida y conceder a las quejosas el amparo y
                                                                   protección de la Justicia de la Unión que solicitan,
                                                                   para los siguientes efectos:

                                                                   1.- Para que el juez responsable deje insubsistente la
                                                                   sentencia reclamada y en su lugar dicte una nueva en
                                                                   la que:

                                                                   2.- Con base en lo considerado en la presente
                                                                   ejecutoria, establezca cuáles son las consecuencias
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                                                                   inmediatas de la aplicación de la cláusula 15.1 del
                                                                   contrato de emisión de votos (sic), para determinar si
                                                                   agrava la situación de las comerciantes y,

                                                                   3.- En caso de que concluya que la aplicación de la
                                                                   cláusula en comento agrava la situación de las
                                                                   comerciantes, disponga dejarla de aplicar, resolviendo
                                                                   lo que en derecho proceda.

                                                                   (…)”



                                                                   Como se advierte, el tribunal revisor acotó los
                                                              motivos de disenso planteados por las impetrantes a efecto
                                                              de determinar si resulta o no procedente que el suscrito
                                                              juzgador tenga por no puesta una cláusula del contrato de
                                                              emisión de bonos de veinticuatro de enero de dos mil catorce,
                                                              modificado y reexpresado el veintinueve de abril de dos mil
                                                              dieciséis, modificado el dos de junio de dos mil dieciséis y el
                                                              veintinueve de septiembre de dos mil dieciséis, y nuevamente
                                                              modificado y reexpresado en su totalidad el nueve de
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                                                                             noviembre de dos mil dieciséis, suscrito entre Oro Negro
                                                                             Drilling Pte. Ltd., como “emisor” y Nordic Trustee Asa,
                                                                             como “fiduciario de bonos”.




                                                                                     Evidenciando que, por ser verdad legal, el suscrito
                                                                             como juez concursal no puede modificar, nulificar o
                                                                             resolver el acuerdo de emisión de bonos de veinticuatro
                                                                             de enero de dos mil catorce, modificado y reexpresado el
                                                                             veintinueve de abril de dos mil dieciséis, modificado el dos de
                                                                             junio de dos mil dieciséis y el veintinueve de septiembre de
                                                                             dos mil dieciséis, y nuevamente modificado y reexpresado en
                                                                             su totalidad el nueve de noviembre de dos mil dieciséis, y
                                                                             que sí puede con base en el artículo 87 de la ley de la Ley
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                                                                             de Concursos Mercantiles tener por no puesta cualquier
                                                                             estipulación           contractual           que       con       motivo         de      la
                                                                             presentación de la solicitud del concurso o de su
                                                                             declaración, estableciera modificaciones que agraven
                                                                             para el Comerciante los términos de los contratos.




                                                                                     Así, siguiendo los lineamientos planteados por el
                                                                             tribunal de amparo indicó se estableciera:




                                                                                     1. Cuáles son las consecuencias inmediatas de la
                                                                                         aplicación de la cláusula 15.1 del contrato de emisión
                                                                                         de bonos.


                                                                                     2. En virtud de dichas consecuencias determinar si
                                                                                         agrava la situación de las comerciantes Perforadora

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                                                                             Oro       Negro,        Sociedad       de    Responsabilidad
                                                                             Limitada de Capital Variable, e Integradora de
                                                                             Servicios         Petroleros        Oro     Negro,   Sociedad
                                                                             Anónima Promotora de Inversión de Capital
                                                                             Variable.


                                                                         3. En caso de concluir que la aplicación de la cláusula
                                                                             en comento agrava la situación de las comerciantes,
                                                                             se disponga dejarla de aplicar, resolviendo lo que
                                                                             en derecho proceda.




                                                                         Ahora, a efecto de evidenciar el primer punto en
                                                              comento, resulta necesario transcribir la cláusula 15.1 (g) (i)16
                                                              del acuerdo de emisión de bonos de veinticuatro de enero de
                                                              dos mil catorce, modificado y reexpresado el veintinueve de
                                                              abril, dos de junio, veintinueve de septiembre y nueve de
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                                                              noviembre, todos de dos mil dieciséis, así como las cláusulas
                                                              15.2, 15.3 y 15.4, en las cuales se establecen las
                                                              consecuencias de la declaración de Bonos morosos (casos
                                                              de incumplimiento), a fin de advertir las consecuencias
                                                              inmediatas en caso de actualización de una infracción, las
                                                              cuales son del tenor literal siguiente:




                                                                         “15. Casos de Incumplimiento

                                                                         15.1 El Fiduciario de los Bonos puede declarar que
                                                                         los Bonos son morosos después de que ocurre
                                                                         cualquiera de los siguientes casos, en cada caso
                                                                         únicamente en la medida en que dichos casos
                                                                         ocurran      después         de    la   fecha   del   presente
                                                                         documento:


                                                              16   Materia del presente medio de impugnación.
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                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.



                                                                                     (…)

                                                                                     (g) Procedimientos de insolvencia y disolución

                                                                                     Si    se     presenta        cualquier       acción      corporativa,
                                                                                     procedimiento legal u otra fase del procedimiento
                                                                                     para cualquiera entre el Emisor, la Matriz, el
                                                                                     Fletador o cualquier Propietario de la Plataforma en
                                                                                     relación con:

                                                                                     (i) la suspensión de pagos, la moratoria de cualquier
                                                                                     endeudamiento, la liquidación, la disolución, la
                                                                                     administración o la reorganización (por medio del
                                                                                     acuerdo voluntario, la liquidación provisional, la
                                                                                     administración legal, el esquema de acuerdo o de
                                                                                     otra manera) distinta a la liquidación por insolvencia
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                                                                                     o la reorganización;

                                                                                     (…)




                                                                                     15.2 En caso de que ocurra y continúe una o más
                                                                                     de las circunstancias que se mencionan en la
                                                                                     Cláusula 15.1, el Fiduciario de los Bonos puede,
                                                                                     para proteger los intereses de los Tenedores de
                                                                                     Bonos, declarar los Bonos en Circulación, incluido
                                                                                     el interés devengado, los costos y los gastos como
                                                                                     morosos y vencido para pago inmediato.

                                                                                     El Fiduciario de los Bonos puede, conforme a su
                                                                                     discreción, implementar la medida necesaria para
                                                                                     recuperar los montos vencidos conforme los Bonos
                                                                                     en Circulación y todos los montos pendientes



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                                                                   conforme el presente Contrato de Bonos y cualquier
                                                                   otro Documento Financiero.

                                                                   15.3 En caso de que ocurra y continúe una o más
                                                                   de las circunstancias que se mencionan en la
                                                                   Cláusula 15.1, el Fiduciario de los Bonos declarará
                                                                   los Bonos en Circulación, incluido el interés
                                                                   devengado, los costos y los gastos como morosos y
                                                                   vencidos para pago inmediato si:

                                                                   (a) el Fiduciario de los Bonos recibe la solicitud por
                                                                   escrito de que se declarará el incumplimiento de los
                                                                   Tenedores de Bonos que representan al menos una
                                                                   1/5 parte (una quinta parte) de los Bonos con
                                                                   Derecho de Voto y la Asamblea de Tenedores de
                                                                   Bonos no ha determinado otras soluciones, o

                                                                   (b) la Asamblea de Tenedores de Bonos ha
                                                                   terminado con la mayoría simple declarar los Bonos
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                                                                   en Circulación como morosos y vencidos para pago.

                                                                   En cualquier caso, el Fiduciario de los Bonos
                                                                   implementará          cada   medida     necesaria    para
                                                                   recuperar los montos vencidos conforme los Bonos
                                                                   en Circulación. El Fiduciario de los Bonos puede
                                                                   solicitar la garantía prendaria satisfactoria para
                                                                   cualquier posible pasivo y gastos previstos de
                                                                   dichos Tenedores de Bonos que solicitaron que se
                                                                   realizara la declaración de incumplimiento conforme
                                                                   la subcláusula (a) anterior y/o aquellos que votaron
                                                                   a favor de la decisión conforme la subcláusula (b)
                                                                   anterior.

                                                                   15.4 En caso de que el Fiduciario de los Bonos
                                                                   conforme los términos de la cláusula 15.2           o 15.
                                                                   Declare los Bonos en Circulación como morosos y
                                                                   vencidos para pago, el Fiduciario de los Bonos
                                                                   entregará de inmediato al Emisor una notificación
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                                                                                     en la cual solicite el pago del interés y el principal
                                                                                     vencidos a los Tenedores de Bonos conforme los
                                                                                     Bonos en Circulación, incluido el interés devengado
                                                                                     y el interés sobre los montos y los gastos vencidos.
                                                                                     La reclamación que se derivó de los Bonos en
                                                                                     Circulación vencidos para pago como resultado de
                                                                                     un Caso de Incumplimiento se calculará al precio
                                                                                     que se establece en la Cláusula 10.1.1(a) para
                                                                                     reembolso en la Fecha de Vencimiento.”17




                                                                                     De la trascripción en comento se colige que actualizado
                                                                             un caso de incumplimiento previsto en la cláusula 15.1 del
                                                                             contrato de bonos, verbigracia “Procedimientos de insolvencia
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                                                                             y disolución” trae como consecuencia que:




                                                                                         El fiduciario de los bonos18 (Nordic Trustee ASA)
                                                                                            los declare en circulación, incluidos el interés
                                                                                            devengado, los costos y los gastos como morosos
                                                                                            y vencidos para pago inmediato.
                                                                             17Definiciones según el contrato de bonos:
                                                                             Fiduciario de los bonos: Nordic Trustee ASA.
                                                                             Bonos: significa los instrumentos de deuda emitidos por el Emisor conforme a este Contrato
                                                                             de Bonos.
                                                                             Emisor: Oro Negro Drilling PTE. LTD.
                                                                             La Matriz: significa Integradora de Servicios Petroleros Oro Negro, Sociedad Anónima
                                                                             Promotora de Inversión de Capital Variable, una sociedad constituida en México (no. de
                                                                             registro 413253-1).

                                                                             18 Definición de Bono según el contrato de bonos:
                                                                             “2.5 Los Bonos
                                                                             2.5.1 A partir de la Fecha de Modificación, el Emisor tendrá Bonos en Circulación con un monto
                                                                             total de capital de aproximadamente USD 939,1005,570 (novecientos treinta y nueve millones
                                                                             cien mil quinientos setenta Dólar Estadounidenses) y un interés acumulado e impago de
                                                                             aproximadamente USD 38,039,791 (treinta y ocho millones treinta y nueve mil setecientos
                                                                             noventa y uno Dólar Estadounidenses).
                                                                             2.5.2 El Valor Nominal de cada Bono es de USD 1 (un Dólar Estadounidense) cada uno con una
                                                                             suscripción mínima y asignación de USD 200,000 (doscientos mil Dólar Estadounidenses) y
                                                                             múltiplos enteros de USD 100,000 (cien mi Dólar Estadounidenses). Los Bonos se clasificarán
                                                                             pari passu entre ellos”

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                                                                            El fiduciario de los bonos, conforme a su
                                                                                discreción, implemente las medidas necesarias
                                                                                para recuperar los montos vencidos conforme los
                                                                                bonos en circulación y todos los montos pendientes
                                                                                conforme el acuerdo de bonos y cualquier otro
                                                                                documento financiero (pactado en el mismo).


                                                                            El fiduciario de los bonos entregue de inmediato al
                                                                                Emisor (Oro Negro Drilling PTE. LTD.) una
                                                                                notificación en la cual solicite el pago del interés y
                                                                                el principal vencidos a los Tendedores de Bonos
                                                                                conforme los bonos en circulación, incluido el
                                                                                interés devengado y el interés sobre los montos y
                                                                                los gastos vencidos.
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                                                                         Lo anterior, -como se aprecia dicho acuerdo de
                                                              voluntades-19 a efecto de proteger los intereses de los
                                                              tenedores de Bonos.




                                                                         Ahora, con base en lo antes expuesto, se procede a
                                                              determinar conforme al segundo punto de los efectos
                                                              concesorios del amparo, si como resultado de la actualización
                                                              de uno de los casos de incumplimiento (cláusula 15.1)
                                                              enlistados en el acuerdo de bonos –en específico el inciso (g)
                                                              subinciso (i)–20; agrava o no a las comerciantes Perforadora
                                                              Oro Negro, Sociedad de Responsabilidad Limitada de
                                                              Capital Variable, e Integradora de Servicios Petroleros



                                                              19Esto claro, sin que el suscrito como juez concursal interprete el acuerdo de emisión de
                                                              bonos de veinticuatro de enero de dos mil catorce, como lo estableció el Tribunal de amparo.

                                                              20   Que se peticiona se tenga por no opuesta.
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                                                                             Oro Negro, Sociedad Anónima Promotora de Inversión de
                                                                             Capital Variable.




                                                                                     Ello, con base en lo establecido por el tribunal revisor
                                                                             en el sentido que el suscrito como juez concursal no puede
                                                                             modificar, nulificar o resolver el acuerdo de emisión de
                                                                             bonos de veinticuatro de enero de dos mil catorce,
                                                                             modificado y reexpresado el veintinueve de abril de dos mil
                                                                             dieciséis, modificado el dos de junio de dos mil dieciséis y el
                                                                             veintinueve de septiembre de dos mil dieciséis, y nuevamente
                                                                             modificado y reexpresado en su totalidad el nueve de
                                                                             noviembre de dos mil dieciséis, pero sí puede con base en el
                                                                             artículo 87 de la ley de la Ley de Concursos Mercantiles
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                                                                             tener por no puesta cualquier estipulación contractual
                                                                             que con motivo de la presentación de la solicitud del
                                                                             concurso            o       de       su       declaración,             estableciera
                                                                             modificaciones que agraven para el Comerciante los
                                                                             términos de los contratos.




                                                                                     En ese sentido, atento a las consecuencias inmediatas
                                                                             pactadas por Oro Negro Drilling Pte. Ltd., como “emisor” y
                                                                             Nordic Trustee Asa, como “fiduciario de bonos” para el caso
                                                                             de actualización de un incumplimiento, debe decirse que la
                                                                             cláusula en cuestión sí agrava a las comerciantes.




                                                                                     Lo anterior es así, pues si bien en el contrato de bonos
                                                                             no se establecen expresamente las consecuencias que
                                                                             refieren las recurrentes al únicamente obligarse al mismo los

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                                                              suscribientes Oro Negro Drilling Pte. Ltd., como “emisor” y
                                                              Nordic Trustee Asa, como “fiduciario de bonos”; lo cierto es,
                                                              que      las     consecuencias              previstas        para       el     caso       de
                                                              incumplimiento              concatenado              con       los       “Documentos
                                                              Financieros” y los anexos21 relacionados en el mismo, agrava
                                                              a las comerciantes, pues con motivo de la notificación de
                                                              incumplimiento del contrato de bonos en comento se realizó:




                                                                           1. Cambio de directores de Drilling, Primus, Laurus,
                                                                               Fortius, Decus e Impetus.


                                                                           2. La Transmisión de acciones representantivas del
                                                                               capital social de Drilling, propiedad de Integradora
                                                                               a favor de Ond. Pte. Ltd.


                                                                           3. Revocación22 y otorgamientos23 de poderes con
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                                                                               motivo la nueva designación de directivos de
                                                                               Drilling, Primus, Laurus, Fortius, Decus e Impetus
                                                                               (Roger Arnold Hancock y Roger Alan Berlett).


                                                              21 Verbigracia: Anexo 2 FORMULARIO DE COMPROMISO DEL FLETADOR; Anexo 3 FORMATO DE
                                                              LA GARANTÍA, entre otros.
                                                              22 Derivado de la designación de Roger Arnold Hancock y Roger Alan Bartlett como directores

                                                              de DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS, con fecha nueve de octubre de
                                                              dos mil diecisiete, adoptaron ciertas resoluciones de directores aprobando, entre otras cosas,
                                                              la rescisión de todos y cada uno de las facultades y los poderes previamente otorgados por
                                                              DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS y la designación de diversas personas
                                                              para actuar como los representantes legales, apoderados y abogados de DRILLING, PRIMUS,
                                                              LAURUS, FORTIUS, DECUS e ÍMPETUS.

                                                              Asimismo, Roger Arnold Hancock y Roger Alan Bartlett como directores de DRILLING, PRIMUS,
                                                              LAURUS, FORTIUS, DECUS e ÍMPETUS, con fecha cinco de febrero de dos mil dieciocho,
                                                              dictaron ciertas resoluciones aprobando, entre otras cosas, la revocación de los poderes
                                                              previamente otorgados por DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS a favor
                                                              de Alonso del Val Echeverría, Gonzalo Gil White, Jaime Rene Guerra González, Patricio Fabián
                                                              Hidalgo Estrada, Alfonso Peniche García, Román Salazar Castillo, Ernesto Luis Rodríguez León,
                                                              Octavio Ochoa Huerta, Raúl García Herrera, Sergio Cabanas Mier, Elias Mendoza Murguía y
                                                              Jesús Ángel Guerra Méndez. (''Segunda Revocación de Poderes").

                                                              23El nueve de octubre de dos mil diecisiete, Roger Arnold Hancock, en su carácter de director
                                                              de DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS, llevó a cabo el otorgamiento de
                                                              poderes a favor de los señores Alejandro Sainz Orantes, Daniel Alejandro Díaz Álvarez,
                                                              Manuel Ruiz de Chávez Gutiérrez de Velasco, Ana Gabriela Avendaño Fernández, Luis Antonio
                                                              Estrella Saavedra, Santiago Alessio Robles Seguí, Daniel Pardo Fuentes y Jesús Ángel Origel
                                                              Zavala.
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                                                                             270/2019 del índice del Juzgado Décimo Primero de Distrito en Materia Civil en la Ciudad de
                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.




                                                                                         4. Las cartas de renuncia de Alonso del Val
                                                                                             Echeverría, Gonzalo Gil White, Anita Chew Peck
                                                                                             Hwa y Carlos Enrique Williamson Nasi a sus
                                                                                             cargos como directores de Drilling, Primus,
                                                                                             Laurus, Fortius, Decus e Impetus.


                                                                                         5. Cualesquiera actos llevados a cabo con motivo o
                                                                                             consecuencia de los anteriores.




                                                                                     Como se advierte de las precitadas consecuencias
                                                                             inmediatas con motivo de uno de los supuestos de
                                                                             incumplimiento (cláusula 15.1 (g) (i)24), permite a Nordic
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                                                                             Trustee As, declarar un evento de incumplimiento y, con ello,
                                                                             enunciar la aceleración de los bonos y llevar a cabo la
                                                                             ejecución de las garantías otorgadas, es decir, se le permite
                                                                             realizar ejecuciones privadas y unilaterales de los bienes que
                                                                             tenían en posesión las comerciantes –las plataformas
                                                                             marinas          autoelevables-              (lo      cual        se        encuentra
                                                                             categóricamente            prohibido        por      la    Ley      de     Concursos
                                                                             Mercantiles, y se traduce en violar el principio de par
                                                                             condictio creditorum), y la afectación al mecanismo de


                                                                             24“15. Casos de Incumplimiento
                                                                             15.1 El Fiduciario de los Bonos puede declarar que los Bonos son morosos después
                                                                             de que ocurre cualquiera de los siguientes casos, en cada caso únicamente en la
                                                                             medida en que dichos casos ocurran después de la fecha del presente documento:
                                                                             (…)
                                                                             (g) Procedimientos de insolvencia y disolución
                                                                             Si se presenta cualquier acción corporativa, procedimiento legal u otra fase del
                                                                             procedimiento para cualquiera entre el Emisor, la Matriz, el Fletador o cualquier
                                                                             Propietario de la Plataforma en relación con:

                                                                             (i) la suspensión de pagos, la moratoria de cualquier endeudamiento, la liquidación,
                                                                             la disolución, la administración o la reorganización (por medio del acuerdo
                                                                             voluntario, la liquidación provisional, la administración legal, el esquema de acuerdo
                                                                             o de otra manera) distinta a la liquidación por insolvencia o la reorganización; (…)”
                                                                                                                                                                     55
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                                                              distribución de recursos conforme fideicomiso F/1695, lo cual
                                                              es contrario a la conservación de la empresa, ya que dichos
                                                              actos impiden la realización de sus operaciones ordinarias,
                                                              por lo que es evidente que no se observe la cláusula 15.1 (g)
                                                              (i) del acuerdo de emisión de bonos, ya que con motivo de su
                                                              aplicación se afecta directamente el interés social.




                                                                   En efecto, permitir que la acreedora Nordic Trustee
                                                              Asa, ejecute las garantías, dejaría sin efectos el concurso
                                                              mercantil de las comerciantes, que no tiene como objetivo
                                                              principal llevar a la quiebra a los comerciantes, pues esto
                                                              afectaría los objetivos económicos del Estado en relación con
                                                              sus gobernados, sino que, el objetivo principal de la Ley de
                                                              Concursos Mercantiles, es conservar a las empresas y evitar
                                                              que el incumplimiento generalizado de sus obligaciones de
                                                              pago pongan en riesgo su viabilidad y de sus correlativas con
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                                                              las que tengan negocios, es decir, busca proteger a la
                                                              empresa para preservar su operación y los empleos que
                                                              genera, a fin de conservar el equilibrio entre el comerciante y
                                                              sus acreedores.




                                                                   Sin que sea obstáculo para ello que en el acuerdo de
                                                              emisión de bonos sus celebrantes se hayan sometido a la
                                                              legislación extranjera, ya que las disposiciones de la Ley de
                                                              Concursos Mercantiles son de orden público en la medida en
                                                              que procuran la conservación de la empresa, siendo la
                                                              conservación de ésta uno de los bienes jurídicos tutelados
                                                              por el Estado, por ser de gran importancia para la sociedad y
                                                              la economía nacional, y por lo tanto, las disposiciones de la
                                                              ley concursal son de aplicación inmediata, territorial e
                                                              imperativa, sobre cualquier otro derecho pactado por las
                                                              partes.
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                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.




                                                                                     En      efecto,      el     juez      del     concurso           no      puede
                                                                             pronunciarse sobre el acuerdo de bonos que implique la
                                                                             nulidad, modificación, exclusión o resolución de ciertas
                                                                             cláusulas, celebrado el veinticuatro de enero de dos mil
                                                                             catorce y sus convenios modificatorios, toda vez que las
                                                                             partes que lo suscribieron convinieron en que cualquier
                                                                             conflicto que surja entre el fiduciario de los bonos, los
                                                                             tenedores de bonos y cualquier obligado, como el fletador (en
                                                                             este      caso        Perforadora           Oro       Negro,        Sociedad           de
                                                                             Responsabilidad Limitada de Capital Variable) se resolverían
                                                                             conforme a la legislación de Noruega, sin embargo,
                                                                             legalmente puede acordar aquellas que impliquen ejecutar
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                                                                             las garantías y cuyo objeto sea contrario a preservar la
                                                                             viabilidad de las comerciantes, empero sí puede, con base
                                                                             en el artículo 87 de la ley de la Ley de Concursos Mercantiles
                                                                             tener por no puesta cualquier estipulación contractual
                                                                             que con motivo de la presentación de la solicitud del
                                                                             concurso            o       de       su       declaración,             estableciera
                                                                             modificaciones que agraven para el Comerciante los
                                                                             términos de los contratos.




                                                                                     La aplicación del artículo citado –como lo consideró el
                                                                             órgano colegiado en la ejecutoria que resolvió el recurso de
                                                                             revisión 21/2019- no implica ni el desconocimiento del
                                                                             derecho extranjero, ni dejar sin efectos nulificar, modificar o
                                                                             extinguir los contratos al amparo de las leyes a que se haya
                                                                             sujetado la comerciante y sus acreedores, sino únicamente
                                                                             persigue no agravar la situación de la empresa declarada


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                                                              en     concurso,            partiendo          de      la     base        de      que       el
                                                              procedimiento concursal se ventila en México y que su
                                                              objeto fundamental es preservar la empresa sin dejar de
                                                              mantener un principio de igualdad entre los acreedores.




                                                                      Expuesto lo anterior, al constatar que la cláusula en
                                                              cuestión (15.1 (g) (i)) del acuerdo de bonos agrava la
                                                              situación de las comerciantes Perforadora Oro Negro,
                                                              Sociedad           de     Responsabilidad                Limitada          de      Capital
                                                              Variable, e Integradora de Servicios Petroleros Oro
                                                              Negro, Sociedad Anónima Promotora de Inversión de
                                                              Capital Variable; conforme al tercer punto de los efectos
                                                              concesorios del amparo, en estricto cumplimiento a lo
                                                              determinado por el Octavo Tribunal Colegiado en Materia
                                                              Civil del Primer Circuito, en el recurso de revisión R.C.
                                                              108/2020, resulta fundado el recurso de revocación hecho
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                                                              valer por las comerciantes en cita en contra de la
                                                              determinación adoptada el once de octubre de dos mil
                                                              dieciocho, únicamente por cuanto hace al terma acotado por
                                                              el tribunal revisor. Esto es, determinar si resulta o no
                                                              procedente que el suscrito juzgador tenga por no puesta una
                                                              cláusula del acuerdo de emisión de bonos en cita.




                                                                      Por lo anterior, se revoca el acuerdo de marras en la
                                                              parte conducente al estudio de que si el suscrito juzgador
                                                              con base en lo dispuesto en el Capítulo V De los efectos en
                                                              relación con las obligaciones del Comerciante, Sección I
                                                              Regla general y vencimiento anticipado, artículo 87 de la Ley
                                                              de Concursos Mercantiles25, puede o no tener por no opuesta


                                                              25Artículo 87.- Se tendrá por no puesta, salvo las excepciones expresamente establecidas en
                                                              esta Ley, cualquier estipulación contractual que con motivo de la presentación de una solicitud
                                                              o demanda de concurso mercantil, o de su declaración, establezca modificaciones que agraven
                                                              para el Comerciante los términos de los contratos.
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                                                                             cualquier estipulación contractual que con motivo de la
                                                                             presentación de una solicitud o demanda de concurso
                                                                             mercantil, o de su declaración, establezca modificaciones que
                                                                             agraven para el Comerciante los términos de los contratos.




                                                                                     En ese sentido, conforme lo expuesto por las
                                                                             comerciantes en el escrito con número de registro 18866 así
                                                                             como lo sostenido por el Octavo Tribunal Colegiado en
                                                                             Materia Civil del Primer Circuito, en el recurso de revisión
                                                                             R.C. 108/2020, se colige que la cláusula 15.1 (g) (i) del
                                                                             acuerdo de emisión de bonos de veinticuatro de enero de dos
                                                                             mil catorce, modificado y reexpresado el veintinueve de abril,
                                                                             dos de junio, veintinueve de septiembre y nueve de
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                                                                             noviembre, todos de dos mil dieciséis, agrava la situación de
                                                                             las comerciantes Perforadora Oro Negro, Sociedad de
                                                                             Responsabilidad               Limitada          de      Capital        Variable,         e
                                                                             Integradora de Servicios Petroleros Oro Negro, Sociedad
                                                                             Anónima Promotora de Inversión de Capital Variable, por
                                                                             tanto se deja de aplicar la misma.




                                                                                     Sin que lo anterior implique, como lo estableció el
                                                                             referido colegiado modificar, nulificar o resolver el acuerdo de
                                                                             emisión de bonos de veinticuatro de enero de dos mil catorce,
                                                                             sino que se trata de suspender sus efectos con el único
                                                                             propósito de no agravar la situación de la comerciante –al ser
                                                                             verdad legal-.




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                                                                      Corolario, al tener por no opuesta la cláusula en
                                                              mención del Acuerdo de Emisión (conforme lo previsto en el
                                                              Capítulo V De los efectos en relación con las obligaciones del
                                                              Comerciante, Sección I Regla general y vencimiento
                                                              anticipado, artículo 87 de la Ley de Concursos Mercantiles),
                                                              se deja sin efectos:




                                                                          1. La notificación de incumplimiento del contrato de
                                                                               bonos en comento.




                                                                          2. Cambio de directores de Drilling, Primus, Laurus,
                                                                               Fortius, Decus e Impetus.


                                                                         3. La Transmisión de acciones representantivas del
                                                                             capital social de Drilling, propiedad de Integradora
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                                                                             a favor de Ond. Pte. Ltd.


                                                                         4. Revocación26 y otorgamientos27 de poderes con
                                                                             motivo la nueva designación de directivos de


                                                              26 Derivado de la designación de Roger Arnold Hancock y Roger Alan Bartlett como directores
                                                              de DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS, con fecha nueve de octubre de
                                                              dos mil diecisiete, adoptaron ciertas resoluciones de directores aprobando, entre otras cosas,
                                                              la rescisión de todos y cada uno de las facultades y los poderes previamente otorgados por
                                                              DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS y la designación de diversas personas
                                                              para actuar como los representantes legales, apoderados y abogados de DRILLING, PRIMUS,
                                                              LAURUS, FORTIUS, DECUS e ÍMPETUS.

                                                              Asimismo, Roger Arnold Hancock y Roger Alan Bartlett como directores de DRILLING, PRIMUS,
                                                              LAURUS, FORTIUS, DECUS e ÍMPETUS, con fecha cinco de febrero de dos mil dieciocho,
                                                              dictaron ciertas resoluciones aprobando, entre otras cosas, la revocación de los poderes
                                                              previamente otorgados por DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS a favor
                                                              de Alonso del Val Echeverría, Gonzalo Gil White, Jaime Rene Guerra González, Patricio Fabián
                                                              Hidalgo Estrada, Alfonso Peniche García, Román Salazar Castillo, Ernesto Luis Rodríguez León,
                                                              Octavio Ochoa Huerta, Raúl García Herrera, Sergio Cabanas Mier, Elias Mendoza Murguía y
                                                              Jesús Ángel Guerra Méndez. (''Segunda Revocación de Poderes").

                                                              27El nueve de octubre de dos mil diecisiete, Roger Arnold Hancock, en su carácter de director
                                                              de DRILLING, PRIMUS, LAURUS, FORTIUS, DECUS e ÍMPETUS, llevó a cabo el otorgamiento de
                                                              poderes a favor de los señores Alejandro Sainz Orantes, Daniel Alejandro Díaz Álvarez,
                                                              Manuel Ruiz de Chávez Gutiérrez de Velasco, Ana Gabriela Avendaño Fernández, Luis Antonio
                                                              Estrella Saavedra, Santiago Alessio Robles Seguí, Daniel Pardo Fuentes y Jesús Ángel Origel
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                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.



                                                                                            Drilling, Primus, Laurus, Fortius, Decus e Impetus
                                                                                            (Roger Arnold Hancock y Roger Alan Berlett).


                                                                                       5. Las cartas de renuncia de Alonso del Val
                                                                                            Echeverría, Gonzalo Gil White, Anita Chew Peck
                                                                                            Hwa y Carlos Enrique Williamson Nasi a sus
                                                                                            cargos como directores de Drilling, Primus, Laurus,
                                                                                            Fortius, Decus e Impetus.


                                                                                       6. Cualesquiera actos llevados a cabo con motivo o
                                                                                            consecuencia de los anteriores.




                                                                                     Por lo expuesto, fundado en los artículos 268 de la Ley
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                                                                             de Concursos Mercantiles, y 1077 y 1355 del Código de
                                                                             Comercio, de aplicación supletoria a la Ley de la materia, se




                                                                                                                  RESUELVE




                                                                                     PRIMERO. Son fundados los agravios hechos valer
                                                                             por Perforadora Oro Negro, Sociedad de Responsabilidad
                                                                             Limitada de Capital Variable e Integradora de Servicios
                                                                             Petroleros Oro Negro, Sociedad Anónima Promotora de
                                                                             Inversión de Capital Variable, por conducto de su
                                                                             apoderado Elías Mendoza Murguía.




                                                                                     SEGUNDO. En estricto cumplimiento a lo determinado
                                                                             por el Octavo Tribunal Colegiado en Materia Civil del


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                                                              Primer Circuito, en el recurso de revisión R.C. 108/2020, se
                                                              revoca el auto de once de octubre de dos mil dieciocho,
                                                              para los efectos precisados en el considerando quinto in fine.




                                                                   TERCERO. Remítase vía interconexión copia de la
                                                              presente resolución al Juzgado Decimoprimero de Distrito
                                                              en Materia Civil en la Ciudad de México, en cumplimiento a
                                                              la sentencia amparatoria que dictó el Octavo Tribunal
                                                              Colegiado en Materia Civil del Primer Circuito, en el
                                                              recurso de revisión R.C. 108/2020, relativa al juicio de
                                                              amparo indirecto 270/2019 del índice de la primera autoridad
                                                              señalada.




                                                                   Notifíquese electrónicamente a las comerciantes
                                                              Perforadora Oro Negro, Sociedad de Responsabilidad
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                                                              Limitada de Capital Variable e Integradora de Servicios
                                                              Petroleros Oro Negro, Sociedad Anónima Promotora de
                                                              Inversión de Capital Variable; a Nordic Trustee As y al
                                                              síndico José Gerardo Badín Cherit, y por medio de lista a
                                                              Oro Negro Drilling, Pte. Ltd., Oro Negro Primus Pte. Ltd.,
                                                              Oro Negro Laurus Pte. Ltd., Oro Negro Fortius Pte. Ltd.,
                                                              Oro Negro Decus Pte. Ltd., y Oro Negro Impetus Pte. Ltd.,
                                                              así como al resto de las partes, esto en el portal de
                                                              internet del Poder Judicial de la Federación.




                                                                   Lo resolvió y firma electrónicamente Benito Arnulfo
                                                              Zurita Infante, Juez Segundo de Distrito en Materia Civil en
                                                              la Ciudad de México, asistido de Ulises García Molina,
                                                              secretario que autoriza y da fe.

                                                                   MICHAEL
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                                                                                                                                             Recurso de revocación
                                                                             Dictado en cumplimiento a la ejecutoria pronunciada en el juicio de amparo indirecto
                                                                             270/2019 del índice del Juzgado Décimo Primero de Distrito en Materia Civil en la Ciudad de
                                                                             México, con motivo de la concesión del amparo otorgada por el Octavo Tribunal Colegiado
                                                                             en Materia Civil del Primer Circuito, en el recurso de revisión R.C. 108/2020.




                                                                                  -Firma electrónica-                                      -Firma electrónica-
                                                                             Benito Arnulfo Zurita Infante.                           Ulises García Molina.
                                                                                  Juez de Distrito.                                     Secretario de Juzgado.




                                                                             EN ESTA FECHA LA SECRETARIA HACE CONSTAR QUE EN RELACIÓN AL
                                                                             PRESENTE ACUERDO SE GIRÓ EL OFICIO 1011/2021-CAL JUZGADO DÉCIMO
                                                                             PRIMERO DE DISTRITO EN MATERIA CIVIL EN LA CIUDAD DE
                                                                             MÉXICO.CONSTE.
24/04/22 09:00:45
30.30.30.30.31.30.30.30.30.30.30.34.31.30.34.39.39.38.31.37
ULISES GARCIA MOLINA




                                                                             En lista de 23 de febrero de 2021.

                                                                             Se hizo la publicación de Ley notificando a las partes la resolución que antecede.
                                                                             Conste.




                                                                                                                                                                     63
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                                                 134 of 135




  EVIDENCIA CRIPTOGRÁFICA - TRANSACCIÓN
  Archivo Firmado:
  6893983_0023000021664664775.p7m
  Autoridad Certificadora:
  A.C. del Servicio de Administración Tributaria
  Firmante(s): 2
                                                                  FIRMANTE
   Nombre:              ULISES GARCIA MOLINA                                                       Validez:          BIEN           Vigente
                                                                    FIRMA
   No. serie:          30.30.30.30.31.30.30.30.30.30.30.34.31.30.34.39.39.38.31.37                 Revocación:         Bien         No revocado

   Fecha:
                       22/02/21 22:53:12 - 22/02/21 16:53:12                                       Status:             Bien         Valida
   (UTC/ CDMX)
   Algoritmo:          RSA - SHA256
                       67 55 89 95 a1 7f fd 79 95 d1 89 22 f7 cc a3 95
                       96 70 57 a8 47 90 b9 34 30 b6 b5 53 08 ff 70 4e
                       bb 5d 62 17 ce af 10 46 6d d8 25 8d ce 1e 6c 71
                       01 ce 40 7f d3 5b 75 ac 36 9c eb aa d3 75 2c 48
                       ac c4 7e d0 29 e6 30 61 b9 60 4b df 01 f2 15 a4
                       b4 21 5f 6b db f3 55 f8 75 a9 95 c1 24 2a b4 67
                       7f 25 1d cb 39 d7 19 11 53 b6 fe 51 9c 45 71 3c
   Cadena              3e e4 a0 ec 76 1c 51 2d ee dd b5 8a 51 30 59 be
   de firma:           0b 66 0b 9b 5d cd 59 be 5b 82 42 a7 8e a3 47 80
                       73 30 10 9e 7a 4a b6 fc 8b 1b e8 2b c6 05 d5 0e
                       c7 a9 9d 38 39 d5 f6 58 47 17 db 57 96 5a 48 89
                       02 b5 75 f2 62 29 f8 dc bf fa 9f 8c bc 38 cf 6f
                       61 39 24 95 51 83 5a 19 da dd 07 e6 9a 25 5a 24
                       05 1d a7 81 a3 5f 82 ee 39 de 28 3b cc 62 2d 05
                       f7 0f 97 fb 5b 45 c0 b3 f9 ef e4 42 cc ab 97 29
                       d0 4b 4c 0d 45 d3 88 aa 9b a4 01 ec 34 47 a5 9b
                                                                    OCSP
   Fecha: (UTC / CDMX)                      22/02/21 22:53:23 - 22/02/21 16:53:23

   Nombre del respondedor:                  Servicio delegado OCSP de la AC del SAT

   Emisor del respondedor:                  A.C. del Servicio de Administración Tributaria

   Número de serie:                         30.30.30.30.31.30.38.38.38.38.38.38.30.30.30.30.30.30.32.32
                                                                     TSP
   Fecha : (UTC / CDMX)                                   22/02/21 22:53:13 - 22/02/21 16:53:13

   Nombre del emisor de la respuesta TSP:                 Autoridad Emisora de Sellos de Tiempo del Consejo de la Judicatura Federal

   Emisor del certificado TSP:                            Autoridad Certificadora Intermedia del Consejo de la Judicatura Federal

   Identificador de la respuesta TSP:                     37974993

   Datos estampillados:                                   KSJkQ9PZbenrt22Y/0bsccoSooo=
21-01091-scc          Doc 1-1         Filed 03/09/21 Entered 03/09/21 08:22:12                                        Exhibit A               Pg
                                                 135 of 135




                                                                 FIRMANTE
   Nombre:             BENITO ARNULFO ZURITA INFANTE                                                Validez:          BIEN          Vigente
                                                                   FIRMA
   No. serie:          70.6a.66.20.63.6a.66.00.00.00.00.00.00.00.00.00.00.00.8c.dc                  Revocación:        Bien         No revocado

   Fecha:
                       22/02/21 22:59:57 - 22/02/21 16:59:57                                        Status:            Bien         Valida
   (UTC/ CDMX)
   Algoritmo:          RSA - SHA256
                       04 d6 9c 6c b0 ce a6 61 ea 56 b7 5c 36 1e 74 dd
                       3e 3c d9 ae 84 85 89 2b 66 47 e8 7e 09 63 b0 ac
                       7b 88 ec 4e e2 b7 19 d0 31 f6 7a 7c 2b 1b 67 9b
                       e9 a3 17 0c 25 72 0e 6f 82 cb b8 9a ce 97 d5 89
                       8b 52 c9 62 03 1e 86 a9 a7 fe 94 5a 1c cb 07 db
                       99 e0 9c da 2e ec 53 57 36 27 85 6b e8 c0 d1 0b
                       15 db ff 35 8c 75 33 13 ca f4 7f 25 cb 28 49 9c
   Cadena              28 28 1f 8f 6b ce 28 3f 2e 54 2e 81 dc 48 b8 61
   de firma:           ca bc cd af 16 64 a2 f4 8e f7 1b 0b 35 1b cc 17
                       ff b0 4c a8 2e 21 b7 84 03 31 63 4c e6 19 fa c9
                       f5 ae b3 9a 92 5d d8 c9 4b 1f 4d 0a a9 a2 d6 94
                       5b 6b 63 0b a9 72 49 cf bb 6b 57 07 28 14 aa e4
                       a8 42 0f 1f 23 19 2f f3 14 5c c6 ca ac 5a 1f 89
                       d2 5b 88 9c 7a 50 21 42 70 24 94 fb 03 d6 aa 19
                       6c 6f 13 2e 1e 64 7f a7 52 5f 1a 56 87 b3 c0 c2
                       82 01 68 da 3b 94 25 91 1e c4 f7 23 36 37 71 91
                                                                    OCSP
   Fecha: (UTC / CDMX)                      22/02/21 22:59:57 - 22/02/21 16:59:57

   Nombre del respondedor:                  OCSP ACI del Consejo de la Judicatura Federal

   Emisor del respondedor:                  Autoridad Certificadora Intermedia del Consejo de la Judicatura Federal

   Número de serie:                         70.6a.66.20.63.6a.66.00.00.00.00.00.00.00.00.00.00.00.00.02
                                                                     TSP
   Fecha : (UTC / CDMX)                                   22/02/21 22:59:57 - 22/02/21 16:59:57

   Nombre del emisor de la respuesta TSP:                 Autoridad Emisora de Sellos de Tiempo del Consejo de la Judicatura Federal

   Emisor del certificado TSP:                            Autoridad Certificadora Intermedia del Consejo de la Judicatura Federal

   Identificador de la respuesta TSP:                     37976766

   Datos estampillados:                                   tF5DhkENZLIrJyW/1kyRuvRUNLw=
